                           No. 22-55342


          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE NINTH CIRCUIT
           ––––––––––––––––––––––––––––––––––––––––––
                   FEDERAL TRADE COMMISSION,
                         Plaintiff-Appellee,
                                v.
                APEX CAPITAL GROUP, LLC, et al.,
                      Defendants-Appellees,
                                v.
    WELLS FARGO & COMPANY and WELLS FARGO BANK, N.A.,
               Proposed Intervenors-Movants-Appellants.
          ––––––––––––––––––––––––––––––––––––––––––
             Appeal from the United States District Court
                 for the Central District of California
                     No. 2:18-cv-09573-JFW-JPR
                         Hon. John F. Walter
          ––––––––––––––––––––––––––––––––––––––––––
           SUPPLEMENTAL EXCERPTS OF RECORD
           OF THE FEDERAL TRADE COMMISSION
           ––––––––––––––––––––––––––––––––––––––––––
                                  ANISHA S. DASGUPTA
                                     General Counsel
                                     JOEL MARCUS
                                        Deputy General Counsel
Of Counsel:                          MICHAEL BERGMAN
JONATHAN W. WARE                        Attorney
SARAH WALDROP                        FEDERAL TRADE COMMISSION
   Attorneys                         600 Pennsylvania Avenue, N.W.
FEDERAL TRADE COMMISSION             Washington, D.C. 20580
Washington, D.C. 20580               (202) 326-3184
                                     mbergman@ftc.gov
            SUPPLEMENTAL EXCERPTS OF RECORD INDEX
       Document Name              District       Date      Excerpted Pages   SER
                                  Ct. ECF                                    Page
                                    No.*                                      #
   Order Granting Receiver’s        257        9/7/2022          All          3
        Motion to Extend
          Receivership
   Receiver’s Opp. Motion to       226-5       2/7/2022          All          4
  Intervene, Ex. 3 (email from
     Wells Fargo’s Counsel
     Regarding Intention to
           Intervene)
 FTC Opp. Motion to Intervene      225-2       2/7/2022          All          7
     Exh. B - Declaration of
          Logan Smith
 FTC Opp. Motion to Intervene      225-1       2/7/2022          All          15
     Exh. A - Declaration of
          Brian Lasky
    Receiver’s complaint in        219-3       1/18/2022         All          19
 McNamara v. Wells Fargo &
  Co., No. 3:21-cv-1245-LAB-
        DDL (S.D. Cal.)

  Wells Fargo’s Anticipated        219-1       1/18/2022      3-4, 20-26     108
  Motion to Modify Existing
             Orders
  Order Denying Defendants’          207       9/30/2021         All         118
 Motion to Modify Permanent
           Injunction
  Memorandum of Points and         144-1       2/4/2020          All         126
 Authorities – Receiver Motion
      to Sue Wells Fargo
   Ex Parte Application for          2-5       11/14/18       21, 35-36      133
 Temporary Restraining Order
         Ex. 5 - Part 5

*Docket numbers refer to the district court docket.



                                           1


                                    FTCSER-2
  Case 2:18-cv-09573-JFW-JPR Document 257 Filed 09/07/22 Page 1 of 1 Page ID #:6152

                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES -- GENERAL

Case No.     CV 18-9573-JFW(JPRx)                                         Date: September 7, 2022

Title:       Federal Trade Commission -v- Apex Capital Group, et al.

PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

             Shannon Reilly                                 None Present
             Courtroom Deputy                               Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                   ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                None

PROCEEDINGS (In Chambers): ORDER GRANTING RECEIVER’S MOTION TO EXTEND
                           COMPLETION DEADLINE FOR RECEIVERSHIP AND
                           INTERIM STATUS REPORT [filed 8/15/22; Docket No. 252]

       On August 15, 2022, Receiver Thomas W. McNamara (“Receiver”) filed a Motion to Extend
Completion Deadline for Receivership and Interim Status Report (“Motion”).1 On August 22, 2022,
Non-Parties Wells Fargo & Company and Wells Fargo Bank N.A. (collectively, “Wells Fargo”) filed
their Opposition. On August 29, 2022, the Receiver filed a Reply. Pursuant to Rule 78 of the
Federal Rules of Civil Procedure and Local Rule 7-15, the Court finds that this matter is
appropriate for decision without oral argument. The hearing calendared for September 12, 2022 is
hereby vacated and the matter taken off calendar. After considering the moving, opposing, and
reply papers, and the arguments therein, the Court rules as follows:

        In his Motion, the Receiver seeks to extend the completion deadline for the receivership for
an additional year from September 12, 2022, to September 12, 2023. In its Opposition, Wells
Fargo opposes “[f]or the reasons stated in [Wells Fargo’s] Motion to Intervene [Dkt. 219] and Ninth
Circuit Appeal Opening Brief” the Receiver’s Motion to the extent it is based on extending the
completion deadline for the receivership to allow the Receiver to pursue litigation against Wells
Fargo. However, as the Receiver points out in his Reply, the arguments raised by Wells Fargo in
its Motion to Intervene have already been considered and rejected by the Court when it denied the
Motion to Intervene. See Docket No. 238.

       Accordingly, for the reasons stated in the Receiver’s Motion and Reply, the Receiver’s
Motion is GRANTED. Section XIII of the Stipulated Order for Permanent Injunction and Monetary
Judgment (Docket No. 120) is hereby modified to provide that the deadline for the Receiver to
complete his duties shall be September 12, 2023, unless the Court subsequently extends that date
for good cause.

IT IS SO ORDERED.


         1
        In his Motion, the Receiver states that counsel for the Federal Trade Commission does
not oppose to this Motion.

                                            FTCSER-3                           Initials of Deputy Clerk sr
Case 2:18-cv-09573-JFW-JPR Document 226-5 Filed 02/07/22 Page 1 of 3 Page ID
                                 #:5725




                           EXHIBIT 3

                                FTCSER-4
       Case 2:18-cv-09573-JFW-JPR Document 226-5 Filed 02/07/22 Page 2 of 3 Page ID
                                        #:5726



From:                Le, Anthony Q. <ALe@mcguirewoods.com>
Sent:                Thursday, August 19, 2021 3:17 PM
To:                  Logan Smith
Cc:                  White, Molly M.; Baiardo, Alicia A.
Subject:             FTC v. Apex Capital, No. 2:18-cv-9573-JFW (C.D. Cal.) - Wells Fargo Motion to Intervene


CAUTION: This email originated from outside the organization. Do not click links or open attachments unless you
recognize the sender and know the content is safe. ___________________________________________
Counsel,

As you are aware, McGuireWoods LLP represents Wells Fargo Bank in connection with a recent lawsuit involving your
office by Thomas McNamara, as the court‐appointed receiver for Triangle Media Corporation and Apex Capital
Group. This lawsuit is entitled Thomas McNamara v. Wells Fargo & Company et al., No. 3:21‐cv‐01245‐LAB‐LL, and is
now pending in the Southern District of California.

We are writing to follow‐up on our call this afternoon to meet and confer under C.D. Cal. Local Rule 7‐3. As we
mentioned, Wells Fargo plans to file a motion to intervene in the FTC action involving your office—FTC v. Apex, No. 2:18‐
cv‐9573‐JFW (C.D. Cal.)—to challenge the order appointing the receiver to pursue Wells Fargo and the previously
entered stipulated judgment based on the recent AMG/FTC decision holding that the FTC does not have authority under
Section 13(b) to obtain equitable monetary relief. AMG Cap. Mgmt., LLC v. FTC, 141 S. Ct. 1341 (2021).

Please call us at your convenience, or let us know when you are available to discuss. Our contact information is
below. Thanks in advance.

Molly White
mwhite@mcguirewoods.com
(310) 956‐3423

Ali Baiardo
abaiardo@mcguirewoods.com
(415) 844‐1973

Anthony Le
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                                                            1
                                                                                                         EXHIBIT 3
                                                                                                          Page 10
                                                     FTCSER-5
        Case 2:18-cv-09573-JFW-JPR Document 226-5 Filed 02/07/22 Page 3 of 3 Page ID
                                         #:5727

MccUIRfEWCODS

This e‐mail from McGuireWoods may contain confidential or privileged information. If you are not the intended recipient, please
advise by return e‐mail and delete immediately without reading or forwarding to others.




                                                                 2
                                                                                                                  EXHIBIT 3
                                                                                                                   Page 11
                                                          FTCSER-6
Case 2:18-cv-09573-JFW-JPR Document 225-2 Filed 02/07/22 Page 1 of 8 Page ID
                                 #:5675




                      Declaration of Logan Smith
                            FTC Exhibit B




                                FTCSER-7
     Case 2:18-cv-09573-JFW-JPR Document 225-2 Filed 02/07/22 Page 2 of 8 Page ID
     FTC Exhibit B - Smith Declaration #:5676



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11
12   Attorneys for Plaintiff
     FEDERAL TRADE COMMISSION
13
14
15                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
16
17
       FEDERAL TRADE COMMISSION,                  Case No. 2:18-cv-9573-JFW(JPR)
18
19                            Plaintiff,          DECLARATION OF LOGAN D.
20
                  v.                              SMITH PURSUANT TO
                                                  28 U.S.C. § 1746
21     APEX CAPITAL GROUP, LLC, et al.,
22                                                Date: March 7, 2022
                              Defendants.         Time: 1:30 PM
23                                                Courtroom: 7A
24                                                Judge: Hon. John F. Walter
25
26
27
28                                                    Case No. 2:18-cv-9573-JFW(JPR)
                                              Smith Decl. ISO FTC’s Opposition to Wells
                                                             Fargo’s Motion to Intervene


                                       FTCSER-8
     Case 2:18-cv-09573-JFW-JPR Document 225-2 Filed 02/07/22 Page 3 of 8 Page ID
     FTC Exhibit B - Smith Declaration #:5677



 1                       DECLARATION OF LOGAN D. SMITH
                           PURSUANT TO 28 U.S.C. § 1746
 2
 3         I have personal knowledge of the facts set forth below and am competent to
 4   testify about them. I am a United States citizen over the age of 18. If called as a
 5   witness, I could and would testify as follows:
 6         (1)    I am licensed to practice law in California.
 7         (2)    I am an attorney with McNamara Smith LLP and represent Thomas
 8   W. McNamara, the court-appointed receiver (the “Receiver”) in Federal Trade
 9   Commission v. Triangle Media, et al., No. 3:18-cv-01388-LAB-LL (S.D. Cal.) (the
10   “Triangle Case”) and in Federal Trade Commission v. Apex Capital Group LLC, et
11   al., No. 2:18-cv-09573-JFW (JPRx) (C.D. Cal.) (the “Apex Case”). I have been
12   involved with the Receiver’s investigation in those cases and in his litigation
13   related to Wells Fargo & Company and Wells Fargo Bank, N.A. (together, “Wells
14   Fargo”) in McNamara v. Wells Fargo & Company and Wells Fargo Bank, N.A.,
15   No. 3:21-cv-01245-LAB-LL (S.D. Cal.) (the “Receiver’s Suit”).
16   The Receiver’s Appointments
17         (3)    The Court in the Triangle Case appointed the Receiver as temporary
18   receiver on June 29, 2018 (Triangle Case ECF No. 11), and as permanent receiver
19   on August 24, 2018 (Triangle Case ECF No. 75).
20         (4)    The Court in the Apex Case appointed the Receiver as temporary
21   receiver on November 16, 2018 (Apex Case ECF No. 16), and as receiver on
22   December 18, 2018 (Apex Case ECF Nos. 40, 41).
23   The Receiver’s Investigations
24         (5)    Upon his appointment, the Receiver began to marshal the assets of the
25   estates in each case, as required by each appointing court. To that end, on
26   September 18, 2018, Wells Fargo issued a cashier’s check to the Receiver for
27   $1,181,479.83, which represented the sum across 40 bank accounts identified by
28   Wells Fargo and the Receiver as belonging to the Triangle Case defendants or

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                                                              Case No. 2:18-cv-9573-JFW(JPR)
                          Smith Decl. ISO FTC’s Opposition to Wells Fargo’s Motion to Intervene
                                          FTCSER-9
     Case 2:18-cv-09573-JFW-JPR Document 225-2 Filed 02/07/22 Page 4 of 8 Page ID
     FTC Exhibit B - Smith Declaration #:5678



 1   otherwise subject to the Receiver’s control. Similarly, on January 24, 2019, Wells
 2   Fargo transferred to the Receiver $57,464.96, which represented the sum across 17
 3   bank accounts identified by Wells Fargo and the Receiver as belonging to the Apex
 4   Case defendants or otherwise subject to the Receiver’s control.
 5         (6)    On May 2, 2019, the Receiver served Wells Fargo Bank, N.A. a Rule
 6   45 subpoena seeking information about accounts in the Apex Case.
 7         (7)    The Receiver’s investigation in the Triangle Case and the Apex Case
 8   identified more than 150 accounts that Wells Fargo opened for the defendants in
 9   those cases through approximately 100 shell companies.
10   The Receiver’s Pursuit of Claims Against Wells Fargo
11         (8)    On October 22, 2019, the Receiver publicly sought court approval in
12   the Triangle Case to hire contingency counsel to pursue claims against Wells Fargo
13   (Triangle Case ECF No. 136), which the court granted on November 19, 2019
14   (Triangle Case ECF No. 142), the same day it closed the case.
15         (9)    On February 4, 2020, the Receiver publicly sought court approval in
16   the Apex Case to hire contingency counsel to pursue claims against Wells Fargo
17   (Apex Case ECF Nos. 144, 148), and the court granted that request on March 9,
18   2020 (Apex Case ECF No. 153). The docket in the Apex Case indicates it was
19   closed on January 15, 2020, the date the Court entered the last of the stipulated
20   permanent injunctions.
21   Wells Fargo’s Affirmative Actions Concerning the Receiver’s Suit
22         (10) On April 1, 2020, the Receiver sent Wells Fargo draft complaints
23   against it relating to Wells Fargo’s actions underlying the Triangle Case and the
24   Apex Case, along with a draft tolling agreement and proposed mediation of the
25   claims.
26         (11) On April 13, 2020, counsel for Wells Fargo (McGuire Woods LLP)
27   responded to the Receiver’s April 1, 2020 communications and spoke to the
28   Receiver’s counsel by phone the next day.
                                                2
                                                              Case No. 2:18-cv-9573-JFW(JPR)
                          Smith Decl. ISO FTC’s Opposition to Wells Fargo’s Motion to Intervene
                                         FTCSER-10
     Case 2:18-cv-09573-JFW-JPR Document 225-2 Filed 02/07/22 Page 5 of 8 Page ID
     FTC Exhibit B - Smith Declaration #:5679



 1         (12) On April 15, 2020, Wells Fargo executed the tolling agreement, sent it
 2   to the Receiver, and stated it would be in touch within 30 days about mediation.
 3         (13) On April 29, 2020, Wells Fargo requested that the Receiver provide
 4   the documents the bank had produced to the Receiver via the subpoena described
 5   above. The Receiver provided those to Wells Fargo a week later.
 6         (14) On May 7, 2020, Wells Fargo requested an extension until June 12,
 7   2020 to consider mediation.
 8         (15) On May 18, 2020, Wells Fargo requested the Receiver provide certain
 9   deposition transcripts and documents. The Receiver provided certain documents to
10   the bank on May 21, 2020.
11         (16) On May 27, 2020, Wells Fargo requested a summary of allegations
12   concerning a third FTC case, FTC v. Tarr, Inc., No. 3:17-cv-02024-KSC (S.D.
13   Cal.), which involved similar conduct and timing as the Triangle Case and Apex
14   Case and in which the Receiver’s law firm (Glancy Prongay & Murray LLP)
15   represented a consumer victim. Counsel provided the requested summary on June
16   9, 2020.
17         (17) On June 12, 2020, Wells Fargo agreed to mediate the Receiver’s
18   proposed suits before Judge Weinstein.
19         (18) On June 16, 2020, Wells Fargo asked the Receiver about documents
20   related to the Triangle Case, which the Receiver provided on June 19, 2020.
21         (19) On June 26, 2020, Wells Fargo sent the Receiver an amended and
22   executed tolling agreement.
23         (20) On July 28, 2020, Wells Fargo and the Receiver agreed on October
24   14, 2020 as the mediation date concerning the Receiver’s proposed suits.
25         (21) On September 10, 2020, Wells Fargo requested to move the mediation
26   to the first week of November 2020.
27
28

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                                                             Case No. 2:18-cv-9573-JFW(JPR)
                         Smith Decl. ISO FTC’s Opposition to Wells Fargo’s Motion to Intervene
                                        FTCSER-11
     Case 2:18-cv-09573-JFW-JPR Document 225-2 Filed 02/07/22 Page 6 of 8 Page ID
     FTC Exhibit B - Smith Declaration #:5680



 1         (22) On November 5, 2020, Wells Fargo and the Receiver mediated their
 2   claims before Judge Weinstein and Ambassador David Carden, but were unable to
 3   reach a resolution.
 4         (23) Following the mediation, between November 2020 and June 2021,
 5   Wells Fargo and the Receiver continued to have discussions and exchange
 6   information with each other with the involvement of Judge Weinstein and
 7   Ambassador Carden.
 8         (24) On March 3, 2021, Wells Fargo and the Receiver extended their
 9   tolling agreement through May 28, 2021.
10         (25) On April 29, 2021, Wells Fargo and the Receiver participated in a
11   second round of mediation before Judge Weinstein and Ambassador Carden.
12         (26) On May 25, 2021, Wells Fargo and the Receiver extended their tolling
13   agreement through June 23, 2021, while the parties continued to have follow-up
14   discussions through the mediators.
15         (27) On June 23, 2021, Wells Fargo and the Receiver extended their tolling
16   agreement through July 7, 2021.
17         (28) On July 8, 2021, the Receiver filed his complaint in the Receiver Suit.
18         (29) On July 28, 2021, Wells Fargo and the Receiver jointly moved the
19   court in the Receiver’s suit for an extension of time to respond to the Receiver’s
20   complaint (Receiver’s Suit ECF No. 9), which the court granted on June 30, 2021
21   (Receiver’s Suit ECF No. 12).
22         (30) On August 19, 2021, counsel for Wells Fargo called and emailed the
23   Receiver’s counsel, stating Wells Fargo wanted to meet and confer with the
24   Receiver regarding Wells Fargo’s “plans to file a motion to intervene in the FTC
25   action involving [the Receiver’s] office—FTC v. Apex, No. 2:18-cv-9573-JFW
26   (C.D. Cal.)—to challenge the order appointing the receiver to pursue Wells Fargo
27   and the previously entered stipulated judgment based on the recent AMG/FTC
28   decision holding that the FTC does not have authority under Section 13(b) to
                                                 4
                                                               Case No. 2:18-cv-9573-JFW(JPR)
                           Smith Decl. ISO FTC’s Opposition to Wells Fargo’s Motion to Intervene
                                          FTCSER-12
     Case 2:18-cv-09573-JFW-JPR Document 225-2 Filed 02/07/22 Page 7 of 8 Page ID
     FTC Exhibit B - Smith Declaration #:5681



 1   obtain equitable monetary relief. AMG Cap. Mgmt., LLC v. FTC, 141 S. Ct. 1341
 2   (2021).”
 3         (31) On August 23, 2021, counsel for Wells Fargo and the Receiver held a
 4   meet and confer, where Wells Fargo indicated its intent to file a motion to
 5   intervene in the Apex Case on August 30, 2021.
 6         (32) On August 25, 2021, Wells Fargo filed a motion to dismiss the
 7   Receiver’s suit, along with a memorandum in support and other related documents
 8   (ECF No. 14). The Receiver filed his opposition on October 8, 2021 (ECF Nos.
 9   15, 16), and Wells Fargo filed its reply on October 25, 2021 (ECF Nos. 17, 18).
10         (33) On August 30, 2021, counsel for Wells Fargo emailed counsel for the
11   Receiver, stating that Wells Fargo would not be filing its motion to intervene and
12   would reach back out in advance of any future filing.
13         (34) On October 26, 2021, counsel for Wells Fargo emailed the Receiver’s
14   counsel, indicating Wells Fargo intended to move to intervene in the Apex Case
15   and wanted to schedule a meet and confer. In subsequent discussions, Wells
16   Fargo’s counsel informed the Receiver’s counsel that Wells Fargo intended to
17   move to intervene in the Triangle Case in the Southern District of California where
18   there is no obligation to meet and confer before filing.
19         (35) Wells Fargo filed its motion to intervene in the Triangle Case on
20   November 10, 2021. The FTC and Receiver both filed oppositions to that motion
21   on December 20, 2021. Wells Fargo filed its reply in support of its motion on
22   January 10, 2022. Wells Fargo’s motion to intervene in the Triangle Case is
23   pending.
24         (36) Wells Fargo first filed its motion to intervene on January 10, 2022,
25   and then re-filed the pending motion to intervene on January 18, 2022, after its
26   initial motion was stricken for failure to comply with Section 5(b) of the Court’s
27   Standing Order.
28

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                                                              Case No. 2:18-cv-9573-JFW(JPR)
                          Smith Decl. ISO FTC’s Opposition to Wells Fargo’s Motion to Intervene
                                         FTCSER-13
     Case 2:18-cv-09573-JFW-JPR Document 225-2 Filed 02/07/22 Page 8 of 8 Page ID
     FTC Exhibit B - Smith Declaration #:5682



 1         (37) Throughout the time that the Receiver has been either in prelitigation
 2   discussions with Wells Fargo or active litigation against Wells Fargo, the Receiver
 3   has filed multiple motions with this Court seeking to obtain extensions of the
 4   completion deadline for the Receivership in the Apex case. Wells Fargo has not
 5   sought to intervene to oppose any of these motions.
 6         (38) Before initially reaching out to Wells Fargo, on February 4, 2020, the
 7   Receiver filed a motion to extend the completion deadline (ECF No. 143)
 8   concurrently with his motion for authorization to engage contingent fee counsel
 9   (ECF No. 144). The Court granted both motions on March 9, 2020, extending the
10   deadline until March 11, 2021. ECF No. 152, 153. Counsel for the Receiver then
11   contacted Wells Fargo via email on April 1, 2020, as discussed above in Paragraph
12   10.
13         (39) On March 5, 2021, the Receiver filed a motion to extend the deadline
14   (ECF No. 169), which the Court granted on March 26, 2021 (ECF No. 172),
15   extending the completion deadline until September 11, 2021. Wells Fargo did not
16   seek to intervene to oppose the motion.
17         (40) On July 23, 2021 (two weeks after filing its suit against Wells Fargo),
18   the Receiver filed another motion to extend the deadline (ECF No. 186), which the
19   Court granted on August 12, 2021 (ECF No. 198), extending the deadline until
20   September 12, 2022. Wells Fargo did not seek to intervene to oppose the motion.
21         I declare under penalty of perjury under the laws of the United States that
22   the foregoing is true and correct.
23
24   Executed on: February 7, 2022          ~    J)~
                                            Lonn.smith
25
26
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28

                                                6
                                                              Case No. 2:18-cv-9573-JFW(JPR)
                          Smith Deel. ISO FTC's Opposition to Wells Fargo's Motion to Intervene
                                          FTCSER-14
Case 2:18-cv-09573-JFW-JPR Document 225-1 Filed 02/07/22 Page 1 of 4 Page ID
                                 #:5671




                    Declaration of Brian Lasky
                          FTC Exhibit A




                                FTCSER-15
Case 2:18-cv-09573-JFW-JPR Document 225-1 Filed 02/07/22 Page 2 of 4 Page ID
FTC Exhibit A - Lasky Declaration #:5672



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Attorneys for Plaintiff
FEDERAL TRADE COMMISSION

                   UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA


 FEDERAL TRADE COMMISSION,                 Case No. 2:18-cv-9573-JFW(JPR)

                         Plaintiff,        DECLARATION OF
             v.                            BRIAN N. LASKY
                                           PURSUANT TO
 APEX CAPITAL GROUP, LLC, et al.           28 U.S.C. § 1746

                         Defendants.       Date: March 7, 2022
                                           Time: 1:30 P.M.
                                           Courtroom: 7A
                                           Judge: Hon. John F. Walter




                                  FTCSER-16
Case 2:18-cv-09573-JFW-JPR Document 225-1 Filed 02/07/22 Page 3 of 4 Page ID
FTC Exhibit A - Lasky Declaration #:5673



                    DECLARATION OF BRIAN N. LASKY
                      PURSUANT TO 28 U.S.C. § 1746

I, Brian N. Lasky, declare under penalty of perjury that the foregoing is true and
correct:
   1. I have personal knowledge of the facts stated herein and, if called to testify, I
      could and would competently testify to the same. I am a United States
      citizen over the age of 18. I am employed by the Federal Trade Commission
      (“FTC”) as an attorney.
   2. I am counsel for the FTC in the above-captioned matter, admitted pro hac
      vice to this Court, and licensed to practice in the State of New York.
   3. I participated during the investigation phase of this matter and in litigating it.
   4. On November 19, 2018, a Wells Fargo service manager at the Warner Ranch
      Branch in Woodland Hills, California, Fatima Ledezma, was personally
      served a copy of the Court’s November 16, 2018 Ex Parte Temporary
      Restraining Order With Asset Freeze, Appointment Of A Temporary
      Receiver, And Other Equitable Relief, And Order To Show Cause Why A
      Preliminary Injunction Should Not Issue (Docket No. 16) by an FTC Staff
      member under my direction.
   5. In a subsequent letter dated November 19, 2018, Wells Fargo’s Legal Order
      Processing Operations Manager, Joe Medina, confirmed in writing to the
      FTC that, “As you requested in the Temporary Restraining Order served on
      Wells Fargo on November 19, 2018, we have restricted customer
      withdrawals from the accounts below,” followed by a list of 23 accounts
      related to this case.
   6. On November 10, 2021, the FTC provided counsel for Wells Fargo, Kevin
      Lally, with a courtesy copy of the Temporary Restraining Order (Docket No.
      16) that had been served on Wells Fargo on November 19, 2018.




                                    FTCSER-17
Case 2:18-cv-09573-JFW-JPR Document 225-1 Filed 02/07/22 Page 4 of 4 Page ID
FTC Exhibit A - Lasky Declaration #:5674



   7. On February 2, 2022, the FTC provided counsel for Wells Fargo, Kevin
      Lally, with a courtesy copy of Wells Fargo’s November 19, 2018 letter
      (described above).

Executed on February 2, 2022 in New York, NY.




                                     Brian N. Lasky




                                 FTCSER-18
Case 2:18-cv-09573-JFW-JPR Document 219-3 Filed 01/18/22 Page 1 of 89 Page ID
                                 #:5467




                       EXHIBIT A




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 Case2:18-cv-09573-JFW-JPR
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 11
 12                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA
 13
 14 THOMAS W. MCNAMARA, as the             Case No. '21CV1245 AJB JLB
    Court-Appointed Receiver for Triangle
 15 Media Corporation, Apex Capital        RECEIVER’S COMPLAINT FOR:
    Group, LLC; and their successors,
 16 assigns, affiliates, and subsidiaries,
                                           (1) Aiding and Abetting Fraud;
 17                       Plaintiff,       (2) Conspiracy to Commit Fraud;
          v.                               (3) Breach of Fiduciary Duty;
 18                                        (4) Aiding and Abetting Breach of
    WELLS FARGO & COMPANY, a               Fiduciary Duty;
 19 corporation, WELLS FARGO BANK, (5) Aiding and Abetting Conversion;
    N.A., a national banking association,  (6) Violation of California Penal Code
 20                                        § 496;
                          Defendants.      (7) Violation of California Business &
 21                                        Professions Code § 17200;
                                           (8) Aiding and Abetting Fraudulent
 22                                        Transfers and/or Voidable Transfers;
                                           (9) Unjust Enrichment/Constructive
 23                                        Trust;
                                           (10) Negligent Supervision (in the
 24                                        Alternative);
                                           (11) Negligence (in the Alternative);
 25                                        and
                                           (12) Request for an Accounting
 26
                                           JURY TRIAL DEMAND
 27
 28
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                                                            RECEIVER’S COMPLAINT
                                  FTCSER-20
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 Case2:18-cv-09573-JFW-JPR
       3:21-cv-01245-AJB-JLB Document
                              Document219-3
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                                                          PageID.2
                                                            Page 3 of
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                                                                      89 2Page
                                                                           of 88ID
                                    #:5469



  1         Plaintiff, Thomas W. McNamara (“Plaintiff” or “Receiver”), in his capacity
  2 as the court-appointed receiver for the Triangle and Apex Enterprises, as defined
  3 below, hereby brings the following Complaint against Wells Fargo & Company
  4 and Wells Fargo Bank, N.A. (collectively, “Wells Fargo,” the “Bank,” or
  5 “Defendants”) and alleges the following.
  6 I.      INTRODUCTION: A NEW REVELATION OF WELLS FARGO’S
  7         FACILITATION OF CONSUMER FRAUD
  8         1.    The Receiver brings this action against Wells Fargo to recover
  9 damages suffered as a result of Wells Fargo’s knowing provision of substantial
 10 assistance to two multi-million-dollar fraudulent schemes perpetrated by the
 11 former operators of Triangle Media Corporation (“Triangle”) and Apex Capital
                   1
 12 Group (“Apex”).
 13         2.    The Receiver was appointed after the Federal Trade Commission
 14 (“FTC”) brought lawsuits against the Triangle and Apex Enterprises in 2018.        The
 15 Enterprises ran similar, though separate, Internet risk-free trial schemes marketing
 16 dozens of products, most of which were personal care products and dietary
 17 supplements that purported to promote enhanced weight loss, hair growth, clear
 18 skin, muscle development, sexual performance, and cognitive abilities. Consumers
 19 were offered “free” trials of the products for “just the cost of shipping and
 20 handling,” usually $4.95. Two weeks after consumers signed up for the “trial,”
 21 they were charged the full price of the product (roughly $90) and enrolled in
 22 continuity programs, which continued to ship products on a monthly basis—
 23 charging the consumer the full $90 each time, of course. Cancellation was difficult
 24 and obtaining a refund was nearly impossible. The schemes, a category of frauds
 25
 26
      1
 27  Triangle and Apex, along with their related entities and the individuals
    controlling those entities, are referred to herein as the “Triangle Enterprise” and the
 28 “Apex Enterprise,” respectively, and collectively as the “Enterprises.”
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                                                                RECEIVER’S COMPLAINT
                                    FTCSER-21
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 Case2:18-cv-09573-JFW-JPR
       3:21-cv-01245-AJB-JLB Document
                              Document219-3
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                                                            Page 4 of
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                                                                      89 3Page
                                                                           of 88ID
                                    #:5470


                                       2
  1 known as “negative option schemes,” were incredibly successful, raking in more
  2 than $200 million from consumers.
  3         3.    To execute the schemes, the Enterprises recruited unrelated
  4 individuals (sometimes referred to as “fronts”, “signors”, “nominees” or “straw
  5 owners”) and paid them a modest monthly fee for the use of their names and
  6 identities to establish approximately 100 shell companies. The Enterprises then
  7 immediately turned to Wells Fargo, which opened scores of Wells Fargo bank
                                     3
  8 accounts – more than 150 in total – in the names of the shell companies. Having
  9 the Wells Fargo bank accounts was a prerequisite for the Enterprises to secure
 10 accounts with merchant processors, which the Enterprises needed to accept
 11 consumers’ credit and debit card payments.
 12         4.    Crucially, the Enterprises were able to obtain continued access to
 13 accounts with merchant processors, while concealing the identities of the
 14 Enterprises’ owners from the merchant processors. The practice of processing
 15 credit card transactions through other companies’ merchant accounts is known as
 16 “credit card laundering,” and it is an unlawful practice used by fraudulent
 17 merchants, like the Enterprises, to circumvent credit card associations’ monitoring
 18 programs and avoid detection by consumers and law enforcement.
 19         5.    Through his independent investigation, which gave him access to the
 20 Enterprises’ email communications with Wells Fargo and Wells Fargo bank
 21 account statements, the Receiver discovered that Wells Fargo was providing
 22 substantial, knowing assistance to both the Triangle and Apex Enterprises’ sales
 23
 24   2
      “Risk-free” trial scams are sometimes referred to as negative option scams,
 25 because  they require consumers to affirmatively opt out (i.e., exercise a negative
    option) of a program to avoid being charged.
 26 3
      References to the numbers of Apex and Triangle-related bank accounts identified
 27 herein are estimates based on calculations made by the Receiver using only on
    information presently available to him. The number is likely to grow when
 28 information on Wells Fargo is received in discovery.
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                                  FTCSER-22
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 Case2:18-cv-09573-JFW-JPR
       3:21-cv-01245-AJB-JLB Document
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                                                          PageID.4
                                                            Page 5 of
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                                                                           of 88ID
                                    #:5471



  1 scams.
  2              6.    Wells Fargo bankers were aware of the Enterprises’ risk-free trial
  3 schemes, understood the people listed as “owners” of the Wells Fargo accounts did
  4 not actually own or control them, and knew the Enterprises were engaged in credit
  5 card laundering. Despite this knowledge, Well Fargo gladly opened more than
  6 150 bank accounts for the shell companies and straw owners, sometimes opening
  7 as many as 6 bank accounts in one day. Wells Fargo then allowed millions of
  8 dollars to be deposited in the accounts, knowing that these funds were unlawfully
  9 obtained in the risk-free trial schemes, and afterwards allowing the Enterprises’
 10 operators to transfer their ill-gotten gains from the shell accounts to third-party
 11 bank accounts, including accounts located outside of the United States.
 12              7.    The principals of the Apex and Triangle Enterprises came to rely
 13 heavily upon Wells Fargo to aid their frauds by providing them with law oversight
 14 and atypical banking services, widely deviating from accepted banking standards
 15 and violating applicable banking laws and regulations. As one telling example of
 16 this from very early in the Triangle scheme, owner Brian Phillips recruited a son
 17 and his mother to serve as straw owners of two of the shell companies Phillips
 18 actually owned. Wells Fargo promptly opened the bank accounts for the shell
 19 companies, listing the straw owners as “owners” of the accounts, and gave Phillips
 20 complete control over the shell accounts to Phillips. When the son expressed
 21 concerns that Wells Fargo might call his unaware mother to conduct due diligence
 22 into the relationship, Phillips plainly explained that it was Wells Fargo, and that
 23 would not be happening, emailing him:
 24
      Fr om:                           Brian Phillips <brian@trianglemediacorp.com>
 25   Sent:                            Friday, November l L 2011 8:18 PM
      To:                              Marty
 26   Subject:                         Re: Please see attached document


 27
      Dude, j'O L1 ti ll don't undec. tand how ~ eJls is totally different. The bank won't be camng her
 28
      On Nov 11 , 2011 11 :01 PM, "Marty" <mglinskv l@comcast.net> wrote:
                                                          3 we ha e a prepatory convCase
       Brian- Mom faxed signed doc to Well Fargo today. Should                            No. ___________
                                                                                     - you/me/mom so she
       doesnt get blind. ided again?
                                                                                         RECEIVER’S COMPLAINT
       Thanks Marty G.                           FTCSER-23
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 Case2:18-cv-09573-JFW-JPR
       3:21-cv-01245-AJB-JLB Document
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                                                          PageID.5
                                                            Page 6 of
                                                                   Page
                                                                      89 5Page
                                                                           of 88ID
                                    #:5472



  1 Phillips was right. Wells Fargo didn’t call her.
  2         8.    And during the period in which the Apex and Triangle Enterprises’
  3 risk-free trial scams were operating, Wells Fargo was indeed “totally different”
  4 from its banking peers.      As Wells Fargo has since admitted, Wells Fargo’s
  5 established corporate policies and sales incentives were fueling a high-pressure
  6 sales culture that required its bankers to open as many accounts as possible. As a
  7 direct result of that pernicious sales culture, and with the ongoing knowledge and
  8 authorization of Wells Fargo, an array of Wells Fargo bankers in multiple branch
  9 offices in California (and in a few cases, Texas) deliberately assisted the operators
 10 of the Apex and Triangle risk-free trial scams for an astonishingly long period of
 11 time: from at least 2009 to 2018 for the Triangle fraud and from at least 2014 to
 12 2018 for the Apex fraud (“the Relevant Period”), until the filing of the FTC actions
 13 finally shut them down.
 14         9.     The Bank’s high-pressure sales culture and near unattainable sales
 15 goals drove Wells Fargo bankers to open accounts regardless of the risk to the
 16 Bank or others; if the employees failed to deliver, the consequences were severe:
 17 “[i]t was common knowledge within the Bank that employees who could not meet
 18 sales goals could and would be terminated,” and “[e]mployees’ incentive
 19 compensation and promotional opportunities depended on their ability to meet the
                              4
 20 unreasonable sales goals.” As discussed in greater detail below, this drive for new
 21 accounts aligned perfectly with the Enterprises’ constant need for shell accounts.
 22         10.   In the aftermath of Wells Fargo’s much-publicized unauthorized
 23 accounts scandal caused by this sales culture, Wells Fargo’s newly-installed CEO
 24 described the bank’s corporate policies as excessively “focus[ed] on growing the
 25
 26   4
      January 23, 2020 Office of the Comptroller of the Currency Notice Of Charges
 27 For  Orders Of Prohibition And Orders To Cease And Desist And Notice Of
    Assessments Of A Civil Money Penalty, AA-EC-2019-82 et al. (Jan. 23, 2020)
 28 (“OCC Notice of Charges”) ¶¶ 72, 77.
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                                                              RECEIVER’S COMPLAINT
                                   FTCSER-24
Case
 Case2:18-cv-09573-JFW-JPR
       3:21-cv-01245-AJB-JLB Document
                              Document219-3
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                                                07/08/21
                                                   01/18/22
                                                          PageID.6
                                                            Page 7 of
                                                                   Page
                                                                      89 6Page
                                                                           of 88ID
                                    #:5473



  1 number of accounts,” admitting that Wells Fargo’s actions were “just stupid.”
  2 Unfortunately for Wells Fargo and the victims here, this “stupid” conduct had
  3 devastating consequences, as these policies encouraged and rewarded Wells Fargo
  4 bankers for aiding and abetting fraud in order to satisfy the pressurized sales
  5 culture and hit sales quotas. The Receiver’s investigation revealed that Wells
  6 Fargo knowingly facilitated the opening of accounts by the Enterprises’ principals
  7 for use in their fraud, all while making a conscious decision to let the fraud go
  8 unreported.
  9         11.   Wells Fargo’s misconduct centered around the Community Bank,
 10 which was the largest of Wells Fargo’s three business units and contributed more
 11 than half (and in some years more than three-quarters) of the Bank’s revenue. The
 12 Community Bank was responsible for the everyday banking products sold to
 13 businesses such as the Enterprises in this case.
 14         12.   Commenting on the widespread nature of Wells Fargo’s misconduct
 15 in the Community Bank, the Office of the Comptroller of the Currency (the
 16 “OCC”), the federal bank regulator which ensures safe and sound banking, found
 17 that: “To the extent [Wells Fargo] did implement controls, the Bank intentionally
 18 designed and maintained controls to catch only the most egregious instances of the
 19 illegal conduct that was pervasive throughout the Community Bank.” OCC Notice
 20 of Charges ¶ 6. Consistent with this finding, the Receiver’s investigation has led
 21 him to conclude that Wells Fargo intentionally designed and maintained controls
 22 which served to conceal—rather than unmask—its customers’ illegal activities,
 23 which Wells Fargo was actively facilitating.
 24         13.   Wells Fargo knowingly assisted the operators of the Apex and
 25 Triangle Enterprises, including by, among other things: (i) authorizing or allowing
 26 the use of atypical banking procedures to assist the Enterprises in their frauds, (ii)
 27 counseling the Enterprises on how to set up deceptive bank accounts with straw
 28 owners, which enabled them to hide the fraud, (iii) accepting deposits obtained
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                                                               RECEIVER’S COMPLAINT
                                   FTCSER-25
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 Case2:18-cv-09573-JFW-JPR
       3:21-cv-01245-AJB-JLB Document
                              Document219-3
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                                                   01/18/22
                                                          PageID.7
                                                            Page 8 of
                                                                   Page
                                                                      89 7Page
                                                                           of 88ID
                                    #:5474



  1 through the fraud, and (iv) authorizing suspicious inter-company transfers that
  2 enabled the wrongdoers to secrete the proceeds of their fraud, including in
  3 accounts located outside of the United States.
  4         14.   Wells Fargo has admitted wrongdoing and paid substantial fines and
  5 restitution for one consequence of its illegal sales culture, namely, the creation of
  6 fraudulent accounts in customers’ names, opened without their consent. But the
  7 Receiver’s investigation revealed that there were other, previously unidentified
  8 consequences of Wells Fargo’s sales culture and its actions here: in this case, the
  9 consequences were hundreds of millions of dollars in harm, done to the thousands
 10 of consumers who signed up for Apex’s and Triangle’s risk-free trials, and the
 11 resulting liability of the Receivership Entities to make the defrauded consumers
 12 whole. To date, Wells Fargo has never compensated this newly-identified category
 13 of victims, including the Receivership Entities, that were harmed by Wells Fargo’s
 14 sales culture and the resulting conduct that aided these fraudulent businesses.
 15         15.   The Receiver is therefore seeking to recover damages for the harm
 16 proximately caused to the Apex and Triangle Receivership Entities by Wells
 17 Fargo, including, but not limited to: (i) the Receivership Entities’ legal obligations
 18 to satisfy the FTC judgments, which were premised on misconduct that could not
 19 have occurred but for Wells Fargo’s assistance, (ii) the fees charged by Wells
 20 Fargo in connection with their account services, (iii) the account funds which were
 21 improperly transferred out of the Receivership Entities’ accounts by Wells Fargo at
 22 the direction of the Enterprises’ principals, and (iv) the costs of defending the
 23 actions by the FTC (including the resulting Receiverships).
 24 II.     PRIOR FEDERAL TRADE COMMISSION PROCEEDINGS AND
 25         THE APPOINTMENTS OF THE RECEIVER
 26         16.   In June 2018 and November 2018, the FTC brought separate lawsuits
 27 in the Southern and Central Districts of California against Triangle Media
 28 Corporation and Apex Capital Group, LLC and their related entities (the
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                                                               RECEIVER’S COMPLAINT
                                   FTCSER-26
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 Case2:18-cv-09573-JFW-JPR
       3:21-cv-01245-AJB-JLB Document
                              Document219-3
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                                                          PageID.8
                                                            Page 9 of
                                                                   Page
                                                                      89 8Page
                                                                           of 88ID
                                    #:5475



  1 “Triangle” and “Apex” actions), respectively, each of which was operating
  2 deceptive online risk-free trial offer schemes in violation of consumer protection
  3 statutes.     The FTC sued to obtain temporary, preliminary, and permanent
  4 injunctive relief, rescission or reformation of contracts, restitution, the refund of
  5 monies paid, disgorgement of ill-gotten gains, and other equitable relief. The FTC
  6 filed amended complaints in December 2018 and May 2019 in the Triangle and
  7 Apex actions, respectively.
  8         A.     The Apex Action
  9         17.    Plaintiff is the Court-appointed Receiver in the Apex action: Federal
 10 Trade Commission v. Apex Capital Group, LLC, et al., Case No. 2:18-cv-09573-
 11 JFW (JPRx) (C.D. Cal.).       The Apex Preliminary Injunctions (the “Apex PIs,” id.,
 12 ECF Nos. 40 (Peikos) and 41 (Barnett)) direct the Receiver to preserve the value of
 13 the assets of the Receivership Estate and authorize the Receiver to institute actions
 14 to preserve or recover those assets. See id., ECF Nos. 40, 41 at 19-23.
 15         18.    Receivership Entities subject to the Apex action are expressly defined
                                                       5
 16 to include the following: the Corporate Defendants, the Wyoming Related
              6                               7
 17 Companies, and the U.K. Related Companies. Apex PIs at 7, Definition K. In
 18 addition, the term “Receivership Entities” is defined to include “any other entity
 19 that has conducted any business related to Defendants’ marketing or sale of
 20
 21   5
      The Corporate Defendants include: Apex Capital Group, LLC; Capstone Capital
 22 Solutions Limited; Clik Trix Limited; Empire Partners Limited; Interzoom Capital
    Limited; Lead Blast Limited; Mountain Venture Solutions Limited; Nutra Global
 23 Limited; Omni Group Limited; Rendezvous IT Limited; Sky Blue Media Limited;
    and Tactic Solutions Limited; and each of their subsidiaries, affiliates, successors,
 24 and assigns. Apex PIs at 6, Definition C.
    6
 25 The Wyoming Related Companies include entities formed in Wyoming by
    Defendants, in the names of nominees, for the sole purpose of fronting merchant
 26 accounts. They are identified in Exhibit A to the Apex action Complaint.
    7
 27 The U.K. Related Companies include entities formed in the U.K. by Defendants,
    in the names of nominees, to front merchant accounts. They are identified in
 28 Exhibit B to the Apex action Complaint.
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                                                               RECEIVER’S COMPLAINT
                                    FTCSER-27
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     2:18-cv-09573-JFW-JPR
        3:21-cv-01245-AJB-JLBDocument
                              Document219-3
                                       1 Filed
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                                               07/08/21
                                                  01/18/22PageID.9
                                                            Page 10 Page
                                                                    of 89 9 Page
                                                                            of 88 ID
                                    #:5476



   1 products with a Negative Option Feature, including receipt of Assets derived from
   2 any activity that is the subject of the Complaint in this matter, and that the
   3 Receiver determines is controlled or owned by any Defendant.” Id. To date, the
   4 Receiver has determined that multiple additional entities qualify as Receivership
                                    8
   5 Entities under this definition. These entities are collectively referred to herein as
   6 the “Apex Enterprise.”
   7         19.    As alleged in the Apex Complaint, Philip Peikos (“Peikos”) and his
   8 one-time partner, David Barnett (“Barnett), and their agents ran an online “free
   9 trial” subscription scam through the Apex Enterprise.            Peikos was the Chief
  10 Executive Officer and co-owner of Apex. At all times material to this Complaint,
  11 acting alone or in concert with others, he formulated, directed, controlled, had the
  12 authority to control, or participated in the acts and practices of the Apex Enterprise.
  13         20.    Barnett was the Chief Operating Officer of the Apex Enterprise. He
  14 was a co-owner of the Apex Enterprise until at least late 2017, when he transferred
  15 his shares to Peikos. At times material to this Complaint, acting alone or in concert
  16 with others, he formulated, directed, controlled, had the authority to control, or
  17 participated in the acts and practices of the Apex Enterprise.
  18         21.     On September 11, 2019, the FTC and the Apex defendants stipulated
  19 to the entry of Orders for Permanent Injunctions (barring them from their illegal
  20 conduct) and Monetary Judgments resolving all matters in dispute between them.
  21         B.    The Triangle Action
  22         22.   Plaintiff is also the Court-appointed Receiver in the Triangle action:
  23
  24
  25   8
       These include five nominee entities formed by Defendants for the purpose of
  26 opening  new merchant accounts to conduct business inextricably related to the
     FTC v. Apex defendants’ sale of products with a Negative Option Feature: Albright
  27 Solutions LLC (“Albright”); Asus Capital Solutions LLC (“Asus Capital”);
     Element Media Group LLC (“Element”); NextLevel Solutions LLC
  28 (“NextLevel”); and Vortex Media Group LLC (“Vortex”).
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                                                                 RECEIVER’S COMPLAINT
                                     FTCSER-28
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
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                                                        PageID.10
                                                           Page 11 Page
                                                                   of 89 10Page
                                                                            of 88ID
                                   #:5477


                                                                                   9
   1 FTC v. Triangle Media Corporation, et al, 3:18-cv-01388 (LAB-LL) (S.D. Cal.).
   2 The Temporary Restraining Order (the “Triangle Order,” id., ECF No. 11) which
   3 first appointed the Receiver directs the Receiver to preserve the value of the assets
   4 of the Receivership Estate and authorizes the Receiver to institute actions to
   5 preserve or recover those assets. See id. at 18-19.
   6         23.    Receivership Entities subject to the Triangle Receivership are
   7 expressly defined to include Corporate Defendants Triangle Media Corporation
   8 (“Triangle”), Hardwire Interactive Inc. (“Hardwire”), and Jasper Rain Marketing
                                                    10
   9 LLC (“Jasper Rain”), and their respective dbas. Triangle Order at 8, Definition
  10 N. Receivership Entities also include “any other entity that has conducted any
  11 business related to Defendants’ marketing of negative option offers, including
  12 receipt of Assets derived from any activity that is the subject of the Complaint in
  13 this matter, and that the Receiver determines is controlled or owned by any
                11
  14 Defendant.” These Entities are collectively referred to herein as the “Triangle
  15 Enterprise.”
  16         24.    Brian Phillips (“Phillips”) and his agents operated the Triangle online
  17 “free trial” subscription scam. During the relevant period, Phillips was an owner
  18 and officer of the Triangle Enterprise. At all times material to this Complaint,
  19 acting alone or in concert with others, he formulated, directed, controlled, had the
  20
  21   9
       In the Triangle Complaint, the Corporate Defendants are defined as: Triangle
  22 Media   Corporation also doing business as Triangle CRM, Phenom Health, Beauty
     and Truth, and E-Cigs; Jasper Rain Marketing LLC also doing business as, and
  23 each of their subsidiaries, affiliates, successors, and assigns. The Individual
     Defendant is Brian Phillips.
  24 10
        These dbas include Cranium Power, Phenom Health, Beauty and Truth, and E-
  25 Cigs.
       11
  26   The Receiver has determined that additional entities fall within this definition of
     Triangle-related Receivership Entities: (1) Global Northern Trading Ltd. (“Global
  27 Northern”), a Canadian corporation as to which Triangle transferred more than $44
     million during the period 2013-2018; and (2) the nominee entities formed and
  28 controlled by Phillips but deliberately placed in the names of nominees.
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                                    FTCSER-29
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
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                                             07/08/21
                                                  01/18/22
                                                        PageID.11
                                                           Page 12 Page
                                                                   of 89 11Page
                                                                            of 88ID
                                   #:5478



   1 authority to control, or participated in the acts and practices of the Triangle
   2 Enterprise.
   3         25.     During the relevant period, Devin Keer (“Keer”) was also an owner
   4 and officer of the Triangle Enterprise. At all times material to this Complaint,
   5 acting alone or in concert with others, he formulated, directed, controlled, had the
   6 authority to control or participated in the acts and practices of the Triangle
   7 Enterprise.
   8         26.   On May 30, 2019, the FTC and the Triangle defendants stipulated to
   9 the entry of Orders for Permanent Injunctions (barring them from their illegal
  10 conduct) and Monetary Judgments resolving all matters in dispute between them.
  11         C.    The Receiver’s Investigation of Wells Fargo and Discovery of
  12               Wells Fargo’s Wrongful Conduct.
  13         27.   After conducting his initial investigations, the Receiver filed
  14 preliminary reports as to his conclusions in each of the Triangle and Apex FTC
  15 actions. In both cases, the Receiver determined that the businesses could not
  16 continue to be operated lawfully and profitably.
  17         28.   Based on initial and subsequent reviews of internal Apex and Triangle
  18 emails and bank records, the Receiver’s investigation revealed that Wells Fargo
  19 was aiding and abetting both Enterprises by providing similar atypical banking
  20 services, as detailed herein, in furtherance of the frauds.
  21         29.   During the investigation, the Receiver issued subpoenas to Wells
  22 Fargo regarding their relationships with the Apex and Triangle Enterprises.         In
  23 response, Wells Fargo made incomplete productions. On information and belief,
  24 numerous internal bank records, including electronic documents and internal
  25 communications, still exist regarding the Apex and Triangle Enterprises, as Wells
  26 Fargo was obligated under applicable banking regulations and laws to maintain
  27 such records.
  28         30.   In late October 2019 and January 2020, the Receiver filed motions in
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                                                                   RECEIVER’S COMPLAINT
                                     FTCSER-30
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.12
                                                           Page 13 Page
                                                                   of 89 12Page
                                                                            of 88ID
                                   #:5479



   1 the Triangle and Apex actions, respectively, advising the Courts that he wished to
   2 retain counsel to pursue claims against Wells Fargo on behalf of the Receivership
   3 Entities. In the Triangle action, on November 19, 2019, Judge Burns ruled that
   4 “the Court finds good cause exists to grant the Receiver’s motion to (1) extend the
   5 receivership for the sole purpose of pursuing litigation against Wells Fargo, (2)
   6 permit the Receiver to retain contingency counsel, and (3) administratively close
   7 the case while that litigation is pursued.” In the Apex action, on March 9, 2020,
   8 Judge Walter similarly permitted the Receiver to retain contingency counsel to
   9 pursue claims against Wells Fargo.
  10 III.    PARTIES
  11         31.    Plaintiff Thomas W. McNamara is the Court-appointed Receiver of
  12 the Triangle and Apex Entities. Triangle’s principal place of business was 1350
  13 Columbia Street, San Diego, California 92101 until May 17, 2018, when it filed
  14 paperwork with the California Secretary of State changing its principal place of
  15 business to Tampa, Florida, though the center of operations remained in San
  16 Diego.     Apex was a Wyoming limited liability company which had business
  17 addresses in Westlake Village, California; Jackson, Wyoming; Beverly Hills, CA;
  18 and Woodland Hills, CA, though it was always, to the Receiver’s knowledge,
  19 operated out of California during the Relevant Period.
  20         32.    Defendant Wells Fargo & Company is a nationwide, diversified,
  21 financial services company.         Upon information and belief, its corporate
  22 headquarters are located in San Francisco, California. Defendant Wells Fargo &
  23 Company is the parent company of Wells Fargo Bank, N.A.
  24         33.    Defendant Wells Fargo Bank, N.A. is organized as a national banking
  25 association under the laws of the United States. Upon information and belief, its
  26 corporate headquarters are located in South Dakota. It maintains multiple offices
  27 in the State of California and the Southern District of California for the purposes of
  28 maintaining checking, savings, business, and merchant accounts, and engaging in
                                               11                   Case No. ___________
                                                                RECEIVER’S COMPLAINT
                                    FTCSER-31
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.13
                                                           Page 14 Page
                                                                   of 89 13Page
                                                                            of 88ID
                                   #:5480



   1 other business activities.
   2         34.     The Defendants are collectively referred to herein as “Wells Fargo,”
   3 the “Bank,” or “Defendants.”
   4 IV.     JURISDICTION AND VENUE
   5         35.     This Court has jurisdiction over this matter under 28 U.S.C. § 754, 28
   6 U.S.C. § 1345, and 28 U.S.C. § 1367(a), and the doctrines of supplemental and
   7 ancillary jurisdiction. See S.E.C. v. Bilzerian, 378 F.3d 1100, 1107 (D.C. Cir.
   8 2004) (“[T]he receiver’s complaint was brought to accomplish the objectives of the
   9 Receivership Order and was thus ancillary to the court’s exclusive jurisdiction over
  10 the receivership estate”).
  11         36.     Venue in the Southern District of California is proper pursuant to 28
  12 U.S.C. § 1391, because the Triangle Court retained jurisdiction of this matter for
  13 all purposes and appointed the Permanent Receiver in the Southern District of
  14 California on August 24, 2018, and because this proceeding is supplemental to
  15 FTC v. Triangle. See Haile v. Henderson Nat’l Bank, 657 F.2d 816, 822 n.6 (6th
  16 Cir. 1981) (“[W]here jurisdiction is ancillary, the post-jurisdictional consideration
  17 of venue is ancillary as well.”), and because the Triangle action was initiated prior
  18 to the filing of the Apex action in the Central District of California.
  19         37.     The Court may exercise personal jurisdiction over the Defendants
  20 pursuant to 28 U.S.C. § 1692 because the funds sought to be recovered are assets
  21 of the Receivership Entities under the Court’s Orders issued in the Triangle and
  22 Apex actions.
  23         38.     This Court also has personal jurisdiction over Defendants named in
  24 this Complaint because Wells Fargo conducted business in California and it
  25 participated in California-based fraudulent schemes that injured Californians.
  26 Venue is also proper in this District because the conduct at issue took place and
  27 had an effect in this District and Wells Fargo regularly conducted and still
  28 regularly conducts substantial banking business in this District. Defendants have
                                                12                    Case No. ___________
                                                                  RECEIVER’S COMPLAINT
                                     FTCSER-32
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.14
                                                           Page 15 Page
                                                                   of 89 14Page
                                                                            of 88ID
                                   #:5481



   1 sufficient minimum contacts with the Southern District of California arising from
   2 the specific conduct committed in or directed to the Southern District of California.
   3 V.     WELLS FARGO’S UNATTAINABLE SALES GOALS AND HIGH-
   4        PRESSURE SALES CULTURE DROVE ITS BANKERS TO
   5        PARTICIPATE IN THE ENTERPRISES’ FRAUDS
   6        39.    During the Relevant Period, Wells Fargo engaged in rampant sales
   7 misconduct from the top down. That misconduct has been repeatedly confirmed
   8 by multiple regulators, hearings, and lawsuits.          In September 2016, the
   9 CFPB imposed a fine of $100 million against Wells Fargo for opening more than
  10 two million new accounts not requested by customers in order to generate illicit
  11 fees. The company also paid $35 million to the Office of the Comptroller of the
  12 Currency and $50 million to the City and County of Los Angeles.
  13        40.    Despite signing consent orders with the CFPB and OCC, in 2018,
  14 those same two agencies fined Wells Fargo again (this time for one billion dollars)
  15 for selling unnecessary products to customers and for engaging in other improper
  16 practices. Later, in February 2020, Wells Fargo agreed to pay three billion dollars
  17 to resolve federal civil and criminal investigations into the consumer account
  18 scandal; the settlement of those matters included a deferred prosecution agreement.
  19        41.    Wells Fargo’s sales misconduct began at least as early as 2002. At
  20 that time, the Bank’s internal investigations unit noticed an increase in “sales
  21 integrity” cases.    According to Wells Fargo’s employees, sales goals were
  22 impossible to meet, and incentives for compensation and ongoing employment
  23 necessitated “gaming” the system. Gradually, “gaming,” which was defined in the
  24 Wells Fargo Code of Ethics as “the manipulation and/or misrepresentation of sales
  25 or referrals . . . in an attempt to receive compensation or to meet sales goals,”
  26 became commonplace.
  27        42.    To meet company sales quotas, employees opened accounts and credit
  28 lines, ordered credit cards without their customers’ permission, and forged client
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                                                               RECEIVER’S COMPLAINT
                                    FTCSER-33
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
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                                                  01/18/22
                                                        PageID.15
                                                           Page 16 Page
                                                                   of 89 15Page
                                                                            of 88ID
                                   #:5482



   1 signatures on paperwork. Some employees urged family members to open ghost
   2 accounts.
   3         43.    Between 2011 and 2015, Wells Fargo employees opened more than
   4 1.5 million deposit accounts and more than 565,000 credit card accounts that may
   5 not have been authorized. On a per-employee basis, the reports of sales-related
   6 misconduct tripled from the second quarter of 2007 through the fourth quarter of
   7 2013.
   8         44.   Despite Wells Fargo’s payment of a combined $185 million penalty to
   9 the OCC, CFPB, and the City and County of Los Angeles in 2016 to settle charges
  10 related to consumer account fraud, the next year in an August 4, 2017 quarterly 10-
  11 Q filing, Wells Fargo said it had expanded the period targeted for review
  12 (previously 2011 through 2015) to 2009 through 2016 and disclosed that the
  13 expansion of the review period could reveal a “significant increase” in
  14 unauthorized accounts.
  15         45.   On January 23, 2020, the OCC brought additional charges against
  16 several Wells Fargo executives for allowing long-term sales misconduct. As the
  17 OCC put it:
  18         The Bank tolerated pervasive sales practices misconduct as an
             acceptable side effect of the Community Bank’s profitable sales
  19         model, and declined to implement effective controls to catch systemic
             misconduct. Instead, to avoid upsetting a financially profitable
  20         business model, senior executives…turned a blind eye to illegal and
             improper conduct across the entire Community Bank….To the extent
  21         the Bank did implement controls, the Bank intentionally designed
             and maintained controls to catch only the most egregious
  22         instances of the illegal conduct that was pervasive throughout the
             Community Bank. In short, Bank senior executives favored profits
  23         and other market rewards over taking action to stop the systemic
             issuance of unauthorized products and services to customers.
  24
             (Emphasis added).
  25
             46.    In 2020, Wells Fargo also entered into a Deferred Prosecution
  26
       Agreement (“DPA”) with the United States Attorney’s Offices for the Central
  27
       District of California and the Western District of North Carolina that included a
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                                                              RECEIVER’S COMPLAINT
                                    FTCSER-34
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.16
                                                           Page 17 Page
                                                                   of 89 16Page
                                                                            of 88ID
                                   #:5483



   1 “Statement of Facts” in which Wells Fargo “admitted, accepted, acknowledged as
   2 true” (among other things) that “[d]espite [having] knowledge of the widespread
   3 sales practices problems” as early as 2002 and through 2016, “Community Bank
   4 senior leadership failed to take sufficient action to prevent and reduce the
   5 incidence of unlawful and unethical sales practices.” According to the DPA, Wells
   6 Fargo was alerted to the fraud by “Wells Fargo’s internal investigations unit, the
   7 Community Bank’s own internal sales quality oversight unit, and managers leading
   8 the Community Bank’s geographic regions, as well as regular complaints by
   9 lower-level employees and Wells Fargo customers reporting serious sales practices
  10 violations.”
  11         47.    In the wake of Wells Fargo’s consumer account scandal, the federal
  12 bank regulators, the OCC and the Federal Reserve, initiated a multi-phase “Sales
                                                             12
  13 Practices and Incentive Compensation Horizontal Review,” with the goals
  14 including to determine whether other banks doing the very same things that Wells
  15 Fargo did. After conducting its investigation, the regulators OCC concluded in
  16 2017 that Wells Fargo was unique in terms of its sales culture, which prompted
  17 employees to open unauthorized, and even fraudulent, accounts in order to meet
  18 daily new account goals and keep their jobs. The banking regulators’ review
  19 confirmed that Wells Fargo’s banking peers, unlike Wells Fargo, had taken
  20 seriously the significant compliance risks caused by an overly aggressive sales
  21 culture and lax oversight of branches.
  22         48.    In other words, Wells Fargo’s misconduct was not the norm within the
  23 industry and was tethered to Wells Fargo’s uniquely toxic sales culture. That same
  24 culture is at issue here but in an entirely different context, and one that was only
  25 discovered after the Receiver was appointed. Here, Wells Fargo’s corporate focus
  26
  27   12
       That review initially covered all large national banks, like Wells Fargo, and later
  28 significant regional banks.
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                                                               RECEIVER’S COMPLAINT
                                    FTCSER-35
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.17
                                                           Page 18 Page
                                                                   of 89 17Page
                                                                            of 88ID
                                   #:5484



   1 on the opening of new accounts at any cost resulted in the Bank opening roughly
   2 one hundred and fifty bank accounts for shell companies across the Apex and
   3 Triangle frauds—accounts which Apex and Triangle’s principals required to
   4 secure merchant payment processing services (leaning on Wells Fargo’s
   5 imprimatur and reference letters to convince the processors of the accounts’
   6 legitimacy) and then used to launder the proceeds from their consumer frauds.
   7 VI.     WELLS FARGO’S CREATION AND MAINTENANCE OF BANK
   8         ACCOUNTS FOR DECEPTIVE SHELL COMPANIES WERE
   9         ESSENTIAL TO THE FRAUDS
  10         49.    The Apex and Triangle frauds were simple in concept: bait
  11 consumers with deceptive internet ads offering “risk-free” trials for only the cost of
  12 shipping, and then use the consumers’ billing information to charge for the product
  13 and impose a monthly continuity charge. Make it impossible to cancel. These
  14 schemes defrauded consumers of hundreds of millions of dollars.
  15         50.   Simple as it was, the con was effective. Consumers would be offered
  16 a full month’s supply of a featured product and, at the time of the initial order,
  17 would only pay the nominal cost for the shipping and handling of the product. But
  18 if the consumer did not cancel the order and return the unused portion of the
  19 product within a short period of time (often, fourteen calendar days), the Triangle
  20 and Apex Enterprises would automatically charge the consumer’s card for the full
  21 price of the product (usually around $87 or $89). The consumer would also be
  22 enrolled in an auto-ship program when signing up for the “risk-free” trial offer—
  23 meaning that unless the subscription was affirmatively canceled, the consumer was
  24 automatically charged monthly for additional product.
  25         51.   Both the Apex and Triangle schemes required access to a steady
  26 stream of new bank accounts to function.           As such, Wells Fargo and the
  27 Enterprises’ objectives were aligned: the Enterprises needed new bank accounts on
  28 a regular basis, and Wells Fargo was constantly pressuring its sales employees to
                                               16                   Case No. ___________
                                                                RECEIVER’S COMPLAINT
                                    FTCSER-36
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.18
                                                           Page 19 Page
                                                                   of 89 18Page
                                                                            of 88ID
                                   #:5485



   1 open more bank accounts. As a result, the Enterprises, the individuals behind
   2 them, and the bank developed a symbiotic relationship. Without Wells Fargo’s
   3 assistance, the Enterprises’ frauds could not have survived (let alone thrived) for as
   4 long as they did.
   5        A.     The Payment Processing System and Credit Card Laundering
   6        52.    In order to charge consumers’ credit or debit cards, the Triangle and
   7 Apex Enterprises (the “merchants”) needed to establish an account with a merchant
   8 processor. Merchant processors have access to credit card associations (“card
   9 networks”) like MasterCard and VISA and thereby enable merchants to charge
  10 consumers’ credit cards.
  11        53.    Card networks require all participants within their networks to comply
  12 with detailed rules, including screening processes and underwriting standards for
  13 merchants. These rules are put in place (1) to ensure that the merchants whose
  14 purchases are being processed are legitimate, bona fide businesses, and (2) to
  15 screen out merchants engaged in potentially fraudulent or illegal practices. The
  16 rules also prohibit “credit card laundering,” which encompasses the practice of
  17 processing card charges through the merchant accounts of shell companies like
  18 those used by the Enterprises.
  19        54.     Merchants who pose a heightened risk of fraud to the card networks
  20 are subject to closer scrutiny by their merchant processors and may have their
  21 access to the card networks capped or terminated altogether.
  22        55.    One sign of potential illicit activity by a merchant is the generation of
  23 an excessive number of transactions which have to be refunded to consumers
  24 (“chargebacks”).
  25        56.     Consumers initiate “chargebacks” when they dispute card charges
  26 (most often because of fraud or unauthorized use) by contacting their “issuing
  27 bank,” which is the bank that issued the credit card to the consumer. When a
  28 consumer successfully disputes the charge, the consumer’s issuing bank credits the
                                               17                   Case No. ___________
                                                                RECEIVER’S COMPLAINT
                                      FTCSER-37
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.19
                                                           Page 20 Page
                                                                   of 89 19Page
                                                                            of 88ID
                                   #:5486



   1 consumer’s card for the disputed amount, and then recovers the chargeback
   2 amount from the merchant processor. The merchant processor, in turn, collects the
   3 chargeback amount from the bank account of its merchant client. In this case,
   4 merchant processors would seek to collect chargebacks from the Enterprises’
   5 Wells Fargo accounts.
   6         57.    In order to detect and prevent illegal, fraudulent, or unauthorized
   7 merchant activity, the card networks operate various chargeback monitoring and
   8 fraud monitoring programs. These chargeback monitoring programs are designed
   9 to flag merchant accounts with excessive chargeback ratios or an excessive number
  10 of chargebacks. For example, if a merchant account has chargeback levels that
  11 exceed the thresholds set by VISA’s chargeback monitoring program, the merchant
  12 is subject to additional monitoring requirements and, in some cases, penalties, and
  13 termination.
  14         58.    Credit card laundering is commonly used by merchants who cannot
  15 meet a merchant processor’s underwriting criteria or who cannot obtain merchant
  16 accounts under their own names (whether because of a prior history of excessive
  17 chargebacks, complaints, use of sales or industry practices prohibited by merchant
  18 processors, or other signs of illegal activity). To conceal their identities, merchants
  19 which are engaged in fraud will often create shell companies to act as fronts, and
  20 apply for merchant accounts under the names of these shell companies. Once the
  21 shell merchant accounts are approved, the fraudulent merchants then launder their
  22 own transactions through the shell companies’ merchant accounts. This allows the
  23 merchants to circumvent card associations’ onboarding and monitoring programs
  24 and avoid detection by consumers and law enforcement.
  25         59.    When a merchant is terminated, or if it has a high-risk account or
  26 excessive chargebacks, its name (and that of the merchant’s owner) is put on a
  27 blacklist, which is often referred to as the “MATCH” list (“Merchant Alert To
  28 Control High-Risk”), as a terminated merchant file (“TMF”). Other reasons for
                                                18                   Case No. ___________
                                                                 RECEIVER’S COMPLAINT
                                     FTCSER-38
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.20
                                                           Page 21 Page
                                                                   of 89 20Page
                                                                            of 88ID
                                   #:5487



   1 being listed as a terminated merchant file include merchant collusion, fraud, and
   2 money laundering. Merchant processors use the MATCH list to screen potential
   3 merchant clients, and merchants on the list are often unable to open an account
   4 with a new merchant processor.
   5        60.    For credit card laundering to be effective long-term and on a large
   6 scale, then, a merchant needs access to a ready supply of merchant processing
   7 accounts, so that the merchants can move sales from one shell company to a
   8 newly-created shell company once the profits have been reaped and the chargeback
   9 rates or other “red flags” have attracted attention. An absolute prerequisite to a
  10 merchant processing account is a bank account in a shell company’s name.
  11 Luckily for Apex and Triangle (and unluckily for consumers), Wells Fargo was
  12 more than happy to provide the latter.
  13        B.     Apex and Triangle’s (Mis)Use of the Credit Card Processing
  14               System
  15        61.    Entities associated with the Triangle and Apex Enterprises showed up
  16 again and again on the MATCH list during the Relevant Period, because they were
  17 flagged as high risk and/or routinely had high card chargebacks.
  18        62.     The average chargeback rate in the United States is 0.2% of the
  19 transaction rate and a chargeback rate greater than 1% is considered excessive.
  20 The Triangle and Apex Entities’ chargeback rates were astronomical, with both
  21 and averaging over 20% on a monthly basis, with some months having chargeback
  22 rates of 70% or higher. The merchant processors would typically cancel accounts
  23 when chargebacks exceeded 3% of sales—a regular occurrence for the Apex and
  24 Triangle Entities.
  25        63.    Merchant processors would not deal with repeat offenders like the
  26 Apex and Triangle principals. To get around the merchant processors’ restrictions,
  27 Apex and Triangle’s owners hid their connection to the fraudulent businesses (and
  28 the high chargeback rates that they generated) by creating phony shell companies.
                                              19                  Case No. ___________
                                                              RECEIVER’S COMPLAINT
                                   FTCSER-39
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.21
                                                           Page 22 Page
                                                                   of 89 21Page
                                                                            of 88ID
                                   #:5488



   1        64.     The Apex and Triangle Enterprises used a host of straw owners
   2 (which they sometimes referred to as “fronts” or “nominees” or “signors”) to act as
   3 the “owners” of the shell companies. These straw owners were individuals who
   4 would act as the “front” for a shell company, often in exchange for a payment of
   5 about $500 per month, typically. The Enterprises would orchestrate the formation
   6 of the shell companies, the opening of the necessary Wells Fargo bank accounts,
   7 and the completion of applications for merchant processing in the shell companies’
   8 names. When the merchant processor inevitably terminated processing for a shell
   9 company (typically due to excessive chargebacks), the Apex and Triangle
  10 Enterprises would use a new nominee to form another shell company and restart
  11 the whole process. Rinse and repeat.
  12        65.     For the scheme to work, the shell companies needed to be able to
  13 establish depository accounts with an actual bank.        Without bank accounts,
  14 merchant processing could not be acquired, and without bank accounts, the shell
  15 companies would have nowhere to transfer the funds they took from consumers.
  16        66.     Enter Wells Fargo.    Wells Fargo’s employees gladly helped the
  17 Enterprises set up bank accounts for the shell companies and readily provided them
  18 with bank reference letters, which the shell companies often needed to secure
  19 merchant processing services. Merchant processors would never have provided
  20 merchant processing for the shell companies had they known the identity of the
  21 entities’ true owners (Apex and Triangle’s principals).
  22        67.     When merchant processors charged consumers’ cards for Apex or
  23 Triangle products, the transactions were processed through accounts secured in the
  24 names of the shell companies. The consumer payments would then be sent to
  25 accounts at Wells Fargo, which nominally belonged to the shell companies but
  26 which were actually controlled by the owners of the Apex and Triangle
  27 Enterprises.    As discussed below, Wells Fargo was well aware of the shell
  28 companies’ true ownership yet continued to assist the Enterprises in their creation
                                              20                   Case No. ___________
                                                               RECEIVER’S COMPLAINT
                                    FTCSER-40
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
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                                             07/08/21
                                                  01/18/22
                                                        PageID.22
                                                           Page 23 Page
                                                                   of 89 22Page
                                                                            of 88ID
                                   #:5489



   1 of shell bank accounts needed to perpetrate and conceal their fraud.
   2        68.     From at least 2014 through 2018 for the Apex Enterprise, and 2009
   3 through 2018 for the Triangle Enterprise, Wells Fargo provided vital access to the
   4 enable the Enterprises to open approximately 150 Apex and Triangle shell bank
   5 accounts to accept fraudulently-obtained payments from consumers. As detailed
   6 herein, Wells Fargo knew of this scheme, counseled the Enterprises’ principals,
   7 and helped them hide the true ownership of the accounts.
   8 VII. WELLS FARGO’S KNOWING INVOLVEMENT IN THE FRAUDS
   9        A.      Wells Fargo’s Support of the Apex Enterprise
  10        69.     Wells Fargo bankers in California regularly and repeatedly helped
  11 Apex executives advance their credit card laundering scheme in a number of ways.
  12 Wells Fargo bankers like Dominic Testa (Westlake Village Branch) developed
  13 long-term business relationships with Apex’s principals: Peikos (Co-Owner),
  14 Barnett (Co-Owner), and Raul Camacho (“Camacho,” Apex Chief Financial
  15 Officer). Testa and other Wells Fargo bankers were able to keep—and grow—the
  16 Bank’s business with Apex because Wells Fargo was willing to wade into the
  17 muck in ways that other banks would not.
  18        70.     As early as 2014, Wells Fargo was helping Apex executives to open,
  19 and also close, accounts for dozens and dozens of shell companies owned and
  20 controlled by Apex owners Peikos and Barnett. Wells Fargo, and in particular
  21 banker Testa, knew that Peikos and Barnett were using these shell companies to
  22 run high-risk internet sales operations that bilked consumers out of millions of
  23 dollars. At the same time, Wells Fargo had visibility into the high number of
  24 chargeback refunds that were being withdrawn from the shell companies’ Wells
  25 Fargo accounts to repay the alarmingly high proportion of consumers who disputed
  26 the charges.
  27        71.     By early 2015, Apex employee Camacho was Testa’s primary Apex
  28 contact point. Camacho was also often listed as the “owner” of the Wells Fargo
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                                                                RECEIVER’S COMPLAINT
                                    FTCSER-41
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.23
                                                           Page 24 Page
                                                                   of 89 23Page
                                                                            of 88ID
                                   #:5490



   1 accounts Testa opened for the shell companies, although Testa was acutely aware
   2 that Peikos and Barnett were the true owners of Apex and the shell company bank
   3 accounts – and Camacho took directions from them. Testa, and other Wells Fargo
   4 bankers, also readily provided prized anonymous bank reference letters for the
   5 shell company accounts, which Apex then used to support merchant processing
   6 applications by the shell companies. Without Wells Fargo’s imprimatur, these
   7 shell companies would not have been able to secure the essential merchant
   8 processing accounts.      Further, without Wells Fargo’s continually providing
   9 atypical bank services for Apex-related shell companies in a host of ways, the
  10 Apex fraudulent enterprise would not have been able to exist.
  11        72.    The Apex Enterprise generated millions of dollars in revenues—
  12 money that left the shell companies’ accounts almost as soon as it hit them. Those
  13 funds went straight into the laundering chute, where Peikos and Barnett used the
  14 Wells Fargo accounts to clean the money, transferring the funds into external
  15 personal and third-party accounts to which they had access.
  16        73.    The success of Apex’s fraudulent scheme was by no means inevitable.
  17 Wells Fargo in particular was in a rare position to stop the fraud very early on.
  18 Moreover, it had an obligation to do so pursuant to a host of banking regulations
  19 and laws. But it never did.
  20        74.    Instead, Wells Fargo actively assisted the Apex Enterprise by
  21 establishing dozens (upon dozens) of bank accounts for the Enterprises’ shell
  22 companies, providing the corresponding bank reference letters for those shell
  23 companies, allowing Apex’s principals to “wash” the dirty proceeds of their fraud
  24 by transferring funds through their Wells Fargo accounts, and otherwise
  25 performing atypical banking services for these fraudulent Enterprises. Through
  26 this and other conduct, coupled with their intentionally lax oversight, Wells Fargo
  27 flouted standard banking practices and in the process violated the Bank Secrecy
  28 Act, anti-money laundering (“AML”) laws, and the Bank’s own internal policies
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                                                              RECEIVER’S COMPLAINT
                                   FTCSER-42
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.24
                                                           Page 25 Page
                                                                   of 89 24Page
                                                                            of 88ID
                                   #:5491



   1 and procedures as they were written; as a result, Wells Fargo’s conduct caused
   2 hundreds of millions of dollars in harm to consumers and to the Receivership
   3 Entities.
   4         75.    During the Relevant Period, the Apex principals dealt primarily with
   5 Wells Fargo bankers at a San Diego branch and at the Westlake Village Branch in
   6 the Los Angeles area, though other branches and bankers assisted the fraud. For
   7 instance, Wells Fargo’s Woodland Hills office opened at least seven accounts for
   8 anonymous Wyoming LLCs that were part of the Apex Enterprise, and closed four
   9 of those accounts once the associated shell companies lost their access to merchant
  10 processing services (i.e., the ability to charge consumers’ credit cards).
  11         76.   On information and belief, the Wells Fargo bankers at the San Diego
  12 Branch, the Westlake Village Branch, and the Woodland Hills Branch, just like
  13 numerous other Wells Fargo Community Bank branches during the Relevant
  14 Period, were operating under intentionally deficient bank practices and policies
  15 effected by the most senior executives at Wells Fargo.           Those practices and
  16 policies featured a reckless quota system that improperly pressured and
  17 incentivized Wells Fargo employees to provide atypical banking services, bend the
  18 rules, and even commit fraud when performing what should have been routine
  19 business tasks.
  20                      (i)   The San Diego Branch
  21         77.   In the Wells Fargo branch located at First and Market Street in
  22 downtown San Diego (the “San Diego Branch”), several bankers, often
  23 collaborating with one another as well as with Apex principals, knowingly
  24 facilitated Apex’s fraud for their own—and Wells Fargo’s—financial gain.
  25         78.   Apex’s relationship with the San Diego Branch began in January
  26 2014, when on two separate days Barnett walked into the branch with formation
  27 documents for eight Wyoming LLCs and asked to open bank accounts in each
  28 LLC’s name. Barnett had no history with the bank; he was a walk-in off the street.
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 Case2:18-cv-09573-JFW-JPR
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                                                                   of 89 25Page
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   1 The LLC documents that Barnett presented to the branch were also suspect with
   2 numerous indicia of fraud: they were nearly identical, with each of the LLCs based
   3 in Wyoming (which allows for the creation of LLCs without identification of the
   4 principals, effectively anonymizing the entities), each having the same Wyoming
   5 mail drop as its business address, and each having been formed on the same day
   6 four months earlier.
   7         79.   Basic (AML) training that Wells Fargo bankers should have received
   8 during the Relevant Period taught how and why anonymous LLC accounts with
   9 shared addresses (especially a shared Wyoming mail drop) are used to camouflage
  10 ownership and further frauds. Such basic AML training alerted bankers to look for
  11 transactions with other internal accounts in order to identify undisclosed
  12 relationships.    The circumstances required that all of the Apex accounts be
  13 evaluated together with bankers looking for similarities and patterns of activity that
  14 indicate fraud.
  15         80.   Under many banks’ policies, a customer who provided the same
  16 Wyoming mail drop address for multiple applications would have had those
  17 applications further reviewed and then rejected for failing to satisfy bank customer
  18 identification requirements. At a minimum and per industry practice, additional
  19 follow-up by Wells Fargo was required.         A bank following the requisite due
  20 diligence consistent with industry practice would not have permitted these
  21 accounts to be opened.
  22         81.   But the Wells Fargo banker didn’t ask questions. Instead, the banker
  23 promptly completed eight identical—generic—applications for Wells Fargo
  24 accounts for the shell companies. Each of the accounts were funded with minimal
  25 opening deposits (generally $100, which was the minimum amount necessary for
  26 the banker to get sales quota credit for opening the account), and each of the
  27 account applications projected annual gross sales of $100.
  28         82.   Under Wells Fargo’s toxic sales culture and compensation system,
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 Case2:18-cv-09573-JFW-JPR
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   1 Barnett’s appearance at the Wells Fargo branch was manna from heaven for the
   2 banker and Wells Fargo. While most banks would have refused to open the
   3 accounts or at least conducted more diligence, Wells Fargo just opened the
   4 accounts. And not just eight accounts. The banker opened sixteen accounts, when,
   5 unprompted, she opened a savings account for each of the eight checking accounts
   6 Barnett had requested.
   7         83.   The savings accounts were superfluous from the customer’s
   8 perspective, but they were nevertheless valuable to Wells Fargo’s bankers because
   9 they counted towards the extreme sales quotas that Wells Fargo put in place.
  10 Much later, upon a request to close some accounts by Peikos, Testa confirmed that
  11 the “[savings] accounts really have no purpose and can be shut down…”.
  12         84.   After his initial success in establishing the shell company accounts at
  13 Wells Fargo, Barnett returned to the same branch three more times over the next
  14 seven months (March, August and September), opening 22 more business bank
  15 accounts for 11 more anonymous Wyoming LLCs. Each of these shell company
  16 bank account applications had the same indicia of fraud as the first batch, including
  17 anonymous principals, similar deposit and anticipated revenues information, and
  18 the same Wyoming mail drop address. Each time, Wells Fargo conducted no
  19 investigation, instead rubber-stamping the new accounts. When necessary, Wells
  20 Fargo also closed accounts that Apex had burned due to egregiously high
  21 chargeback rates.
  22         85.   For these later applications, Wells Fargo had the benefit of being able
  23 to review the activity in the prior Apex shell companies’ bank accounts. Across
  24 the accounts, the same pattern of activity reappeared: after millions of dollars in
  25 consumer charges were deposited into the accounts (which had projected sales of
  26 $100 on their applications), extraordinarily high chargebacks would follow. In
  27 some monthly Wells Fargo account statements, the chargeback rates for these
  28 companies exceeded 70% and 80%.
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   1        86.    Wells Fargo was fully aware that Apex was burning through shell
   2 companies, due to these high chargeback rates, which caused merchant processors
   3 to cease doing business with the shells, because Peikos and Barnett were also
   4 regularly asking Wells Fargo to close old accounts for shell companies that could
   5 no longer access merchant processing services due to their high chargeback rates.
   6        87.      Notwithstanding numerous indicia of fraud, the rigorous Know-Your-
   7 Customer (“KYC”) and AML requirements that were in place for the branch, and
   8 Wells Fargo’s own internal policies and procedures that required (in theory)
   9 enhanced scrutiny of high-risk companies such as those associated with the Apex
  10 Enterprise, the San Diego Branch quickly approved every application and opened
  11 the accounts.
  12        88.    Wells Fargo bankers at the San Diego Branch also provided reference
  13 letters which validated the shell companies’ Wells Fargo accounts. Initially, these
  14 letters were addressed to Barnett, but in May 2014, Apex’s atypical banking
  15 requests to Wells Fargo grew bolder—and Wells Fargo’s complicity in the fraud
  16 expanded. Barnett asked the San Diego Branch to re-execute and re-sign ten
  17 reference letters for the initial Wyoming LLCs for which the branch had opened
  18 accounts; the new letters would have Barnett’s name removed, making them
  19 anonymous, “Dear Company” letters.
  20        89.    Without blinking, the San Diego Branch banker quickly re-executed
  21 the ten Wells Fargo reference letters, amending the address associated with the
  22 accounts to include just the company name, without any address and without
  23 Barnett’s name.       Wells Fargo accommodated this remarkable request for
  24 anonymity without comment or question.
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                                                                   of 89 29Page
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   1 a family of accounts from a risk compliance perspective.
   2        92.    Globally-recognized account opening and oversight standards in place
   3 for decades have classified anonymous LLCs entities as “high risk” entities and
   4 warned that these entities are one of the most widely used vehicles in laundering of
   5 the proceeds of crime, corruption, and other malfeasance. Therefore, Wells Fargo
   6 was required to conduct due diligence sufficient to establish the true beneficial
   7 owners of LLCs before allowing them access to bank accounts—and were further
   8 required to document the results of that diligence correctly in the bank’s files in
   9 order to assist the bank in its future monitoring endeavors.
  10        93.    In light of the increased risks created from the outset, Barnett’s
  11 specific request to reissue generic no-name letters to 10 related anonymous LLCs
  12 was highly suggestive of credit card laundering by Apex. As the Bank knew, Apex
  13 could easily conceal the identities of its blacklisted owners from merchant
  14 processors by submitting applications in straw owners’ name that were supported
  15 by the essential no-name reference letters from Wells Fargo. And that’s exactly
  16 what Apex did.
  17        94.    The most basic compliance training would have taught these bankers
  18 that such tactics were highly suggestive of card laundering or some other nefarious
  19 activity. This means one of two things is true: either Wells Fargo’s high-pressure
  20 sales culture made it clear that identifying and stopping fraud was secondary to the
  21 Bank’s profit motive, or Wells Fargo’s training and oversight were intentionally
  22 designed to be so deficient that its employees were clueless as to the most obvious
  23 signs of fraud.
  24        95.    In August 2014, Barnett was back and opened ten more Wyoming
  25 LLC shell company accounts at the San Diego Branch (this time with a different
  26 banker), and he requested and received ten more no-name reference letters. Like
  27 the banker before her, the banker wrote and executed anonymous reference letters
  28 for the shell companies: they did not identify the accounts owners or include any
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 Case2:18-cv-09573-JFW-JPR
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   1 other identifying information, e.g., company addresses. Rather than take any of the
   2 steps required by a bank when undertaking typical due diligence for new
   3 customers, multiple bankers at Wells Fargo’s San Diego Branch instead continued
   4 to process identical business account applications. These bankers did so, because
   5 at Wells Fargo, opening these bank accounts was not only profitable for the Bank,
   6 but was also personally beneficial to Wells Fargo’s employees, who were acting
   7 under corporate edicts to meet daily account opening goals.
   8        96.    Despite the fact the initial shell companies accounts were established
   9 in January 2014 with a $100 deposit and minimal ($100) projected annual sales,
  10 deposit activity in the accounts was immediate, dramatic and inconsistent with the
  11 account applications. Millions of dollars began to flow through the accounts
  12 almost at once.
  13        97.    In the month of February, these Wells Fargo Apex accounts took in
  14 $810,000 in consumer credit card payments from Apex’s high-risk merchant
  15 processors. From February to December 2014, the Apex Wells Fargo accounts
  16 took in a whopping $12,300,000 in consumer credit card payments forwarded by
                         13
  17 merchant processors.       The vast difference between the expected and actual
  18 account activity was obvious to Wells Fargo and a huge red flag, which a bank
  19 following standard industry practice was required to investigate.
  20        98.    Within a short time, the shell company bank accounts also began to
  21 suffer staggering merchant chargebacks and refunds. As a group, the Apex shell
  22 company bank accounts at Wells Fargo suffered more than 22% in
  23 chargebacks/refunds in 2014 through mid-2015.          To put these numbers into
  24 perspective, a 1% chargeback rate is considered excessive and grounds to
  25 terminate a merchant’s account with a merchant processor.
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  27    This number is based only on information presently available to the Receiver,
     and is expected to grow when complete monthly account statements are received in
  28 discovery.
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   1        99.   In some months, the chargeback rate was much higher. As just one
   2 example, the August 2014 statement for an Apex shell company named “Bold
   3 Media” reflects a chargeback rate of 78% for the month.
   4        100. And the immense chargeback activity was obvious to Wells Fargo, on
   5 a monthly basis, given that the monthly account statements for all of the shell
   6 companies similarly reflected pages of chargebacks. As the below example makes
   7 clear, the shell accounts’ Wells Fargo monthly statements specifically identify the
   8 chargebacks in the “Withdrawals/Debits” column – often in the very same amounts
   9 again and again, for example, $87.67 and 97.88 (or multiplies thereof), as
  10 consumer after consumer requested chargebacks on their credit cards.
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                                                        PageID.33
                                                           Page 34 Page
                                                                   of 89 33Page
                                                                            of 88ID
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   1        101. Of course, Wells Fargo also knew about these excessive chargebacks,
   2 because Wells Fargo’s very own customers, using credit cards issued by Wells
   3 Fargo, were among the many Apex customers requesting such chargebacks on
   4 their credit cards. Wells Fargo’s own customers even made consumer complaints
   5 about the “risk-free” trial schemes to the Better Business Bureau.
   6        102. Wells Fargo deliberately overlooked this early and obvious
   7 aberrational activity in the Apex shell company accounts. Had even minimal
   8 investigation under standard banking procedures been conducted, with such
   9 obvious red flags – as Wells Fargo was required to do – the consumer losses could
  10 have been staunched almost immediately. Wells Fargo took a different path
  11 instead.
  12        103. As described further below, Barnett’s role as Apex’s primary bank
  13 contact and shell company account opener transitioned to Apex co-owner Peikos in
  14 2015 and Apex employee Camacho at the direction of Peikos.
  15                     (ii)   The Westlake Village Branch
  16        104. In April of 2015, the initial Apex shell company accounts that Barnett
  17 had established in 2014 had been open for fifteen months; most were inactive after
  18 having received (and then having transferred out) millions of dollars of consumer
  19 funds, even accounting for staggering consumer chargebacks. These chargebacks,
  20 which ran through the Wells Fargo accounts, had resulted in nearly all of the shell
  21 companies being terminated by their merchant processors. In spite of all this,
  22 Wells Fargo was still anxious to expand its business with Apex.
  23        105. Beginning in early 2015, Apex began to use Los Angeles County
  24 Wells Fargo branches, and its principals developed relationships with the Wells
  25 Fargo bankers at a Los Angeles County office located in Westlake Village (the
  26 “Westlake Village Branch”). Like the bankers at the San Diego Branch, the Wells
  27 Fargo bankers at the Westlake Village Branch were happy to facilitate Apex’s
  28 ongoing consumer fraud and card-laundering activities in exchange for a revenue
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                                                           Page 35 Page
                                                                   of 89 34Page
                                                                            of 88ID
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   1 boost and assistance hitting sales quotas—even if that meant assisting a fraud and
   2 deliberately turning a blind eye to conduct that any banker would have recognized
   3 as bearing numerous indicia of fraud.
   4        106. David Hannig (“Hannig”) was an Assistant Vice President and Sr.
   5 Business Sales Consultant for Wells Fargo Merchant Services. On information
   6 and belief, Hannig was based out of the Los Angeles area but worked regularly
   7 with a number of branches, including the Westlake Village Branch, where he held
   8 meetings with Apex personnel and Wells Fargo customers.
   9        107. Dominic Testa (“Testa”) was a Business Banking Specialist for Wells
  10 Fargo at the Westlake Village Branch. On information and belief, Hannig and
  11 Testa had a close working relationship with each other and communicated
  12 frequently about how they could expand Wells Fargo’s business with and sell new
  13 bank products to the Apex Enterprise.
  14        108. The Westlake Village Branch was located nearby Apex’s office in
  15 Woodland Hills, California. Wells Fargo banker Testa, who was part of Wells
  16 Fargo’s Community Bank division, was able to develop and sustain a long-term
  17 and ongoing business relationship with the Apex Enterprise. He was particularly
  18 friendly with Apex’s employee and CFO, Camacho, who often referred to Testa
  19 with nicknames like “bud.” As Testa knew, Camacho was simply an employee of
  20 Apex and was not the true “owner” of any account in his name. Testa knew that
  21 Camacho was taking his instructions directly from Peikos, who was the true owner
  22 and controller of Apex. Testa also knew that Camacho was only an “owner” on
  23 paper of the accounts and shell companies held in his name.
  24        109. Testa’s interactions with Peikos and Camacho made it clear from
  25 early on that Peikos was the boss. As just one example, on April 17, 2015, Testa
  26 emailed Peikos about opening “new accounts for you”. Testa noted “I’m assuming
  27 you’ll be using Wyoming like your other LLCs” and requested the documentation
  28 and identification of the “owner.” Peikos responded that Camacho, and not Peikos,
                                             33                  Case No. ___________
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                                   FTCSER-53
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.35
                                                           Page 36 Page
                                                                   of 89 35Page
                                                                            of 88ID
                                   #:5502



   1 would be the “owner” of the LLCs and the bank accounts that Peikos was
   2 instructing Testa to set up: “So we are clear, [Camacho] will be the 100% owner
   3 on these accounts, and I will have access like the current ones were set up.” The
   4 “current ones” Peikos was referring to were the roughly 40 shell company accounts
   5 that Barnett had opened in San Diego which were lying mostly unused at that point
   6 because they had lost access to merchant processing services as a result of their
   7 extraordinarily high consumer chargeback rates. Testa told Peikos that he would
   8 put a fee waiver on the accounts for the next three months and recommended that
   9 Peikos “[k]eep in contact with me on when they should be closed and I can do it
  10 over the phone.”
  11        110. During this same time, Hannig, in coordination with Testa,
  12 encouraged the Apex Enterprise to apply for merchant processing with Wells
  13 Fargo. Apex employee Chris Carr met with Hannig and identified shell companies
  14 and products for which Apex wanted to obtain merchant processing services.
  15        111. Wells Fargo requires merchant account applicants to undergo an
  16 underwriting process intended to ensure the applicant is a legitimate and
  17 creditworthy business and to weed out merchants engaged in illegal conduct and
  18 required the legitimacy of the business be verified/validated. Any material
  19 discrepancies must be documented, investigated, and resolved and the source of the
  20 verification should be in the merchant file. The Bank forbid the solicitation of
  21 merchants engaged in certain unacceptable business practices because they were
  22 presumptively illegal, violated card association rules, or created excessive risk
  23 exposure for the Bank.
  24        112. Several days after their in-person meeting, on April 21, 2015, Carr
  25 followed up with an email to Hannig containing information for two shell
  26 companies. This opened a string of emails between the two in rapid succession,
  27 with emails being exchanged often literal minutes apart. Carr wrote, “Here is some
  28 information on the corps and URLs that we wanted to lead off with . . . Please let
                                             34                  Case No. ___________
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
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                                             07/08/21
                                                  01/18/22
                                                        PageID.36
                                                           Page 37 Page
                                                                   of 89 36Page
                                                                            of 88ID
                                   #:5503



   1 us know if you require additional information to Pre-fill these apps for us. We are
   2 eager to get started so as soon as you can send us the paperwork, we will turn it
   3 around with any additional documentation you require. Thanks!” Carr identified
   4 Arturo Oliveros and Julia Buenrostro as the “owners” of shell companies Alpha
   5 Group, LLC and Crest Capital LLC, respectively, both of which had the same
   6 Wyoming mail drop listed as their business address.          Carr listed the shell
   7 companies’ businesses as “supplement[s]” and “health plus”, respectively, and
   8 included links to the companies’ websites, www.virilitymuscle.com and
   9 www.evermaxbody.com.
  10        113. Hannig reviewed the material and linked websites and quickly
  11 responded, identifying crucial and fundamental discrepancies in the information
  12 Apex provided:
  13              Chris,
  14              The bottom of the websites show different LLC’s then what is
                  listed below. That will need to be changed to the below listed
  15              LLC’s on the websites before I can even start the process. The
                  people you listed below are not owners on the Wells Fargo
  16              bank account that you gave us. They must be owners of the
                  business in order to use their name on the merchant accounts.
  17              The address also does not match up to what is on the website.
                  Everything needs to be matched up on the accounts or the
  18              applications won’t not pass the submission process.
  19              Thank you,
  20              David Hannig
  21              (Emphasis Added).
  22        114. Carr quickly replied claiming to have corrected the issues:
  23              David,
  24              Thanks for your reply. The company names and addresses have
                  been updated on the websites.
  25
                  The Websites just had the product name in the footer as a
  26              placeholder until we got all of the docs in order.
  27              Arturo Oliveros and Julia Buenrostro are owners of the
                  entities listed.
  28
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
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                                             07/08/21
                                                  01/18/22
                                                        PageID.37
                                                           Page 38 Page
                                                                   of 89 37Page
                                                                            of 88ID
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   1                                        Thanks! - Chris
   2                                        (Emphasiss added).
   3                                        ****
   4                      115. Almost im
                                       mmediately
                                                y, Hannig aagain respoonded:
   5                      I see th
                                 he names changed
                                           c        so
                                                     o that will w
                                                                 work. Thee bank acccounts still
                                                                                               ll do not
   6                      show them
                                 t    as ow
                                          wners. Coordinate w   with Domin  nic [Testaa] on how w to get
                          this uppdated. Heere is whatt we have llisted on th
                                                                            he bank acccounts:
   7
                                                                                                                      -                                                             -      x-
   8
           W<lsF-,iStoitV,sic,,P\atfono-'llwfoosrl!mlt&;,b,,
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  11 Customer
  12   ALPHA GROUP UC
       C~Nullbor 3780-4S8l-ll01·216
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  13   Aolat               I        R            I             I        T I Ollli!

            Business Relationships                                                                                                                                Malntaln Relationships
  14       ALPHA GROUPLLC

  15       Name          Relationship                   %of Ownership
           DAVID BARNETT Ownerwith Control of theEnlify      100
  16
  17
                          David Hannig
  18                      Assistant Vice President
                          Busineess Sales Consultant
                                          C
  19                      Wells Fargo Merrchant Serv vices
  20                      (Emph
                              hasis Addeed).
  21                      116. The irregu
                                        ularities Haannig idenntified weree troublingg, particulaarly since,
  22 as Hannig knew,
               k     Apeex had alreeady openned (and iin almost every casee, burned
  23 thrrough) rou
                 ughly 40 sh
                           hell bank accounts w
                                              with Wellls Fargo inn which m
                                                                          millions of
  24 dollars had flowed
                 f      thrrough. Ap
                                   pex’s excuuses and sscramble too alter weebsite and
  25 pro
       oduct information on
                          n the fly only
                                    o    reinfoorced whaat Hannig already knnew to be
  26 tru
       ue: that the “owners” of the shell companiies were ow
                                                           wners in naame only.
  27                      117. But most troubling were the discrepanccies in infformation regarding
  28 thee key issue of the beneficial
                           b          ownership
                                      o         of these anonymouus Wyominng LLCs.
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
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                                             07/08/21
                                                  01/18/22
                                                        PageID.38
                                                           Page 39 Page
                                                                   of 89 38Page
                                                                            of 88ID
                                   #:5505



   1 The two shell companies, Alpha Group and Crest Capital, had Wells Fargo
   2 accounts opened by Apex principal Barnett a year earlier in San Diego. When he
   3 opened the accounts, Barnett claimed to be the sole owner of the companies and
   4 presented anonymous Wyoming LLC documents and the same maildrop address
   5 for these shell companies.
   6        118. By April of 2015, when Hannig flagged the issues, the accounts had
   7 been open for 11 months and had taken in more than a quarter of a million dollars
   8 in consumer payments from merchant processor deposits. But Hannig was now
   9 being told that the account holder, Barnett, did not in fact own the shell companies
  10 – and two people (Oliveros and Buenrostro), who were not listed on those Wells
  11 Fargo bank accounts or identified in any Wells Fargo bank records, did.
  12        119. Such information was an obvious indication that Apex was engaged in
  13 credit card laundering by listing owners on merchant account applications for an
  14 anonymous LLC, thus obscuring the identity of the true owners.
  15        120. Apex’s next response, sent just 23 minutes later, should have been
  16 even more alarming to Hannig and Testa. Rather than “updating” the information,
  17 Apex instead changed course and told Wells Fargo they had decided to use instead
  18 new anonymous Wyoming LLCs, supposedly now “owned” by Camacho, to apply
  19 for the merchant accounts. The new shell companies shared (as did every one of
  20 the Apex shell companies) the same Wyoming mail drop address.
  21        From: Chris Carr [mailto:chris@apexcapitalgrp.com]
            Sent: Tuesday, April 21, 2015 4:03 PM
  22        To: Hannig, David
            Cc: Raul A; Phillip Peikos; Testa, Dominic J
  23        Subject: Re: Information for New MIDs
  24        I see you are correct. Those accounts are, indeed, in David Barnett's
            name. On review, we decided that we would like to run those two
  25        websites through these new corps that we just set up. They are
            owned by our CFO Raul Camacho[. . . ]
  26
  27        Raul will come in tomorrow and open bank accounts at your branch.
            EIN numbers are forthcoming. Websites have been updated. Sorry
  28        for all the changes. Will you be in tomorrow to help us set up the
                                              37                   Case No. ___________
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                                    FTCSER-57
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
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                                             07/08/21
                                                  01/18/22
                                                        PageID.39
                                                           Page 40 Page
                                                                   of 89 39Page
                                                                            of 88ID
                                   #:5506



   1        accounts?
   2        Thanks! - Chris
   3        (Emphasis Added.)
   4        121. The response of Hannig, who was specifically seeking to provide
   5 merchant banking for Apex, was problematic. He simply suggested Apex
   6 coordinate with the bank to get the ownership “updated”. Notably, Hannig did not
   7 copy the actual account holder, Barnett, on any of this correspondence.
   8       122. Hannig’s cursory review had immediately identified fundamentally
   9 inconsistent information about the LLCs’ ownership, the ownership of the bank
  10 accounts, and discrepancies between the websites and the products which Apex
  11 was hoping to sell on them. He had pointed out that the irregularities and
  12 discrepancies would cause the merchant applications he wanted to present on
  13 Apex’s behalf to be rejected. As a merchant banker, Hannig knew that the
  14 discrepancies in the owners, coupled with the use of anonymous Wyoming LLCs
  15 and the pattern of burning through the LLCs’ bank accounts, were indicative of
  16 fraud.
  17        123. Instead of doing what he should have done under standard banking
  18 procedures – e.g., refuse to submit the shell account’s merchant processing
  19 applications; ask questions and demand answers about the troubling and
  20 inconsistent information being revealed; and communicate his concerns and report
  21 suspicious activity through Wells Fargo’s established channels — Hannig simply
  22 directed Apex on how to change its paperwork, so the applications would not be
  23 flagged, allowing him to potentially pad his sales numbers and the bank itself to
  24 expand its banking relationship with the fraudulent Apex Enterprise.
  25      124. During the years when the Apex fraud was in full bloom, on
  26 information and belief, such aggressive sales tactics were rewarded within Wells
  27 Fargo’s misaligned compensation system. Hannig himself was recognized as a
  28 Wells Fargo “Sales Star” (winning that award in 2013, 2014, 2015, 2016, and
                                             38                  Case No. ___________
                                                             RECEIVER’S COMPLAINT
                                   FTCSER-58
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.40
                                                           Page 41 Page
                                                                   of 89 40Page
                                                                            of 88ID
                                   #:5507



   1 2017), and he was also named the #1 Wells Fargo Sales Representative out of 500
   2 employees in 2013 and 2016.
   3        125. Hannig was not the only Wells Fargo banker to advance Apex’s
   4 ongoing fraud, however. In light of Wells Fargo’s pernicious sales culture and
   5 misaligned compensation system, this type of employee misconduct repeated itself
   6 again and again, across Wells Fargo bankers and branches. Indeed, as recently as
   7 January 23, 2020, the OCC recognized: “[t]he Bank tolerated pervasive sales
   8 practices misconduct as an acceptable side effect of the Community Bank’s
   9 profitable sales model, and declined to implement effective controls to catch
  10 systemic misconduct. Instead, to avoid upsetting a financially profitable business
  11 model, senior executives…turned a blind eye to illegal and improper conduct
  12 across the entire Community Bank.” (Emphasis added.)
  13        126. Apex’s last-minute pivot to the two new corporations they had “just
  14 set up” for merchant processing and which were now supposedly “owned” by
  15 Apex employee Camacho, necessitated getting new Wells Fargo bank accounts
  16 opened before the merchant account application could be completed. Testa was
  17 more than happy to oblige. When Camacho sent Testa documents for one of the
  18 new LLCs (with a Wyoming operating agreement signed that same day, April 21,
  19 2015), Testa replied that the documents were “perfect” and the accounts were
  20 promptly opened.
  21        127. Once the new bank accounts were opened, Apex submitted the
  22 merchant processing application to Hannig listing Camacho as the “owner” and
  23 listing the Wyoming mail drop as the address. But on April 30, 2015, Hannig
  24 informed Apex that higher-ups at Wells Fargo had rejected the application, as he
  25 had received a “decline email due to an unqualified business model for Wells
  26 Fargo. We tried, thank you for considering us.”
  27        128. In response to questions from Apex, Hannig said the application was
  28 rejected because the companies were selling supplements. In other words, despite
                                             39                  Case No. ___________
                                                             RECEIVER’S COMPLAINT
                                   FTCSER-59
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.41
                                                           Page 42 Page
                                                                   of 89 41Page
                                                                            of 88ID
                                   #:5508



   1 Hannig’s questionable efforts to obtain Wells Fargo’s merchant processing
   2 services for Apex, Wells Fargo’s merchant banking division had (correctly)
   3 categorized the shell companies as high-risk businesses with which they did not
   4 want a relationship. The Bank’s merchant division was unwilling to take on the
   5 risk of processing for these companies, recognizing that they were in an industry
   6 rife with consumer deception, and there was the potential for high chargebacks and
   7 losses for Wells Fargo caused by fraudulent activity.
   8         129. Of course, Wells Fargo was still perfectly willing to continue
   9 servicing the fraudulent LLCs at the branch level and opening bank accounts for
  10 additional shell companies, while letting other merchant processors (who had less
  11 insight into Apex’s illegitimacy, and no insight into its obfuscated performance
  12 history and ownership legerdemain, and who would be reassured by the fact that
  13 Wells Fargo had approved them for bank accounts) take on that risk – and while
  14 allowing Apex to deceive more unsuspecting consumers (including even Wells
  15 Fargo’s own credit card holders) with the lure of “free trial” products.
  16         130. Knowing what it did, Wells Fargo was legally required to take a
  17 number of steps, including conducting a further investigation into the Apex
  18 Enterprise, evaluating patterns of misconduct and suspicious activity across the
  19 entire Apex relationship, terminating the Bank’s relationship with Apex, its
  20 principals, and its associated shell companies, and/or following the Wells Fargo
  21 established procedures for reporting the suspicious activity both internally and
  22 externally.
  23         131. Wells Fargo did none of these things. Instead, it kept doing business
  24 and looking for growth opportunities with Apex. Through Testa, Wells Fargo
  25 continued to open numerous shell company accounts for Apex. Similarly, Hannig
  26 periodically attempted to get merchant processing for Apex shell companies but
  27 was ultimately always unsuccessful.
  28         132. In December of 2015, Camacho accidentally sent a spreadsheet of
                                               40                   Case No. ___________
                                                                RECEIVER’S COMPLAINT
                                    FTCSER-60
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.42
                                                           Page 43 Page
                                                                   of 89 42Page
                                                                            of 88ID
                                   #:5509



   1 active and pending “MID’s” (merchant processing accounts) to Hannig. The
   2 spreadsheet listed more than 25 LLCs with bank accounts at Wells Fargo, along
   3 with their corresponding accounts at various merchant processors. As was the case
   4 when Hannig had identified and flagged the central issue months earlier, the
   5 purported owners of the LLCs were not the Wells Fargo account holders. The
   6 spreadsheet made it absolutely clear that, at a minimum, Apex was engaged in
   7 large-scale credit card laundering and was using shell companies and straw owners
   8 to secure merchant processing services—something any banker in Hannig’s
   9 position would have immediately recognized, particularly because of the incident
  10 some months earlier.
  11        133. Within minutes, Camacho recognized that he did not want that
  12 spreadsheet in the Bank’s files. He wrote to Hannig, asking him to “[p]lease delete
  13 ASAP” and adding that he “would greatly appreciate if you can keep the
  14 information confidential.” Camacho concluded the email by asking Hannig to
  15 confirm with him once the email had been deleted.
  16        134. Hannig promptly replied “Deleted.”         On information and belief,
  17 Hannig’s prompt deletion of this e-mail and attachment from Wells Fargo records
  18 violated both Bank policy and the law. As an executive at Wells Fargo, Hannig
  19 had a duty under a number of federal laws to investigate and report Apex’s
  20 suspicious activities. Those obligations did not disappear just because a customer
  21 asked that Hannig delete an email.
  22        135. The spreadsheet was not sent to Hannig in a vacuum. Both he and
  23 Testa knew exactly who this very high-risk customer was. They were all too aware
  24 of Apex’s history of hiding the true owners of the anonymous shell companies they
  25 created – and they had even helped Apex to mask these beneficial ownership issues
  26 and sanitize its merchant processing application at Wells Fargo. Hannig and Testa
  27 also knew that Wells Fargo had analyzed Apex’s high-risk business earlier that
  28 year and had declined to provide merchant processing services to it. In light of the
                                              41                   Case No. ___________
                                                               RECEIVER’S COMPLAINT
                                    FTCSER-61
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
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                                             07/08/21
                                                  01/18/22
                                                        PageID.43
                                                           Page 44 Page
                                                                   of 89 43Page
                                                                            of 88ID
                                   #:5510



   1 above, on information and belief, the deletion of Camacho’s email and failure to
   2 take steps to report the suspicious actions were deliberate efforts to aid and abet
   3 Apex’s fraud.
   4        136. Notwithstanding its knowledge of obvious fraud, Wells Fargo and the
   5 Westlake Village Branch continued to open bank accounts for Apex shell
   6 companies throughout 2015, 2016, 2017, and 2018; the new accounts only stopped
   7 when the FTC filed its lawsuit against Apex. In 2015, Camacho opened 14 more
   8 Wells Fargo accounts for 13 anonymous shell companies. In 2016, Camacho
   9 opened six accounts for six shell companies; in 2017, 19 accounts for 19 shell
  10 companies; and in 2018 12 accounts for 12 shell companies. In total, Wells Fargo
  11 opened at least 92 bank accounts for more than 70 shell companies over the course
  12 of just four years.
  13        137. When opening and servicing the accounts, Wells Fargo bankers
  14 continued to provide atypical banking services, asking no questions and
  15 deliberately ignoring Apex’s obvious efforts to launder money it obtained
  16 operating its high-risk, fraudulent business through anonymous shell companies
  17 fronted by straw owners.
  18        138.    The pattern was clear – and only became clearer with time: Apex,
  19 primarily through Camacho, would periodically request that Wells Fargo close
  20 existing shell companies’ bank accounts after those shell companies had been
  21 blacklisted and lost their merchant processing because of the massive levels of
  22 chargebacks.    At the same time, Camacho would request Wells Fargo open new
  23 shell company bank accounts—often six new bank accounts at a time—of which
  24 Camacho would be the “owner”. In this way, Wells Fargo’s conduct enabled Apex
  25 to cycle through the burned shell companies and their associated bank accounts
  26 before creating new, “unrelated” and anonymous LLCs to use to defraud
  27 consumers.
  28        139. As was the case with the San Diego Branch, the Westlake Village
                                              42                  Case No. ___________
                                                              RECEIVER’S COMPLAINT
                                   FTCSER-62
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
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                                             07/08/21
                                                  01/18/22
                                                        PageID.44
                                                           Page 45 Page
                                                                   of 89 44Page
                                                                            of 88ID
                                   #:5511



   1 Branch, via Testa, was more than willing to supply no-name reference letters for
   2 the shell companies. Testa provided large tranches of reference letters, routinely
   3 issuing 6 letters, and on one occasion 12 letters, at a time. He was also willing to
   4 vary the format and information contained in the reference letters based on
   5 requests made Camacho.
   6        140. Across multiple branches and multiple bankers, between 2014 and
   7 2018, Wells Fargo assisted the Apex Enterprise by opening account, after account,
   8 after account, for a host of shell companies.        These shell companies were
   9 “anonymous” LLCs based out of Wyoming, though true their owners were not
  10 anonymous to Wells Fargo—Wells Fargo was well aware that all of these
  11 companies and accounts were part of the Apex Enterprise, owned and controlled
  12 by Barnett and Peikos. That was clear not only based on the fact that core Apex
  13 personnel were always the ones opening the accounts, and also from the email that
  14 Camacho mistakenly sent to Hannig, which spelled out exactly what Apex was
  15 doing. Yet Wells Fargo was more than happy to keep, and even pursue, Apex’s
  16 business by facilitating Apex’s ongoing fraud.
  17        B.     Wells Fargo’s Support of the Triangle Enterprise
  18               (i) Overview
  19        141. At the same time that Wells Fargo was providing banking services to
  20 the Apex Enterprise, it was also providing those same services to the Triangle
  21 Enterprise, which was also running “free trial” scams out of Southern California
  22 and which was operating using a business model strikingly similar to Apex’s.
  23        142. In the case of Triangle, as with Apex, multiple Wells Fargo bankers
  24 across multiple branches developed long-term and ongoing business relationships
  25 with Triangle’s owner and controller, Brian Phillips; as with Apex, these Wells
  26 Fargo bankers eagerly opened bank accounts for a host of companies that they
  27 knew were shells being used by Phillips. And as with Apex, Wells Fargo’s clear-
  28 eyed support of the Triangle Enterprise resulted in millions of dollars in consumer
                                              43                   Case No. ___________
                                                               RECEIVER’S COMPLAINT
                                    FTCSER-63
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.45
                                                           Page 46 Page
                                                                   of 89 45Page
                                                                            of 88ID
                                   #:5512



   1 harm—damages which spilled over to the Receivership Entities.
   2         143. Wells Fargo began providing services to Phillips and Triangle in at
   3 least 2009. In addition to opening and closing accounts and executing reference
   4 letters for Phillips and his shell companies, Wells Fargo also provided a host of
   5 other services, including payroll services and tax return preparation.        In each
   6 instance, Wells Fargo took instructions from Phillips and provided information
   7 directly to him, understanding that he was the owner and controller of all Triangle-
   8 related accounts even though numerous others were listed as the “owners” of the
   9 accounts.    Wells Fargo provided these services to Phillips and Triangle even
  10 though it knew that those services were a prerequisite for money laundering and
  11 fraudulent business activity.
  12         144. Like Apex, the Triangle fraud relied on the use of shell companies
  13 with straw owners, which Triangle generally referred to as “nominees”, to keep
  14 their fraudulent businesses running.       Phillips recruited nominees to be the
  15 “owners” of the shell companies by offering them a monthly fee, such as $500 per
  16 month, for allowing Phillips to use their names and identities to establish shell
  17 companies and accompanying bank accounts at Wells Fargo.                Phillips’ only
  18 requirement to qualify was that the nominees not be blacklisted on the MATCH list
  19 as a previously terminated merchant.
  20         145. Phillips then served as the conduit between Wells Fargo and each
  21 nominee in order to secure the Wells Fargo bank accounts needed to carry out the
  22 Triangle fraud. Each time, Wells Fargo rubber-stamped the applications. From
  23 there, Phillips used the corporate documents and Wells Fargo account information
  24 (along with the essential Wells Fargo reference letters) to obtain merchant
  25 processing services in the nominee’s name, which allowed the Triangle Enterprise
  26 to perpetrate its “free trial” scam at consumers’ expense.
  27         146. None of this would have been possible without Wells Fargo. Each
  28 time Phillips opened a new shell account, he instructed Wells Fargo that the
                                               44                     Case No. ___________
                                                                  RECEIVER’S COMPLAINT
                                     FTCSER-64
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
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                                             07/08/21
                                                  01/18/22
                                                        PageID.46
                                                           Page 47 Page
                                                                   of 89 46Page
                                                                            of 88ID
                                   #:5513



   1 nominee was the “100 % owner” on paper, but Phillips was always to be given
   2 immediate access and full control as a “co-signer” of the Wells Fargo bank account
   3 belonging to the supposed “100% owner.” Each shell company’s account opening
   4 paperwork falsely represented Phillips as a rank-and-file employee of the shell
   5 company—its supposed “Data Specialist” —a transparent effort understood by
   6 Wells Fargo to mask Phillips’ true ownership of all of the shell companies. Wells
   7 Fargo always accommodated “employee” Phillips’ requests, which was not in line
   8 with banking practices. As a result, Wells Fargo knew that Phillips retained the
   9 unfettered ability to transfer money from a nominee’s shell account directly into
  10 the primary Triangle Enterprise account at Wells Fargo, which Wells Fargo knew
  11 was owned by Phillips.
  12         147. The troubling pattern repeated itself, again and again, with Phillips
  13 driving all communications with Wells Fargo for the nominees.       Notwithstanding
  14 known abuse of beneficial ownership for these types of high-risk businesses, and
  15 mounting evidence that Phillips was actively engaged in such abuse, Wells Fargo
  16 bankers happily opened this stream of new accounts in the names of nominees (in
  17 keeping with its sales culture prizing growth above all else). All the while Wells
  18 Fargo bankers conducted the most minimal level of due diligence, if any, on the
  19 nominee “owners”, largely relying on Phillips’ vouching for the new nominee
  20 “owner.”      Phillips himself routinely filled out the forms and gathered and
  21 submitted the signatures of the “owners” to Wells Fargo. If a Wells Fargo banker
  22 requested a cursory phone call with the “owner” before opening an account,
  23 Phillips arranged it. In the latter years of the fraud, Phillips even walked nominees
  24 into the local branches, and Wells Fargo promptly accepted the paperwork from
  25 the new “owners” before turning around to give “employee” Phillips full control as
  26 the co-signer. This arrangement benefitted Wells Fargo as well as Triangle and
  27 Phillips, because it gave Wells Fargo an easy way to open new accounts in
  28 perpetuity.
                                               45                  Case No. ___________
                                                               RECEIVER’S COMPLAINT
                                    FTCSER-65
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
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                                                        PageID.47
                                                           Page 48 Page
                                                                   of 89 47Page
                                                                            of 88ID
                                   #:5514



   1        148. After dealing with the “owners” on only the most perfunctory level at
   2 account opening, if at all, Wells Fargo then dealt thereafter with Phillips,
   3 understanding him as their customer and the actual owner of all of the accounts.
   4 At Phillips’ direction, Wells Fargo regularly swept funds in the shell company
   5 accounts into Triangle’s primary bank account at Wells Fargo. Once transferred to
   6 Triangle’s main account, the funds would almost immediately be sent to a
   7 Canadian company owned by Triangle, Global Northern, at a Canadian bank. In
   8 turn, Global Northern would forward the funds to Hardwire accounts in Hong
   9 Kong or Thailand. Hardwire would then wire money back to Triangle in the U.S.
  10 to cover expenses to complete the laundering of the funds.
  11        149. From the very start, Phillips and Triangle’s offshore-based principal,
  12 Devin Keer relied upon Wells Fargo as the best (and perhaps only) banking option
  13 for opening scores of essential bank accounts for the shell companies. In 2009,
  14 near the start of Triangle’s implementation of its “free trial” scam, Keer, then in
  15 Canada, emailed a merchant processor to ask:
  16        Do you guys work with/know any corp services type guys who
            incorporate US corps quickly? Brian [Phillips] has a corp in NV that
  17        he just set up but there’s no bank accounts and stuff set up yet. Would
            like your advice on the whole US corp issue before we drive down to
  18        Seattle to open bank accounts - if we can set up another corp for the
            purpose of this…deal that might be a better play for us.
  19
  20 The processor promised to look into it, but before he could, Keer wrote back: “I
  21 think we can get Wells to take care of it.” (Emphasis added.) As it turned out,
  22 Keer was right.
  23        150. Phillips, Keer, and Triangle relied on Wells Fargo to deliberately
  24 overlook obvious beneficial ownership issues, which Wells Fargo was happy to do.
  25 Phillips was so confident in Wells Fargo’s pliancy that when one nominee raised a
  26 concern about what would happen if Wells Fargo contacted his mother (whom he
  27 had enlisted to serve as another nominee for Phillips in 2011), Phillips responded
  28 by dismissing his concerns wholesale, responding, “Dude, you still don’t
                                              46                   Case No. ___________
                                                               RECEIVER’S COMPLAINT
                                   FTCSER-66
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
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                                             07/08/21
                                                  01/18/22
                                                        PageID.48
                                                           Page 49 Page
                                                                   of 89 48Page
                                                                            of 88ID
                                   #:5515



   1 understand how wells is totally different.       The bank won’t be calling her.”
   2 (Emphasis added). Wells didn’t call.
   3        151. Instead of conducting an investigation, increasing its monitoring of
   4 the Triangle accounts, reporting suspicious or unusual activity internally or
   5 externally, or simply refusing to provide banking services to the Triangle fraud,
   6 time and again Wells Fargo acceded to Phillips’s requests for the Bank to open
   7 new shell company accounts with nominee owners, effectively legitimizing the
   8 shells in the eyes of the merchant processors.
   9               (ii) The Keller, Texas Branch
  10        152. The relationship between Wells Fargo, Phillips, and Triangle began in
  11 Texas on September 2, 2009, when Wells Fargo’s Keller, Texas branch, principally
  12 through banker Lea Walker (“Walker”), but with assistance of others in the branch,
  13 including the branch manager, began opening shell company accounts for Phillips
  14 and providing him with reference letters.
  15        153. In roughly one year, Walker opened at least eight shell company
  16 accounts for Phillips and provided him with four reference letters for these
  17 accounts.
  18        154. In 2011, Walker opened four more accounts for shell companies at
  19 Phillips’ request, providing him with three reference letters. That year, another
  20 banker at the Keller, Texas branch, opened two more shell company accounts for
  21 Phillips and signed another reference letter. Walker continued to open additional
  22 shell accounts for Phillips into 2012. In total, this Wells Fargo branch opened
  23 more than 20 banks account at Phillips’ request, with roughly half of those being
  24 for shell accounts nominally owned by others.
  25        155. Wells Fargo’s understanding of Phillips’ ownership interest in the
  26 accounts is abundantly clear in May 2012 emails that Phillips and Walker
  27 exchanged, in which Phillips asked Walker to remove certain approval
  28 requirements so that he could generate and send wires for accounts that he did not
                                              47                  Case No. ___________
                                                              RECEIVER’S COMPLAINT
                                    FTCSER-67
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
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                                             07/08/21
                                                  01/18/22
                                                        PageID.49
                                                           Page 50 Page
                                                                   of 89 49Page
                                                                            of 88ID
                                   #:5516



   1 own on paper. Walker immediately fulfilled Phillips’ request, which would have
   2 been unthinkable if she were not aware that he was the true owner of the accounts
   3 and that the purported “owner” was just a nominee.
   4               (iii)   The Southern California Branches
   5        156.   In or about 2013, Phillips began moving his banking relationship with
   6 Wells Fargo to Southern California. Across multiple Wells Fargo Community
   7 Bank branches in Southern California (and in partnership with multiple Wells
   8 Fargo bankers), Phillips came to open dozens more Wells Fargo accounts as the
   9 Triangle scheme expanded. In total, over the course of the Triangle scheme, Wells
  10 Fargo opened more than 85 Triangle-related accounts in California and Texas at
  11 Phillips’ request. While Wells Fargo knew that all of the accounts were under
  12 Phillips’ exclusive control, over 60% (approximately 55) of those accounts were
  13 bank accounts for the shell companies that were “owned” in the names of the
  14 nominees. Wells Fargo also opened more than 30 corporate bank accounts that
  15 Phillips directly owned. These included, most notably, numerous Wells Fargo
  16 bank accounts for the Triangle Media Corporation, into which Phillips regularly
  17 requested that Wells Fargo transfer funds from the shell company accounts
  18 “owned” by others, which Wells Fargo always did.
  19        157. Between 2013 and Triangle’s demise in 2018, Phillips’ business with
  20 Wells Fargo in California expanded rapidly. Over a nine-month period in 2015
  21 alone, Wells Fargo opened a total of 12 shell company accounts “owned” by
  22 nominees for Phillips. Phillips established a close and continued relationship with
  23 Wells Fargo across multiple branches in Southern California. In total, over a
  24 dozen Wells Fargo Community Bank branches in Southern California provided an
  25 array of banking services for Phillips, Triangle, and his many related shell
  26 companies. Between fall 2013 and the end of Triangle in 2018, Wells Fargo
  27 opened more than 60 accounts at Phillips’ request. More than 40 of those bank
  28 accounts, however, were for shell companies supposedly not “owned” by Phillips.
                                               48                 Case No. ___________
                                                              RECEIVER’S COMPLAINT
                                     FTCSER-68
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
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                                             07/08/21
                                                  01/18/22
                                                        PageID.50
                                                           Page 51 Page
                                                                   of 89 50Page
                                                                            of 88ID
                                   #:5517



   1 Phillips was a repeat player at many branches, including San Diego (1st and
   2 Market – 5 accounts and 3 reference letters), El Cajon (6 shell accounts and 9
   3 reference letter), Palomar Vista (8 accounts and 2 reference letters), and San
   4 Marcos (6 accounts and 1 reference letter). Additionally, Phillips often made
   5 requests to open accounts to his Relationship Managers (Albana and Cording)
   6 working out of the Escondido branch, who expedited that process. Albana and
   7 Cording played the essential role of providing Phillips with ready access to
   8 reference letters (they wrote more than 30 such letters between 2015 and 2018).
   9        158. The scope of the branches involved emphasizes that this was not one
  10 bad banker or one bad branch—rather, the bad conduct was reliably endemic at
  11 Wells Fargo. While the Escondido Branch was probably the worst offender (as
  12 discussed below), the misconduct at issue occurred across the Southern California
  13 branches noted above, all of which were operating under Wells Fargo’s toxic sales
  14 culture. For example, in 2015 a banker from the San Diego Branch came to
  15 Phillips’s aid when he asked her to set up a bank account for a shell company
  16 “with me and another signer on it.” The banker responded that she needed the
  17 nominee owner’s information to open the account, but that she would “switch the
  18 relationship once I have it.” Phillips sent the banker the information she requested
  19 (the nominee’s driver license, phone number, and social security number, among
  20 other things), and the banker proceeded to open the account, apparently untroubled
  21 by the fact that Phillips—not the nominee—was the one providing the information
  22 to open an account for a company that purported to be owned by the nominee.
  23       159. The Wells Fargo bankers knew that all of these accounts were related,
  24 but on information and belief, that relationship was never risk-rated, monitored, or
  25 otherwise managed as would be befitting a relationship encompassing the volumes,
  26 number of accounts and global scope of what was an enterprise—not a series of
  27 individually-owned accounts.
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                                              49                   Case No. ___________
                                                               RECEIVER’S COMPLAINT
                                    FTCSER-69
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
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                                                  01/18/22
                                                        PageID.51
                                                           Page 52 Page
                                                                   of 89 51Page
                                                                            of 88ID
                                   #:5518



   1                     (iv)   The Escondido Branch
   2         160. Wells Fargo bankers at the Escondido Branch were especially
   3 accommodating to Phillips, particularly Haiman Albana (“Albana”), who was a
   4 Vice President and Business Relationship Manager at the branch, and Brian
   5 Cording (“Cording”), who was a Vice President and Senior Business Relationship
   6 Manager. Compliance “rules” were easily bent or discarded for Phillips, in line
   7 with the OCC’s conclusion that “[t]o the extent [Wells Fargo] did implement
   8 controls, the Bank intentionally designed and maintained controls to catch only the
   9 most egregious instances of the illegal conduct that was pervasive throughout the
  10 Community Bank.” Albana, for example, initially told Phillips on October 30,
  11 2013, that a shell company account (which Phillips had requested on October 24)
  12 hadn’t yet been set up because Albana was “waiting to hear back from my
  13 compliance department” about it—but when Phillips complained that “when [he]
  14 was working with the branch on this stuff they could turn it around in 1 day” and
  15 asked whether he should “reach out to my branch contact,” Albana sent him the
  16 forms for the next step less than one hour later.
  17         161. On August 25, 2014, Phillips sent an email to Albana about one shell
  18 company’s accounts, asking Albana “to make sure that my name is not showing up
  19 on the [Vital Global Marketing] account (7355) at all. These are [the nominee]’s
  20 accounts of which I have access too. Can you please work to have my name
  21 replaced with her name? Let me know how quickly we can get this taken care
  22 of?” (Emphasis added.) About a week later, Phillips forwarded forms purportedly
  23 completed by the nominee to add her and remove him from the shell account, at
  24 which point a Wells Fargo effected the change.
  25         162. Cording was fully aware that Phillips was the one in control of the
  26 shell accounts that Triangle had at Wells Fargo. On August 19, 2015, for example,
  27 Phillips complained to Cording that he couldn’t see accounts for shell companies
  28 H1 Marketing, Brand Junction, and Total Market Products “at the moment in a
                                               50                 Case No. ___________
                                                              RECEIVER’S COMPLAINT
                                    FTCSER-70
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
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                                                  01/18/22
                                                        PageID.52
                                                           Page 53 Page
                                                                   of 89 52Page
                                                                            of 88ID
                                   #:5519



   1 single portal view on my wells fargo login.” Phillips explained that he “need[ed]
   2 to have key executive access” to the shell company accounts because “they
   3 need[ed] to have my status changed in the company.” Cording immediately made
   4 changes to the profiles in Wells Fargo’s system in order to allow Phillips “to see
   5 the accounts with the ability to transfer into the 3 of them.”
   6         163. Meanwhile, Phillips was making changes to the ownership of the
   7 Vital Global Marketing account—the account which, roughly a year earlier, he’d
   8 had Wells Fargo scrub his name from. Phillips sent over the paperwork to have the
   9 old nominee “owner” removed from the account on August 28, 2015. Less than a
  10 week later, he asked to have a different nominee added to another Vital Global
  11 Marketing account (x1053); a Wells Fargo banker business associate gave the new
  12 nominee control over the account, but when Phillips asked for documentation of a
  13 change in ownership, the Wells Fargo employee explained she would need an
  14 amended operating agreement. A few days after that, Cording chimed in to explain
  15 that the change in ownership would require a new account. The Wells Fargo
  16 employee sent over the required paperwork, explaining that Phillips “would want
  17 to list [the new nominee] as 100% owner to match your documents.” Recognizing
  18 Phillips’s true role in the operation, the banker added, “You will also need to list
  19 anyone (like yourself) who might have control of the company,” and warned
  20 Phillips that as the technical owner of the shell company, the new nominee would
  21 have control over the other Vital Global Marketing account (x7355)—a warning
  22 she would not have needed to give if she’d believed the nominee was, in fact, the
  23 owner.
  24         164. Cording also continued to accommodate Phillips’ requests for
  25 visibility into accounts purportedly owned by others. On May 5, 2016, Phillips
  26 asked Cording to add another shell account, Sunset Order Marketing, to his
  27 “consolidated Business banking view in the portal.” Cording asked another banker
  28 to make the change without hesitation. That banker, however, pointed out that the
                                                51                   Case No. ___________
                                                                 RECEIVER’S COMPLAINT
                                     FTCSER-71
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.53
                                                           Page 54 Page
                                                                   of 89 53Page
                                                                            of 88ID
                                   #:5520



   1 nominee for the account was the “100% owner, so in order to grant [Phillips]
   2 combine[d] view through online banking” she would need approval from the
   3 nominee. Phillips then asked, “why do these accounts keep getting setup this way
   4 where I have no right to visibility. Can we please get this and all accounts going
   5 forward switched to be in my consolidated view.”
   6         165. The Wells Fargo banker was quick to offer a couple work arounds:
   7         If you aren’t owner they can’t automatically grant you combined view
             because you can transfer between other entities and personal accounts
   8         that way. The work around is to have the owner grant you this
             authority but our online department requires it in writing incase
   9         there is some sort of internal fraud or something with the
             business, WF won’t be liable.
  10
             Unfortunately we cannot automatically do this every time. We have
  11         the work around but it requires an extra step. In order to avoid this
             entirely we do offer the CEO portal for our large business clients.
  12         (Emphasis added.)
  13
             166. Phillips made it absolutely clear that he wanted full access to multiple
  14
       accounts for companies in which he had, on paper, no ownership interest. Though
  15
       this is an obvious indication of potential fraud, no one at Wells Fargo appeared
  16
       troubled by the request. In fact, when Phillips expressed exasperation with the
  17
       process, one Wells Fargo banker even sympathized, apologizing for the Bank’s
  18
       (flimsy) procedural hurdle: “I’m sure somewhere along the lines an employee
  19
       transferred out money from a business to his/her personal accounts and WF took a
  20
       significant loss. So they now require an acknowledgement from the owner stating
  21
       they are ok with the combine view.”
  22
             167. Wells Fargo clearly understood that Phillips was in charge and that
  23
       the nominee owner of the company was more or less irrelevant, but the Bank
  24
       continued to do business with Phillips and Triangle.       Wells Fargo did so in
  25
       violation of KYC rules and regulations, which required the Bank to have a
  26
       relationship with each of its customers. That posed a problem since Wells Fargo’s
  27
       only relationship with the shell companies was through Phillips.
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                                               52                   Case No. ___________
                                                                RECEIVER’S COMPLAINT
                                     FTCSER-72
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.54
                                                           Page 55 Page
                                                                   of 89 54Page
                                                                            of 88ID
                                   #:5521



   1        168. The rules changed in May 2016, but by December 2017—nearly a
   2 year and a half later—Wells Fargo had not yet implemented them. On information
   3 and belief, the new rule, in fact, simply reflected what had been accepted as
   4 standard practices at many other banks for a number of years (but of course not
   5 Wells Fargo), going back as far as the establishment of new rules after the
   6 September 11, 2001 terrorist attacks. That month, Cording emailed Phillips to
   7 explain the Bank’s obligations under the “new” rule:
   8        In May 2016, the U.S. Treasury Department’s Financial Crimes
            Enforcement Network (FinCEN) issued a rule strengthening the due
   9        diligence that certain financial institutions must perform with respect
            to their customers. The new rule requires that financial institutions
  10        thoroughly understand the nature of the business of each of their
            clients.Wells Fargo and other banks are required to comply with these
  11        new and existing regulations related to the prevention of financial
            crimes. As a result, we are enhancing our internal compliance and
  12        risk related policies. Because of the size and scope of our
            organization, we are starting to collect customer information now to
  13        ensure that we are able to comply with the federal deadline.
  14        169. Cording sent Phillips pre-filled paperwork for 10 companies, seven of
  15 which were shell companies but all of which listed Phillips as the owner. This was
  16 inconsistent with the owners listed on the Wells Fargo bank records, but Cording
  17 clearly considered Phillips to be the actual owner of all 10 companies in spite of
  18 this. Predictably, Phillips responded and asked to have the “docs changed around”
  19 so he could “coordinate for each of the people to sign.” Cording replied: “Happy
  20 to do it, I think the challenge is we may not be sure of the owners of each entity.”
  21 Not only did Wells Fargo have zero idea who its account owners were (showing
  22 how little the Bank was concerned about Triangle’s proliferation of shell
  23 accounts), but Cording, apparently unperturbed, continued doing business with
  24 Phillips even after he was once more faced with proof that Phillips was the de facto
  25 owner for a host of shell companies.
  26                     (v)   Triangle’s Attempts at Securing ACH Processing
  27        170. Phillips periodically looked into securing ACH processing services
  28 from Wells Fargo, which would give Triangle another avenue to accept customer
                                              53                   Case No. ___________
                                                               RECEIVER’S COMPLAINT
                                    FTCSER-73
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
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                                             07/08/21
                                                  01/18/22
                                                        PageID.55
                                                           Page 56 Page
                                                                   of 89 55Page
                                                                            of 88ID
                                   #:5522



   1 payments.. Wells Fargo’s incentive was obvious: they would be able to collect
   2 processing fees for any transactions that Triangle ran.
   3        171. As early as 2014, Albana was working with Phillips to try and secure
   4 web-based ACH processing for Triangle. Apologizing for the delay in getting
   5 approval for Phillips’ application, Albana explained that “[a]s you know your
   6 industry is high risk and the bank is scrutinizing each detail prior to getting
   7 approval, I am working diligently with credit supervision to get the approval.” In
   8 response to requests from Albana, Phillips provided him with a client list, sample
   9 agreement, key officer bios, and additional information.
  10        172. The 2014 push to get ACH processing for Triangle through Wells
  11 Fargo was dead by August, however.             As Keer wrote to another Triangle
  12 employee, “the entire ACH deal with Wells was scuttled because of some random
  13 text on [the Triangle website].”
  14        173. Emails the following month between Triangle personnel make it clear
  15 exactly what, in one employee’s words, “wells’ compliance team saw” that caused
  16 the Bank to back off: an old website for Triangle Media Corporation, which touted
  17 the company’s ability to “provide expertise for your high-risk business” because its
  18 “seamless solutions offer your business the ability to market concepts normally
  19 rejected by traditional processors and banks.”
  20        174. While Triangle had already removed the problematic language from
  21 its website, it was still popping up as the top google search for “Triangle Media,”
  22 so Phillips and his employees made efforts to bury it by “get[ting] new content to
  23 pile over the [problematic language].”
  24        175.   Wells Fargo’s compliance team’s decision to reject Triangle’s
  25 processing application demonstrates, as with the Bank’s rejection of the Apex
  26 merchant processing applications, that Wells Fargo was unwilling to take on the
  27 risk of processing for these companies. The Bank was careful when its own
  28 potential exposure was on the line. Of course, the Bank remained perfectly willing
                                               54                   Case No. ___________
                                                                RECEIVER’S COMPLAINT
                                    FTCSER-74
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.56
                                                           Page 57 Page
                                                                   of 89 56Page
                                                                            of 88ID
                                   #:5523



   1 to continue servicing the fraudulent shell companies at the branch level, open bank
   2 accounts for additional shell companies, and take other atypical steps to assist the
   3 schemes’ success.
   4         176. Despite the compliance team’s decision to nix ACH processing, the
   5 sales imperative at the Bank was overwhelming. One year later in 2015, Cording,
   6 was doing his best to get ACH approval for Phillips and Triangle once again.
   7 Cording emailed Phillips that after “thinking through my strategy to get ACH
   8 approved on Triangle Media,” he thought it would be useful to have some balance
   9 sheets and income statements, because they would allow him to “utilize the
  10 financial strength of the business [to] mitigate any risks.”
  11         177. Cording still had not managed to obtain approval for Triangle to use
  12 Wells Fargo’s ACH processing in early 2017, but that didn’t mean that he had
  13 stopped trying. On February 16, he wrote Phillips that “[w]e did do some further
  14 due diligence internally and there is potential for us to fulfill the ACH request as
  15 well as we may have a solution for the account needs.” Although it does not
  16 appear that Cording was ultimately able to secure ACH processing for Triangle,
  17 the fact that he was still willing to try (and that Wells Fargo was still apparently
  18 considering it) in light of everything that Cording and Wells Fargo knew about
  19 Phillips and Triangle speaks for itself. The evidence firmly establishes that Wells
  20 Fargo knew exactly what Triangle was doing, and that by assisting Triangle, it was
  21 violating banking regulations and the Bank’s own (on paper) policies and
  22 procedures.
  23                      (vi)   Wells Fargo Authorized Suspicious and Unusual
  24                      Transactions that Made No Economic Sense.
  25         178. As all of the above examples indicate, Wells Fargo knew from very
  26 early on in its relationship with Triangle that Triangle was using nominees as
  27 fronts for shell companies, with Phillips regularly insisting that the nominees (as
  28 opposed to Phillips, who Wells Fargo knew was the true owner) be listed as the
                                                55                      Case No. ___________
                                                                    RECEIVER’S COMPLAINT
                                     FTCSER-75
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.57
                                                           Page 58 Page
                                                                   of 89 57Page
                                                                            of 88ID
                                   #:5524



   1 “100% owners” of the accounts.         Wells Fargo bankers had obligations under
   2 standard banking practices and banking laws and regulations to investigate and
   3 report Phillips’ manipulation of the shell companies’ beneficial ownership. Had
   4 Wells Fargo conducted a real investigation, its findings would have compelled it to
   5 refuse to do any more business with Phillips, shut down Phillips’ accounts, and/or
   6 follow Wells Fargo’s established processes regarding the making of internal and
   7 external reports of suspicious activity. In reality, of course, given all that it knew
   8 by this point, Wells Fargo already understood what the results of any such
   9 investigation would be.
  10         179. Wells Fargo knew that Triangle’s shell companies continually
  11 suffered massive chargebacks. Like with Apex, this was abundantly clear from the
  12 shell companies’ monthly account statements.
  13         180. Wells Fargo had an obligation under banking laws and regulations to
  14 look at the family of Triangle accounts as a whole, rather than looking at individual
  15 account activity in isolation. If one Triangle-related account needed to be closed,
  16 then all other Triangle accounts likely would have to be closed too.             This
  17 obligation required the Bank to reassess its dealings with the Triangle Enterprise
  18 on a regular basis, including whenever it opened a new account at Phillips’ request.
  19         181. Wells Fargo was therefore obligated when conducting its account
  20 opening and at least annual diligence for Triangle-related entities under standard
  21 AML procedures to assess both new – and existing accounts in the context of the
  22 overall relationship with Triangle’s beneficial owners and key parties, namely
  23 Phillips who had more than 30 personal and corporate accounts with Wells Fargo
  24 (in addition to the more than 50 shell accounts).
  25         182. In particular, Wells Fargo should have conducted a critical
  26 examination of transfers between Phillips-owned and Phillips-associated
  27 companies, which there is no indication it did—even though there were multiple
  28 indicia of fraud present. Wells Fargo knew that Phillips was regularly requesting
                                               56                   Case No. ___________
                                                                RECEIVER’S COMPLAINT
                                    FTCSER-76
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.58
                                                           Page 59 Page
                                                                   of 89 58Page
                                                                            of 88ID
                                   #:5525



   1 that the Bank move money into his main Wells Fargo Triangle account, which
   2 Phillips himself exclusively owned. At Phillips’ direction, Wells Fargo regularly
   3 processed suspicious large-figure, round-number transfers out of shell accounts
   4 (which were nominally owned by others) and into his own Triangle account.
   5 Wells Fargo bankers should have pressed Phillips on why significant amounts of
   6 money were being sent from accounts owned by others to Phillips’ Triangle
   7 account, all while the listed owners (nominees) were receiving only nominal
   8 payments from the accounts that they supposedly owned. Wells Fargo was also
   9 knew that funds which hit Wells Fargo’s Triangle account were regularly being
  10 transferred overseas. If Wells Fargo had any concern for protecting the interests of
  11 these “owners,” or complying with anti-fraud or AML regulations, it would not
  12 have permitted Phillips and Triangle to do what they were doing.
  13        183. Wells Fargo had no such concerns. Instead, after Wells Fargo had
  14 enabled Phillips himself, and not the supposed “owners,” to direct these transfers
  15 from the LLC accounts to his Triangle accounts, thereafter Wells Fargo even
  16 transferred the recently-deposited funds from the Triangle account entirely out of
  17 the United States.
  18        184. While Wells Fargo was disregarding problematic and unusual account
  19 activity, Wells Fargo was not at all ignoring Phillips or Triangle’s accounts.
  20 However, instead of vigilantly monitoring these accounts for suspicious behavior
  21 in the context of a high-risk customer in a high-risk industry, making all manner of
  22 suspicious transactions out of accounts he did not “own,” Wells Fargo was
  23 nurturing its relationship with Phillips to try to grow Wells Fargo’s business. In
  24 other words, Wells Fargo was doing what it did best: opening accounts wherever it
  25 could, whether by providing new banks accounts for the shell companies or trying
  26 to provide add-on banking services, such as ACH processing, merchant processing,
  27 or even access to foreign accounts. Cross-selling clients, not compliance or client
  28 oversight, was the priority for Wells Fargo. See, e.g., American Banker, Bankshot:
                                              57                   Case No. ___________
                                                               RECEIVER’S COMPLAINT
                                    FTCSER-77
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.59
                                                           Page 60 Page
                                                                   of 89 59Page
                                                                            of 88ID
                                   #:5526



   1 Wells Fargo Should Have Seen Add-on-product Trouble Coming, Kevin Wack,
   2 July 19, 2018.
   3         185. It is particularly troubling that over many years, Wells Fargo used so-
   4 called “Relationship Managers” (in this case Albana and Cording operating out of
   5 the Escondido branch) to serve as lead salespersons seeking to grow the Triangle
   6 relationship as much as possible. Wells Fargo flouted the common industry role
   7 that positions such as Relationship Managers have as experienced bankers,
   8 providing an extra “first line of defense” layer of protection for a bank against
   9 fraud and money laundering.
  10         186. Wells Fargo designed a corporate structure prioritizing sales that
  11 instead used its designated Relationship Managers in a way that perpetuated fraud
  12 and weakened risk compliance, unlike other banks of its size. Typically, a banker
  13 in such a position will conduct periodic due diligence reviews across families of
  14 accounts, especially for accounts like Triangle, operating in high-risk industries
  15 rife with fraud.    At other institutions following standard banking practices, a
  16 designated account representative such as this would have adhered to procedures
  17 such as requiring visits to an owner’s place of business. Such designated account
  18 representatives would also have been responsible for being familiar with the
  19 specific activity in the account and its purpose, and for providing updated
  20 predictions of expected activity in order to facilitate centrally managed, automated
  21 monitoring for potentially suspicious activity. But, as Brian Phillips had learned
  22 early on, Wells Fargo was “totally different.”
  23         C.    Wells Fargo Aided and Abetted Fraudulent Transfers
  24         187. There is additional evidence of Wells Fargo’s knowledge of the
  25 scammers’ modus operandi. Millions of dollars consumers paid into the various
  26 shell company accounts were diverted to the individual fraudsters to maintain their
  27 lavish personal lifestyle, or to funnel monies out of the Enterprises into real estate
  28 and investments that they would purchase via trusts and corporations.             For
                                               58                   Case No. ___________
                                                                RECEIVER’S COMPLAINT
                                    FTCSER-78
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.60
                                                           Page 61 Page
                                                                   of 89 60Page
                                                                            of 88ID
                                   #:5527



   1 example, in July 2014 emails between Triangle’s Phillips and Tim Morgan, a
   2 Wells Fargo Private Mortgage Banker, Phillips notified Morgan that Phillips would
   3 receive a $2 million wire from Hardwire (a defendant in the FTC case), and then
   4 asked, “will this money need to be ‘seasoned’ before being used for a house
   5 purchase?”
   6         188. As set forth herein, Peikos and/or Barnett, and Phillips controlled the
   7 Apex and Triangle Enterprises (which are now Receivership Entities), and directed
   8 them to make numerous transfers out of proceeds of the fraud to themselves, and
   9 third parties (including Wells Fargo). At the time of each fraudulent transfer, they
  10 intended to delay, defraud, or hinder their creditors (most notably the Receivership
  11 Entities under their control).
  12         189. Through the numerous acts identified herein, Wells Fargo
  13 substantially assisted Phillips, Peikos and Barnett in making these fraudulent
  14 transfers, despite knowing that the transfers were unlawful, they controlled the
  15 Receivership Entities and had no lawful claim to fraudulently-obtained consumer
  16 funds. Wells Fargo knowingly transferred shell company account funds to other
  17 Receivership Entity shell company accounts and then directly to Phillips, Peikos,
  18 and/or Barnett or to other third parties (at the direction of Phillips, Peikos, and/or
  19 Barnett) without the shell companies receiving a reasonably equivalent value in
  20 exchange for the transfers and which depleted the shell companies of all or
  21 substantially all of their assets.
  22         190. The transfers from the Wells Fargo accounts of the Receivership
  23 Entities to Phillips, Peikos, Barnett and Wells Fargo constitute fraudulent transfers
  24 under the California UVTA and UFTA for the following reasons, among others:
  25         191. Phillips, Peikos and Barnett made the transfers to themselves or third
  26 parties with the actual intent to hinder, delay, or defraud consumers;
  27         192. Phillips, Peikos and Barnett engaged in the free-trial schemes
  28 knowing that their assets and the assets of the Receivership Entities they controlled
                                               59                   Case No. ___________
                                                                RECEIVER’S COMPLAINT
                                      FTCSER-79
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.61
                                                           Page 62 Page
                                                                   of 89 61Page
                                                                            of 88ID
                                   #:5528



   1 were unreasonably small considering that all of the assets were obtained by frauds
   2 on consumers and did not belong to them;
   3 Phillips, Peikos and Barnett knew that through their fraudulent schemes, they
   4 incurred debts to the Receivership Entities and consumers beyond their ability to
   5 pay;They retained possession or control of the assets after the transfers.
   6         193. The Receivership Entities did not receive a reasonably equivalent
   7 value in exchange for the transfers from the Wells Fargo accounts because Phillips,
   8 Peikos, and Barnett drained the accounts for their own personal use and benefit,
   9 and the shell companies acted as mere pass-throughs to allow the fraudsters to
  10 avoid detection by creditors of their ownership and control of the funds;
  11         194. The Receivership Entities had no assets other than the fraudulently-
  12 obtained funds before or after the transfers;
  13         195. The transfers to Phillips, Peikos, and Barnett were as corporate
  14 insiders of the Receivership Entities;
  15         196. The transfers among and from the Wells Fargo accounts were
  16 intended to conceal the true ownership and recipients of the funds;
  17         197. When the transfers were made, Phillips, Peikos and Barnett knew they
  18 were likely to be sued for their wrongdoing;
  19         198. Phillips, Peikos, and Barnett removed and concealed receipt of the
  20 consumer funds from the Wells Fargo accounts by transferring them to unrelated,
  21 unidentified and undisclosed personal and offshore accounts;
  22         199. The transfers were of substantially all the Receivership Entities’
  23 assets;
  24         200. The Receivership Entities were insolvent or became insolvent shortly
  25 after the transfers were made or the obligations were incurred; and
  26         201. The transfers occurred shortly before or shortly after the substantial
  27 debts to consumers were incurred.
  28         202. Despite knowing that Phillips, Peikos and Barnett had no lawful claim
                                               60                   Case No. ___________
                                                                RECEIVER’S COMPLAINT
                                    FTCSER-80
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.62
                                                           Page 63 Page
                                                                   of 89 62Page
                                                                            of 88ID
                                   #:5529



   1 to the consumer funds and Phillips, Peikos, and Barnet lacked the assets to pay
   2 such amounts back to the Receivership Entities, Wells Fargo transferred such
   3 consumer funds, and depleted the Receivership Entities’ assets, which allowed
   4 Phillips, Peikos, and/or Barnett to receive such funds directly.
   5         203. Based on the allegations above, these transfers of Receivership Entity
   6 funds to Wells Fargo and Phillips, Peikos, and Barnett constitute fraudulent
   7 transfers which must be returned to the Receivership Entities. Accordingly, the
   8 Receiver seeks to recover as fraudulent transfers all Receivership Entity/consumer
   9 funds received by Wells Fargo as well as those funds transferred to Phillips,
  10 Peikos, and Barnett.
  11         204. Wells Fargo knowingly aided and abetted the fraudulent transfers
  12 from the Receivership Entities under the control of Phillips, Peikos, and/or Barnett.
  13 This substantial assistance included the fraudulent transfer of consumer funds from
  14 the Wells Fargo accounts to Phillips, Peikos, and Barnett.
  15         205. In addition, Wells Fargo accepted payments of consumer funds from
  16 Receivership Entities in connection with setting up and maintaining the fraudulent
  17 accounts. By collecting fees, charges, fines, reserve amounts, and other payments
  18 generated by the shell companies’ and other Receivership Entities’ payment
  19 processing, Wells Fargo was asserting that the Receivership Entities had a valid
  20 obligation to make these payments to Wells Fargo.
  21         206.   Wells Fargo, as a knowing aider and abettor of the fraudulent
  22 schemes, was not entitled to receive, and could not take in good faith, these
  23 payments from the Receivership Entities’ funds derived from payments by
  24 defrauded consumers in connection with setting up and maintaining the fraudulent
  25 accounts for the Receivership Entities and thus constitute fraudulent transfers
  26 which must be returned to the Receivership Entities.
  27
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                                               61                   Case No. ___________
                                                                RECEIVER’S COMPLAINT
                                    FTCSER-81
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.63
                                                           Page 64 Page
                                                                   of 89 63Page
                                                                            of 88ID
                                   #:5530



   1 VIII. KNOWING VIOLATIONS OF BANKING LAWS AND
   2         PROCEDURES
   3         207. Wells Fargo repeatedly and knowingly violated banking rules and
   4 regulations in its assistance and facilitation of the Apex and Triangle Enterprises,
   5 which is further evidence that Wells Fargo knew exactly what it was doing to assist
   6 a fraud. The lengths to which Wells Fargo went to substantially aid and abet these
   7 fraudulent enterprises is evidenced by not only their willful disregard of standard
   8 banking procedures, but also Wells Fargo’s continued violations of a dizzying
                                                                                  14
   9 array of banking laws designed to protect against fraud and money laundering.
  10         208. The Bank Secrecy Act (“BSA”) makes it a criminal act for banks and
  11 other financial institutions to aid and abet criminals in the laundering of money.
  12 FinCEN is the federal regulatory agency responsible for issuing regulations to
  13 combat money laundering. FinCEN defines money laundering as the process of
  14 making illegally-gained proceeds (i.e., “dirty money”) appear legal (i.e., “clean”).
  15 Typically, it involves three steps: placement, layering, and integration. First, the
  16 illegitimate funds are introduced into a legitimate financial system (placement).
  17 Then, the money is moved around to create confusion, sometimes by wiring or
  18 transferring the funds through numerous accounts (layering).           Finally, it is
  19 integrated into the financial system through additional transactions until the “dirty
                                          15
  20 money” appears “clean” (integration).
  21         209. Under the BSA, banks must comply with certain Customer
  22 Identification Program (CIP) requirements when opening new accounts, including
  23
       14
  24   Plaintiff is not bringing any claims for violating the Bank Secrecy Act or related
     regulations, nor is he alleging that an express or implied duty arose to Plaintiff
  25 based on Wells Fargo’s BSA violations. Wells Fargo’s duties directly arose to the
     Receivership Entities as Wells Fargo’s customers.
  26
  27   15
         See “History of Anti-Money Laundering Laws,” FinCEN, available at
  28 https://www.fincen.gov/history-anti-money-laundering-laws.
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                                                               RECEIVER’S COMPLAINT
                                    FTCSER-82
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.64
                                                           Page 65 Page
                                                                   of 89 64Page
                                                                            of 88ID
                                   #:5531



   1 maintaining account-opening procedures detailing the identifying information that
   2 must be obtained from each customer. As an established nationwide banking
   3 system, Wells Fargo and its bankers knew what these requirements were.
   4         210. Section 326 of the USA PATRIOT Act was enacted following the
   5 9/11 terrorist attacks and jointly implemented by the federal banking regulators,
   6 requires that banks to meet minimum standards with regard to collection of the
   7 name, address, date of birth and tax identification number or other means of
   8 positive identification for all customers for which it opens an account.
   9         211. A circular issued jointly by the then four federal bank regulatory
  10 agencies, joining with FinCEN and the Department of Treasury stated that:
  11
             “a bank’s CIP must include risk-based procedures for verifying the identity
  12         of each customer to the extent reasonable and practicable. It is critical that
  13         each bank develop procedures to account for all relevant risks including
             those presented by the types of accounts maintained by the bank, the
  14         various methods of opening accounts provided, the type of identifying
  15         information available, and the bank’s size, location, and type of business or
             customer base. Thus, specific minimum requirements in the rule, such as
  16         the four basic types of information to be obtained from each customer,
  17         should be supplemented by risk-based verification procedures, where
             appropriate, to ensure that the bank has a reasonable belief that it knows
  18         each customer’s identity. (Emphasis added.)
  19
             212. Additionally, Wells Fargo was required as a part of federally-
  20
       mandated account opening process to understand the business/account use (“Know
  21
       Your Customer”), and to add extra steps in due diligence, especially where, as was
  22
       the case with both Triangle and Apex, high risk existed: Customer Due Diligence
  23
       (“CDD”) and Enhanced Due Diligence (“EDD”).
  24
             213. During the Relevant Period, it was standard industry practice (and
  25
       expected by banks of Wells Fargo’s size) to provide its branch employees with
  26
       tailored training on how to comply with these laws and regulations, including how
  27
       recognize and escalate suspicious activity in their roles.
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                                                 63                     Case No. ___________
                                                                    RECEIVER’S COMPLAINT
                                      FTCSER-83
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.65
                                                           Page 66 Page
                                                                   of 89 65Page
                                                                            of 88ID
                                   #:5532



   1        214. Wells Fargo was required to train its employees on how to comply
   2 with the BSA and USA PATRIOT Act, including but not limited to:
   3
           The importance of getting accurate identity information and beneficial
   4        owner identification;
   5
           The ability to identify and act upon red flags for suspicious activity,
   6        including but not limited to
   7            o Suspicious designation of beneficiaries, assignees or joint owners
   8            o Suspicious use of multiple accounts
                o Transactions out-of-pattern for the customer or business situation
   9
                o Transactions that don’t make economic sense
  10
           Understanding of various types of activity that require reporting in a number
  11
            of categories including:
  12
                o 31-Fraud, including
  13                  e-credit/debit card
  14                  h-mass marketing
                      i-pyramid scheme
  15
  16            o 33-Money Laundering
                      d-suspicious designation of beneficiaries, assignees or joint
  17                   owners
  18                  h-suspicious use of multiple accounts
                      l-transactions out-of-pattern for customers
  19
  20            o 34-Identification/Documentation.
  21        215. The regulatory requirements under the BSA placed central importance
  22 on vigilantly monitoring to identify and verify customers and beneficial owners, to
  23 understand the nature and purpose of customer relationships to develop an accurate
  24 customer risk profile, and to undertake ongoing monitoring for reporting
  25 suspicious transactions and to maintain and update customer information.
  26        216. In a branch system, like Wells Fargo maintained, the branch
  27 employees were required to have a central role in complying with the law and
  28 related regulations. Among other things, branch employees were typically the
                                              64                   Case No. ___________
                                                               RECEIVER’S COMPLAINT
                                    FTCSER-84
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.66
                                                           Page 67 Page
                                                                   of 89 66Page
                                                                            of 88ID
                                   #:5533



   1 primary source of reporting suspicious activity up the chain within Wells Fargo to
   2 enable the bank to determine whether it needed to take steps to fulfill its
   3 obligations to report such activity externally (to FinCEN). Wells Fargo routinely
   4 failed to follow the requirements of BSA/AML/CIP for Apex and Triangle. Wells
   5 Fargo’s Community Bank gave its branches wide discretion and deficient oversight
   6 in performing these tasks, while at the same time incentivizing branch employees
   7 to open accounts and cross-sell under a high-pressure quota system.
   8        217.     As examples, Wells Fargo knowingly allowed accounts to have
   9 incorrect addresses and use identical Wyoming mail drops (in the case of Apex).
  10 Instead of identifying and verifying actual beneficial owners of the shell
  11 companies, Wells Fargo knew that actual owners were different from the listed
  12 owners, and undertook any number of steps to mask or paper over such
  13 inconsistencies.
  14        218. Wells Fargo deliberately failed to compile an adequate customer risk
  15 profile for all of the shell companies.       If the Bank had used commercially
  16 reasonable risk assessment techniques, it would never have opened these accounts
  17 or would have immediately closed the accounts after it processed transactions that
  18 were clearly suspicious.
  19        219. Further, Wells Fargo knew that Apex and Triangle shell companies
  20 were routinely executing suspicious transactions using their Wells Fargo accounts,
  21 such as transferring funds between accounts and to external accounts in “round”
  22 dollar amounts—that is, round numbers with zeros on the end (e.g., $100,000). An
  23 abundance of “round” dollar transactions (which the Apex and Triangle shell
  24 companies certainly had) is indicative of money laundering and has been referred
  25 to as “a fingerprint of fraud.” See Nigrini, Mark J., “Round numbers: A fingerprint
  26 of    fraud,”    Journal   of   Accountancy    (May    1,     2018),   available   at
  27 https://www.journalofaccountancy.com/issues/2018/may/fraud-round-
  28 numbers.html.
                                              65                     Case No. ___________
                                                                 RECEIVER’S COMPLAINT
                                     FTCSER-85
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.67
                                                           Page 68 Page
                                                                   of 89 67Page
                                                                            of 88ID
                                   #:5534



   1         220. As even the most cursory reviews of monthly account statements
   2 made abundantly clear, Wells Fargo was well aware of the Apex and Triangle shell
   3 companies’ high chargeback rates, which were well in excess of the permitted
   4 chargeback rates under Visa/Mastercard rules for high-risk merchants.
   5         221. Regardless of the vantage point from which the Apex and Triangle
   6 Enterprises are viewed, Wells Fargo knew that they were high-risk relationships
   7 and accounts for multiple reasons. As such, Wells Fargo knew that they were
   8 required to classify the family of Apex and Triangle accounts as high risk for
   9 misuse and as such, subject them to heightened oversight and enhanced due
  10 diligence.
  11         222. Further, Wells Fargo was well aware that Apex and Triangle were
  12 classified as high risk by merchant processors, including Wells Fargo’s own
  13 merchant processing group.         This provided yet another reason for active
  14 monitoring of these accounts by Community Bank employees and branches.
  15         223. Indeed, the Bank’s very own Merchant Processing Agreement and
  16 Credit Risk Guidelines confirm the many risks created by businesses like Apex and
  17 Triangle. The Processing Agreement specifically prohibits the solicitation of
  18 merchants engaged in certain unacceptable business practices, because they were
  19 presumptively illegal, violated card association rules, or created excessive risk
  20 exposure. The prohibited categories included, for example, debt consolidation
  21 services, Get Rich Quick Opportunities, and any merchant engaged in any form of
  22 deceptive marketing practices.
  23         224. Wells    Fargo    also   prohibited   the   solicitation   of   merchants
  24 selling nutraceuticals through free trial offers, unless specifically pre-approved by
  25 Wells Fargo.     And when Wells Fargo periodically evaluated, and on several
  26 occasions reviewed, completed applications, for the Apex and Triangle Enterprises
  27 Wells Fargo declined to provide merchant processing.         (The exception was the
  28 small amount Triangle legacy merchant processing through a third party, which
                                               66                   Case No. ___________
                                                                RECEIVER’S COMPLAINT
                                    FTCSER-86
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.68
                                                           Page 69 Page
                                                                   of 89 68Page
                                                                            of 88ID
                                   #:5535



   1 apparently stayed below Wells Fargo’s radar for years – either by mistake or policy
   2 design.)
   3        225. Wells Fargo’s Credit Risk Guidelines (the “Guidelines”) require
   4 that merchants be scrutinized for evidence of deceptive marketing practices and, if
   5 found, immediately compel the merchant to eliminate these practices or terminate
   6 the merchant. The Guidelines provide numerous examples of common warning
   7 signs of potential deceptive marketing practices, almost all of which the
   8 Enterprises employed. These include negative options and industries where
   9 deceptive marketing practices were prevalent, such as nutraceuticals. Further, the
  10 Guidelines specifically warn about merchants opening multiple accounts,
  11 particularly via multiple shell companies with the same or similar principals (in
  12 some cases, hired “mules” with little or no business involvement which may be
  13 submitted to obscure the true ownership).
  14 IX.    WELLS FARGO EXECUTIVES AUTHORIZED AND RATIFIED
  15        BANKER PARTICIPATION IN THE FRAUDS
  16        226. Evidence of Wells Fargo’s executives’ pressure on managers and
  17 employees to participate in the fraudulent misconduct alleged herein also is set
  18 forth in numerous governmental and private lawsuits. In the SEC’s complaint
  19 against Carrie L. Tolstedt, Senior Executive Vice President of Community
  20 Banking for Wells Fargo filed on November 13, 2020, the SEC alleged that for
  21 several years, until mid-2016, Wells Fargo opened millions of accounts or sold
  22 products that were unauthorized or fraudulent, and others that were unneeded and
  23 unwanted by retail banking customers.
  24        227. The Community Bank, which Tolstedt led from 2007 through mid-
  25 2016, was responsible for managing the large network of bank branches, referred
  26 to within Wells Fargo as “stores,” as well as other sales channels through which
  27 Wells Fargo offered its products. The branches employed, among others, bankers
  28 who were generally responsible for offering accounts and financial products or
                                              67                  Case No. ___________
                                                              RECEIVER’S COMPLAINT
                                   FTCSER-87
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.69
                                                           Page 70 Page
                                                                   of 89 69Page
                                                                            of 88ID
                                   #:5536



   1 services to customers. The bankers reported up through managers of the branches
   2 to Regional Bank Executives, who reported to Tolstedt. In addition, the persons
   3 who managed the various groups organized around products that the Community
   4 Bank offered also reported up to Tolstedt.
   5        228. The Community Bank also had financial and risk officers who
   6 reported to Tolstedt and assessed the Community Bank’s business progress and its
   7 risks. Those persons provided information to the financial and risk officers for the
   8 Company overall, often after first discussing the information with Tolstedt. In
   9 addition, at least quarterly, Tolstedt met with the CEO (and frequently others) to
  10 discuss the business of the Community Bank and to make strategic plans.
  11        229. During the Relevant Period, Wells Fargo’s CEO and other high-level
  12 executives and directors of the Bank encouraged employees to deliberately ignore
  13 indicia of fraud if it helped the Bank’s bottom line—instructions which led to
  14 Wells Fargo and its employees aiding and abetting the Enterprise schemes.
  15        230. Other higher-level employees and agents of Wells Fargo in the
  16 Community Bank branches encouraged and instructed their bankers and employees
  17 to do the same. These higher-level employees and agents included:
  18              David Hannig, who was an Assistant Vice President and Business
                   Sales Consultant for Wells Fargo Merchant Services, and who worked
  19               directly with Apex’s Barnett, Peikos, Camacho, and Carr;
  20              Lea Walker, who was a Business Specialist and subsequently an
                   Assistant Vice President at Wells Fargo in the Keller, TX branch (910
  21               Keller Parkway, Keller, TX 76248), and who worked directly with
                   Triangle’s Phillips;
  22
                  Haiman Albana, who was a Business Relationship Manager at Wells
  23               Fargo associated in the Escondido, CA branch (500 La Terraza
                   Boulevard, Suite 200, Escondido, CA 92025), and who worked
  24               directly with Triangle’s Phillips; and
  25              Brian Cording, who was a Senior Business Relationship Manager at
                   Wells Fargo associated with the Escondido, CA branch (500 La
  26               Terraza Boulevard, Suite 200, Escondido, CA 92025), and who
                   worked directly with Triangle’s Phillips.
  27
  28        231. These are just some of the Wells Fargo employees who knowingly
                                              68                   Case No. ___________
                                                               RECEIVER’S COMPLAINT
                                    FTCSER-88
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.70
                                                           Page 71 Page
                                                                   of 89 70Page
                                                                            of 88ID
                                   #:5537



   1 acted in collaboration and collusion with Apex and Triangle in furtherance of the
   2 unlawful schemes. Wells Fargo authorized or ratified the acts of these employees
   3 as alleged herein.
   4 X.     INFORMATION ALLEGATIONS
   5        232. Allegations made in this Complaint are based on information and
   6 belief, except those allegations that pertain directly to the Receiver, which are
   7 based on his personal knowledge. The Receiver’s information and belief is based
   8 on, inter alia, the investigation and review of publicly filed documents and from
   9 the Receiver appointed in the FTC actions described above and his attorneys. Each
  10 and every allegation and factual contention contained in this Complaint has
  11 evidentiary support or, alternatively, is likely to have evidentiary support after
  12 reasonable opportunity for further investigation or discovery by the Receiver or his
  13 counsel.
  14 XI.    DELAYED DISCOVERY BY THE RECEIVER AND ESTOPPEL
  15        233. First and foremost, the Receiver’s discovery of the Receivership
  16 Entities’ claims against Wells Fargo was impossible until his appointment; prior to
  17 that, the Receivership Entities were controlled by Phillips, Barnett, and Peikos,
  18 which made discovery of their wrongdoing impossible. The statutes of limitations
  19 were tolled until the time of the Receiver’s appointment.
  20        234. The statutes of limitations were tolled past that point, however,
  21 because the Receiver did not (and could not have) discovered the fraud
  22 immediately upon his appointment. The Receiver only discovered Wells Fargo’s
  23 misconduct related to the Apex and Triangle Enterprises in 2019. There were two
  24 primary reasons for this: (1) Wells Fargo took steps to conceal its role in the Apex
  25 and Triangle frauds; and (2) the Receiver did not receive responses to subpoenas it
  26 issued to Wells Fargo until June and July of 2019, before which there was
  27 insufficient documentary evidence for the Receiver to discover the claims. Once
  28 the Receiver and his counsel had the documents in hand, they were finally able to
                                              69                     Case No. ___________
                                                                 RECEIVER’S COMPLAINT
                                    FTCSER-89
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.71
                                                           Page 72 Page
                                                                   of 89 71Page
                                                                            of 88ID
                                   #:5538



   1 piece together Wells Fargo’s role in facilitating the Apex and Triangle frauds, and
   2 to confirm that the Bank knew of the fraudulent nature of the Apex and Triangle
                 16
   3 Enterprises.
   4         235. Because of Phillips’s, Peikos’s and Barnett’s efforts to conceal the
   5 Apex and Triangle frauds from consumers, along with the role Wells Fargo played
   6 in those frauds, Wells Fargo is estopped from contending that any of the
   7 Receiver’s claims are barred by applicable statutes of limitations.
   8 XII. CAUSES OF ACTION
   9                                  First Cause of Action
  10                              (Aiding and Abetting Fraud)
  11         236. The Receiver repeats and realleges the allegations of each and every
  12 one of the prior paragraphs, inclusive, as if fully set forth herein.
  13         237. Phillips, Peikos, and Barnett, via the Apex and Triangle Enterprises,
  14 operated online “free trial” scams, which falsely advertised that consumers would
  15 only be charged the cost of shipping in exchange for a trial of a product. In reality,
  16 the consumers were being signed up for a subscription service and charged for the
  17 full price of the product on the next billing cycle unless they affirmatively canceled
  18 the subscription.
  19         238. Wells Fargo knew that the Apex and Triangle Enterprises were
  20 engaged in a high-risk, fraudulent business, and Wells Fargo knew that they were
  21 required to terminate or further investigate that business pursuant to the BSA,
  22 FinCEN regulations, and their own internal policies. Multiple Wells Fargo
  23 employees across multiple branches deliberately turned a blind eye to the Apex
  24 and Triangle frauds, because the large number of accounts needed by the Apex and
  25 Triangle Enterprises helped them to meet otherwise-unattainable sales quotas set
  26
  27   16
       The Receiver did not file until now pursuant to a Tolling Agreement with
  28 Defendants.
                                                 70                   Case No. ___________
                                                                  RECEIVER’S COMPLAINT
                                      FTCSER-90
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.72
                                                           Page 73 Page
                                                                   of 89 72Page
                                                                            of 88ID
                                   #:5539



   1 by Wells Fargo’s corporate headquarters.        Wells Fargo’s corporate policies
   2 encouraged sales misconduct by setting unrealistic sales goals and requiring
   3 bankers to open as many accounts, and to sell as many services and bank products,
   4 as possible.
   5        239. Wells Fargo provided substantial assistance to the intentional torts
   6 committed by the primary wrongdoers by, among other things, creating accounts
   7 for shell companies used by the Apex and Triangle Enterprises to secure critical
   8 merchant processing services; assisting the Apex and Triangle principals in hiding
   9 their ownership of those accounts from the merchant processors, so that the
  10 principals could continue to secure merchant processing services for the underlying
  11 fraud; and allowing Apex and Triangle to launder money obtained from defrauded
  12 consumers through their Wells Fargo accounts.
  13        240. The substantial assistance that Wells Fargo provided to the Apex and
  14 Triangle frauds proximately caused substantial damages to the Receivership
  15 Entities in an amount to be proven at trial. These damages include, but are not
  16 limited to: the fees charged by Wells Fargo for their banking services, which
  17 directly furthered the fraudulent schemes and depleted the funds of the
  18 Receivership Entities; the Receivership Entities’ legal obligations to satisfy the
  19 FTC Judgments, which require the Receivership Entities to make whole the
  20 consumers who were defrauded as a result of the Apex and Triangle frauds that
  21 Wells Fargo facilitated; all fees and costs necessitated by the need to establish a
  22 Receivership; and the costs of defending the action by the FTC (including the
  23 resulting Receiverships).
  24        241. Wells Fargo’s conduct was intentional, fraudulent, willful, malicious,
  25 and intended to injure the Receivership Entities, by virtue of which the Receiver
  26 prays for an award of exemplary and punitive damages.
  27                                Second Cause of Action
  28                             (Conspiracy to Commit Fraud)
                                              71                  Case No. ___________
                                                              RECEIVER’S COMPLAINT
                                     FTCSER-91
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.73
                                                           Page 74 Page
                                                                   of 89 73Page
                                                                            of 88ID
                                   #:5540



   1         242. The Receiver repeats and realleges the allegations of each and every
   2 one of the prior paragraphs, inclusive, as if fully set forth herein.
   3         243. Philips, Peikos, and Barnett engaged in the primary wrongs described
   4 herein.
   5         244. Wells Fargo entered into a conspiracy with Phillips, Barnett, and
   6 Peikos to perpetuate their frauds. Wells Fargo agreed to assist the frauds by,
   7 among other things, and as described herein, (i) opening accounts for dozens of
   8 shell companies, which Wells Fargo knew were owned and controlled by Apex and
   9 Triangle’s principals, (ii) executing reference letters that gave legitimacy to the
  10 shell companies and allowed them to secure merchant processing services, (iii)
  11 accepting as deposits funds which Wells Fargo knew were fraudulently obtained
  12 from consumers, (iv) transferring those funds to other accounts (including foreign
  13 accounts), which allowed the Apex and Triangle principals to launder the money
  14 they derived from the frauds, and (v) continually providing atypical banking
  15 services.
  16         245. The Receivership Entities suffered damages that were proximately
  17 caused by Wells Fargo’s participation in the conspiracy (without which the Apex
  18 and Triangle Enterprises could not have functioned) and which are described
  19 herein.
  20                                 Third Cause of Action
  21                               (Breach of Fiduciary Duty)
  22         246. The Receiver repeats and realleges the allegations of each and every
  23 one of the prior paragraphs, inclusive, as if fully set forth herein.
  24         247. Wells Fargo owed fiduciary duties to the Receivership Entities
  25 pursuant to their bank/client relationships.       Wells Fargo had a duty to their
  26 customers, the Receivership Entities, to discharge its duties in good faith, with
  27 reasonable care, and in a manner reasonably believed to be in the Receivership
  28 Entities’ best financial interests.
                                                 72                   Case No. ___________
                                                                  RECEIVER’S COMPLAINT
                                      FTCSER-92
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.74
                                                           Page 75 Page
                                                                   of 89 74Page
                                                                            of 88ID
                                   #:5541



   1         248. Wells Fargo knew that Phillips, Peikos, and Barnett were engaging in
   2 fraud as described herein.
   3         249. Wells Fargo breached the fiduciary duties it owed to the Receivership
   4 Entities by willfully, fraudulently, recklessly, and/or negligently engaging in
   5 conduct which was not in the best financial interests of the Receivership Entities.
   6 Specifically, Wells Fargo (i) diverted funds that belonged to the Receivership
   7 Entities into Phillips, Peikos, and Barnett’s pockets, and (ii) failed to, or refused to,
   8 fulfill its “know your customer” obligations, conduct due diligence, and abide by
   9 other banking regulations and standard practices.
  10         250. Wells Fargo’s breaches of the fiduciary duties it owed to the
  11 Receivership Entities actually and proximately caused financial injury to the
  12 Receivership Entities as described herein.
  13                                 Fourth Cause of Action
  14                   (Aiding and Abetting Breach of Fiduciary Duty)
  15         251. The Receiver repeats and realleges the allegations of each and every
  16 one of the prior paragraphs, inclusive, as if fully set forth herein.
  17         252. At all material times, Phillips, Peikos, and Barnett owned or
  18 controlled their respective Receivership Entities. As the owners of the Triangle or
  19 Apex Enterprises, they had a fiduciary relationship with the Receivership Entities
  20 because the entities were under their complete control.           Phillips, Peikos, and
  21 Barnett owed the Receivership Entities a fiduciary duty to act in good faith, with
  22 reasonable care, and in a manner reasonably believed to be in the Receivership
  23 Entities’ best financial interests.
  24         253. Phillips, Peikos, and Barnett breached their fiduciary duties owed to
  25 their respective Receivership Entities by willfully, fraudulently, recklessly, and/or
  26 negligently engaging in conduct which was not in the best financial interests of the
  27 Receivership Entities by engaging in the primary wrongs described herein and by
  28 diverting the Receivership Entities’ assets into their own pockets with no
                                                 73                   Case No. ___________
                                                                  RECEIVER’S COMPLAINT
                                      FTCSER-93
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.75
                                                           Page 76 Page
                                                                   of 89 75Page
                                                                            of 88ID
                                   #:5542



   1 legitimate or justifiable business purpose.
   2         254. Phillips, Peikos, and Barnett’s breaches of the fiduciary duties they
   3 owed to the Receivership Entities actually and proximately caused financial injury
   4 to the Receivership Entities, as described herein, in an amount to be proven at trial.
   5         255. Wells Fargo had actual knowledge of Phillips, Peikos, and Barnett’s
   6 breaches of their fiduciary duty and rendered substantial assistance in regard to
   7 such breaches by affording them or their agents special privileges, by enabling and
   8 allowing continuous, suspicious, and obviously fraudulent banking activity, and by
   9 failing to adhere to federal, local and internal regulatory banking procedures and
  10 policies.
  11         256. Wells Fargo is liable for all damages actually and proximately caused
  12 to the Receivership Entities through its acts and omissions, including those
  13 damages described above, in an amount to be proven at trial.
  14                                  Fifth Cause of Action
  15                           (Aiding and Abetting Conversion)
  16         257. The Receiver repeats and realleges the allegations of each and every
  17 one of the prior paragraphs, inclusive, as if fully set forth herein.
  18         258. Phillips, Peikos, and Barnett wrongfully asserted dominion and
  19 control over the funds in the Apex and Triangle Enterprise accounts, which
  20 rightfully belonged to their respective Receivership Entities, by misappropriating
  21 consumer funds from those accounts and using the funds for their personal use and
  22 benefit. Phillips, Peikos, and Barnett’s actions resulted in the conversion of funds
  23 belonging to the Receivership Entities.
  24         259. Wells Fargo had actual knowledge of Phillips, Peikos, and Barnett’s
  25 misappropriation of the Receivership Entities’ funds, because those funds were
  26 wrongfully transferred into, between, and out of accounts held by Wells Fargo.
  27         260. Wells Fargo rendered substantial assistance to Phillips, Peikos, and
  28 Barnett in their conversion of the Receivership Entities’ funds by executing their
                                                 74                   Case No. ___________
                                                                  RECEIVER’S COMPLAINT
                                      FTCSER-94
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.76
                                                           Page 77 Page
                                                                   of 89 76Page
                                                                            of 88ID
                                   #:5543



   1 transactions, even though doing so violated banking regulations and other prudent
   2 and sound banking practices and procedures.
   3         261. Wells Fargo is therefore liable for all damages actually and
   4 proximately caused to the Receivership Entities based on the conversion of funds
   5 undertaken by Phillips, Peikos, and Barnett, in an amount to be proven at trial.
   6                                  Sixth Cause of Action
   7                      (Violation of California Penal Code § 496)
   8         262. The Receiver repeats and realleges the allegations of each and every
   9 one of the prior paragraphs, inclusive, as if fully set forth herein.
  10         263. Penal Code § 496(c) permits “any” person who has been injured by a
  11 violation of § 496(a) to recover three times the amount of actual damages, costs of
  12 suit and attorney’s fees in a civil suit. Penal Code § 496(a) creates an action
  13 against “any” person who (1) receives “any” property that has been obtained in any
  14 manner constituting theft, knowing the property to be so obtained, or (2) conceals,
  15 withholds, or aids in concealing or withholding “any” property from the owner,
  16 knowing the property to be so obtained.
  17         264. Under Penal Code § 7, “person” includes a corporation as well as a
  18 natural person. Wells Fargo Bank, N.A., as a national banking association, and
  19 Wells Fargo & Co., as a corporation, are “persons” capable of violating § 496(a).
  20         265. Phillips, Peikos, and Barnett obtained consumer funds by theft under
  21 Penal Code § 484, because those funds were obtained “knowingly and designedly,
  22 by any false or fraudulent representation or pretense,” from consumers. These
  23 funds were so obtained because, among other things, consumers were falsely
  24 informed they were signing up for free trials but ended up paying for products or
  25 subscriptions without their consent.
  26         266. Wells Fargo, knowing of their frauds, deliberately concealed and
  27 aided in concealing those frauds by, inter alia, hiding the identity of the individuals
  28 who were committing the fraud, and by setting up and maintaining the fraudulent
                                                 75                   Case No. ___________
                                                                  RECEIVER’S COMPLAINT
                                     FTCSER-95
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.77
                                                           Page 78 Page
                                                                   of 89 77Page
                                                                            of 88ID
                                   #:5544



   1 accounts as described herein.
   2         267. Additionally, Wells Fargo knowingly transferred property that was
   3 wrongfully obtained from consumers to Phillips, Peikos, Barnett, or third parties at
   4 their behest, as described herein.
   5         268. As a direct and proximate result of Wells Fargo’s violations of Penal
   6 Code § 496(a), the Receivership Entities were deprived of assets. Pursuant to
   7 Penal Code § 496(c), the Receiver seeks statutory treble damages, costs of suit, and
   8 reasonable attorney’s fees.
   9                                Seventh Cause of Action
  10          (Violation of California Business and Professions Code § 17200)
  11         269. The Receiver repeats and realleges the allegations of each and every
  12 one of the prior paragraphs, inclusive, as if fully set forth herein.
  13         270. Business & Professions Code §§ 17200, et seq., prohibit acts of
  14 “unfair competition,” a term which is defined by Business & Professions Code
  15 § 17200 as including “any unlawful, unfair or fraudulent business act or
  16 practice….”
  17         271. Defendants have violated Business & Professions Code section
  18 17200’s prohibition against engaging in unlawful, unfair, and/or fraudulent
  19 business practices by, inter alia, aiding and abetting fraud, conspiring to commit
  20 fraud, and violating California Penal Code § 496.
  21         272. The Receivership Entities suffered injury in fact and lost money as a
  22 result of Wells Fargo’s substantial assistance in these unlawful business acts and
  23 practices.
  24         273. As a result of Defendants’ violations of Business & Professions Code
  25 § 17200, et seq., the Receiver is entitled to equitable relief in the form of full
  26 restitution of all monies wrongfully paid pursuant to the fraudulent schemes aided
  27 and abetted by Defendants.
  28
                                                 76                   Case No. ___________
                                                                  RECEIVER’S COMPLAINT
                                      FTCSER-96
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.78
                                                           Page 79 Page
                                                                   of 89 78Page
                                                                            of 88ID
                                   #:5545



   1                                 Eighth Cause of Action
   2         (Aiding and Abetting Fraudulent Transfer/Voidable Transaction)
   3         274. The Receiver repeats and realleges the allegations of each and every
   4 one of the prior paragraphs, inclusive, as if fully set forth herein.
   5         275. Prior to the establishment of the Receiverships, the physical
   6 operations of the Receivership Entities with which Defendants did business were
   7 primarily in the State of California. The FTC v. Triangle and FTC v. Apex actions
   8 in which the Receiver was appointed were then filed in the United States District
   9 Court for the Southern and Central Districts of California, respectively.
  10         276. Effective January 1, 2016, California (similar to the majority of other
  11 States) adopted a version of the Uniform Voidable Transactions Act (“UVTA”),
  12 codified at California Civil Code §§ 3439, et seq. The UVTA defines a voidable
  13 transfer to include the following types of transfer or obligations incurred by a
  14 debtor:
  15         A transfer made or obligation incurred by a debtor is voidable as to a
             creditor, whether the creditor’s claim arose before or after the transfer
  16         was made or the obligation was incurred, if the debtor made the
             transfer or incurred the obligation as follows:
  17
             (1) With actual intent to hinder, delay, or defraud any creditor of the
  18         debtor.
  19         (2) Without receiving a reasonably equivalent value in exchange for
             the transfer or obligation, and the debtor either:
  20
             (A) Was engaged or was about to engage in a business or a
  21         transaction for which the remaining assets of the debtor were
             unreasonably small in relation to the business or transaction.
  22
             (B) Intended to incur, or believed or reasonably should have believed
  23         that the debtor would incur, debts beyond the debtor’s ability to pay as
             they became due.
  24
             (b) In determining actual intent under paragraph (1) of subdivision
  25         (a), consideration may be given, among other factors, to any or all of
             the following:
  26
             (1) Whether the transfer or obligation was to an insider.
  27
             (2) Whether the debtor retained possession or control of the property
  28         transferred after the transfer.
                                                 77                   Case No. ___________
                                                                  RECEIVER’S COMPLAINT
                                     FTCSER-97
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.79
                                                           Page 80 Page
                                                                   of 89 79Page
                                                                            of 88ID
                                   #:5546



   1         (3) Whether the transfer or obligation was disclosed or concealed.
   2         (4) Whether before the transfer was made or obligation was incurred,
             the debtor had been sued or threatened with suit.
   3
             (5) Whether the transfer was of substantially all the debtor’s assets.
   4
             (6) Whether the debtor absconded.
   5
             (7) Whether the debtor removed or concealed assets.
   6
             (8) Whether the value of the consideration received by the debtor was
   7         reasonably equivalent to the value of the asset transferred or the
             amount of the obligation incurred.
   8
             (9) Whether the debtor was insolvent or became insolvent shortly
   9         after the transfer was made or the obligation was incurred.
  10         (10) Whether the transfer occurred shortly before or shortly after a
             substantial debt was incurred.
  11
             (11) Whether the debtor transferred the essential assets of the business
  12         to a lienor that transferred the assets to an insider of the debtor.
  13
             277. California Civil Code §3439.05(a) provides that transfers are voidable
  14
       as to present creditors as follows:
  15
             A transfer made or obligation incurred by a debtor is voidable as to a
  16         creditor whose claim arose before the transfer was made or the
             obligation was incurred if the debtor made the transfer or incurred the
  17         obligation without receiving a reasonably equivalent value in
             exchange for the transfer or obligation and the debtor was insolvent at
  18         that time or the debtor became insolvent as a result of the transfer or
             obligation.
  19
  20         278. The UVTA provides the following definitions, in relevant part:
  21         (b) “Claim,” except as used in “claim for relief,” means a right to
             payment, whether or not the right is reduced to judgment, liquidated,
  22         unliquidated, fixed, contingent, matured, unmatured, disputed,
             undisputed, legal, equitable, secured, or unsecured.
  23
             (c) “Creditor” means a person that has a claim, and includes an
  24         assignee of a general assignment for the benefit of creditors, as
             defined in Section 493.010 of the Code of Civil Procedure, of a
  25         debtor.
  26         (d) “Debt” means liability on a claim.
  27         (e) “Debtor” means a person that is liable on a claim.
  28
                                                78                   Case No. ___________
                                                                 RECEIVER’S COMPLAINT
                                      FTCSER-98
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.80
                                                           Page 81 Page
                                                                   of 89 80Page
                                                                            of 88ID
                                   #:5547



   1         279. Phillips, Peikos and Barnett are “debtors” under the UVTA because
   2 they are liable to the Receivership Entities and consumers who have a right to
   3 reimbursement for their claims of consumer fraud under the FTC judgments. Said
   4 Receivership Entities and consumers are “creditors” with “claims” under the
   5 meaning of the UVTA.
   6         280. Prior to enactment of the UVTA, and relevant to transfers by
   7 Defendants prior to 2016, the California Uniform Fraudulent Transfer Act
   8 (“UFTA”), formerly codified at California Civil Code §§ 3439, et seq. (“UFTA”),
   9 provided in §3439.04:
  10
             (1) A transfer made or obligation incurred by a debtor is fraudulent as
  11         to a creditor, whether the creditor’s claim arose before or after the
             transfer was made or the obligation was incurred, if the debtor made
  12         the transfer or incurred the obligation:
  13               (a) with actual intent to hinder, delay, or defraud any creditor of
             the debtor; or
  14
                    (b) without receiving a reasonably equivalent value in exchange
  15         for the transfer or obligation; and the debtor: (i) was engaged or was
             about to engage in a business or a transaction for which the remaining
  16         assets of the debtor were unreasonably small in relation to the
             business or transaction; or (ii) intended to incur, or believed or
  17         reasonably should have believed that he would incur, debts beyond his
             ability to pay as they became due.
  18
             281. A “transfer” was defined in the UFTA to mean “every mode, direct or
  19
       indirect, absolute or conditional, voluntary or involuntary, of disposing of or
  20
       parting with an asset or an interest in an asset, and includes payment of money,
  21
       release, lease, and creation of a lien or other encumbrance.” (Civ. Code, former §
  22
       3439.01, subd. (i)). A similar definition is found as subdivision (m) of the UVTA
  23
       with one minor revision: “Transfer” means every mode, direct or indirect, absolute
  24
       or conditional, voluntary or involuntary, of disposing of or parting with an asset or
  25
       an interest in an asset, and includes payment of money, release, lease, license and
  26
       creation of a lien or other encumbrance.”
  27
             282. As set forth herein, Phillips, Peikos, and/or Barnett controlled the
  28
                                                79                   Case No. ___________
                                                                 RECEIVER’S COMPLAINT
                                     FTCSER-99
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.81
                                                           Page 82 Page
                                                                   of 89 81Page
                                                                            of 88ID
                                   #:5548



   1 Receivership Entities and directed them to make numerous transfers out of
   2 proceeds of the fraud to themselves, and third parties (including Wells Fargo). At
   3 the time of each fraudulent transfer, they intended to delay, defraud, or hinder their
   4 creditors (most notably the Receivership Entities under their control).
   5         283. Through the numerous acts identified herein, Wells Fargo
   6 substantially assisted Phillips, Peikos and Barnett in making these fraudulent
   7 transfers, despite knowing that the transfers were unlawful, and that they controlled
   8 the Receivership Entities and had no lawful claim to fraudulently-obtained
   9 consumer funds. Wells Fargo knowingly transferred shell company account funds
  10 to other Receivership Entity shell company accounts and then directly to Phillips,
  11 Peikos, and/or Barnett or to other third parties (at the direction of Phillips, Peikos,
  12 and/or Barnett) without the shell companies receiving a reasonably equivalent
  13 value in exchange for the transfers and which depleted the shell companies of all or
  14 substantially all of their assets.
  15         284. The transfers from the Wells Fargo accounts of the Receivership
  16 Entities to Phillips, Peikos, Barnett and Wells Fargo constitute fraudulent transfers
  17 under the California UVTA and UFTA for the following reasons, among others:
  18                (a)    Phillips, Peikos and Barnett made the transfers to themselves or
                           third parties with the actual intent to hinder, delay, or defraud
  19                       creditors (including the Receivership Entities and consumers);
  20                (b)    Phillips, Peikos and Barnett engaged in free trial schemes
                           knowing that their assets and the assets of the Receivership
  21                       Entities they controlled were unreasonably small considering
                           that all of the assets were obtained by frauds on consumers and
  22                       did not belong to them;
  23                (c)    Phillips, Peikos and Barnett knew that through their fraudulent
                           schemes, they incurred debts to the Receivership Entities and
  24                       consumers beyond their ability to pay;
  25                (d)    Phillips, Peikos and Barnett retained possession or control of
                           the assets after the transfers;
  26
                    (e)    The Receivership Entities did not receive a reasonably
  27                       equivalent value in exchange for the transfers from the Wells
                           Fargo accounts because Phillips, Peikos, and Barnett drained
  28                       the accounts for their own personal use and benefit, and the
                                                80                   Case No. ___________
                                                                 RECEIVER’S COMPLAINT
                                     FTCSER-100
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
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                                                  01/18/22
                                                        PageID.82
                                                           Page 83 Page
                                                                   of 89 82Page
                                                                            of 88ID
                                   #:5549



   1                     shell companies acted as mere pass-throughs to allow the
                         fraudsters to avoid detection by creditors of their ownership and
   2                     control of the funds;
   3              (f)    The Receivership Entities had no assets other than the
                         fraudulently-obtained funds before or after the transfers;
   4
                  (g)    The transfers to Phillips, Peikos, and Barnett were as corporate
   5                     insiders of the Receivership Entities;
   6              (h)    The transfers among and from the Wells Fargo accounts were
                         intended to conceal the true ownership and recipients of the
   7                     funds;
   8              (i)    When the transfers were made, Phillips, Peikos and Barnett
                         knew they were likely to be sued for their wrongdoing;
   9
                  (j)    Phillips, Peikos, and Barnett removed and concealed receipt of
  10                     the consumer funds from the Wells Fargo accounts by
                         transferring them to unrelated, unidentified and undisclosed
  11                     personal and offshore accounts;
  12              (k)    The transfers were of substantially all the Receivership Entities’
                         assets;
  13
                  (l)    The Receivership Entities were insolvent or became insolvent
  14                     shortly after the transfers were made or the obligations were
                         incurred; and
  15
                  (m)    The transfers occurred shortly before or shortly after the
  16                     substantial debts to consumers were incurred.
  17        285. Despite knowing that Phillips, Peikos and Barnett had no lawful claim
  18 to the consumer funds and Phillips, Peikos, and Barnet lacked the assets to pay
  19 such amounts back to the Receivership Entities, Wells Fargo transferred such
  20 consumer funds, and depleted the Receivership Entities’ assets, which allowed
  21 Phillips, Peikos, and/or Barnett to receive such funds directly.
  22        286. Based on the allegations above, these transfers of Receivership Entity
  23 funds to Wells Fargo and Phillips, Peikos, and Barnett constitute fraudulent
  24 transfers which must be returned to the Receivership Entities. Accordingly, the
  25 Receiver seeks to recover as fraudulent transfers all Receivership Entity/consumer
  26 funds received by Wells Fargo as well as those funds transferred to Phillips,
  27 Peikos, and Barnett.
  28       287. Wells Fargo knowingly aided and abetted the fraudulent transfers
                                               81                   Case No. ___________
                                                                RECEIVER’S COMPLAINT
                                   FTCSER-101
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
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                                             07/08/21
                                                  01/18/22
                                                        PageID.83
                                                           Page 84 Page
                                                                   of 89 83Page
                                                                            of 88ID
                                   #:5550



   1 from the Receivership Entities under the control of Phillips, Peikos, and/or Barnett.
   2 This substantial assistance included the fraudulent transfer of consumer funds from
   3 the Wells Fargo accounts to Phillips, Peikos, and Barnett.
   4         288. In addition, Wells Fargo accepted payments of consumer funds from
   5 Receivership Entities in connection with setting up and maintaining the fraudulent
   6 accounts. By collecting fees, charges, fines, reserve amounts, and other payments
   7 generated by the shell companies’ and other Receivership Entities’ payment
   8 processing, Wells Fargo was asserting that the Receivership Entities had a valid
   9 obligation to make these payments to Wells Fargo.
  10         289.   Wells Fargo, as a knowing aider and abettor of the fraudulent
  11 schemes, was not entitled to receive, and could not take in good faith, these
  12 payments from the Receivership Entities’ funds derived from payments by
  13 defrauded consumers in connection with setting up and maintaining the fraudulent
  14 accounts for the Receivership Entities, and thus these payments constitute
  15 fraudulent transfers which must be returned to the Receivership Entities.
  16         290. Accordingly, the Receiver seeks to recover as fraudulent transfers any
  17 (a) Receivership Entity funds taken from the Wells Fargo accounts and transferred
  18 to Phillips, Peikos, and Barnett as a result of the fraudulent schemes and b)
  19 payments to Wells Fargo from Receivership Entities in connection with setting up
  20 and maintaining the fraudulent accounts.
  21         291.   The Receiver therefore asks that the Court order Wells Fargo to pay
  22 to the Receiver all fraudulent transfers they received or transferred, as alleged
  23 herein and as further shown by proof at trial. The Receiver further asks that he be
  24 awarded pre- and post- judgment interest from Defendants from the date of the
  25 receipt of each fraudulent transfer.
  26                                Ninth Cause of Action
  27                      (Unjust Enrichment/ Constructive Trust)
  28         292. The Receiver repeats and realleges the allegations of each and every
                                               82                  Case No. ___________
                                                               RECEIVER’S COMPLAINT
                                   FTCSER-102
Case
 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
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                                             07/08/21
                                                  01/18/22
                                                        PageID.84
                                                           Page 85 Page
                                                                   of 89 84Page
                                                                            of 88ID
                                   #:5551



   1 one of the prior paragraphs, inclusive, as if fully set forth herein.
   2         293. Wells Fargo received payments (whether denominated as “fees,”
   3 “charges,” “fines,” “reserves,” or otherwise) from the Receivership Entities’
   4 accounts used in connection with the processing and maintenance of accounts, and
   5 also transferred fraudulently-obtained funds to Peikos, Barnett, and Phillips.
   6         294. The payments received by Wells Fargo were made in furtherance of
   7 the fraudulent schemes and Wells Fargo has been unjustly enriched by the amount
   8 of these payments.
   9         295. In addition, through Wells Fargo’s knowing and substantial assistance
  10 in the wrongful transfer of account funds from the Receivership Entities, entities
  11 and individuals who owned or controlled the Receivership Entities were unjustly
  12 enriched in the amount of these transfers.
  13         296. Because of Wells Fargo’s own unjust enrichment and its knowing
  14 assistance in unjustly enriching the perpetrators of the frauds, the Receiver seeks
  15 an equitable remedy ordering that Wells Fargo is holding, and shall continue to
  16 hold, in constructive trust for the Receiver, the amount of the payments and
  17 transfers to itself, as well as funds in Wells Fargo accounts which were wrongfully
  18 transferred to third parties, including those who owned or controlled the
  19 Receivership Entities.
  20         297. The Receiver further asks that he be awarded pre- and post- judgment
  21 interest from Defendants from the date of the receipt of each fraudulent transfer.
  22                      Tenth Cause of Action (In the Alternative)
  23                                 (Negligent Supervision)
  24         298. The Receiver repeats and realleges the allegations of each and every
  25 one of the prior paragraphs, inclusive, as if fully set forth herein.
  26         299. In the alternative to Causes of Action One through Nine, Wells Fargo
  27 negligently supervised the Wells Fargo employees named and/or described herein.
  28         300. Wells Fargo knew or should have known that the policies and
                                                 83                   Case No. ___________
                                                                  RECEIVER’S COMPLAINT
                                     FTCSER-103
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
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                                                  01/18/22
                                                        PageID.85
                                                           Page 86 Page
                                                                   of 89 85Page
                                                                            of 88ID
                                   #:5552



   1 procedures permeating its Community Bank regarding sales incentives and quotas
   2 were deficient and created a sales culture pressuring its employees into opening
   3 accounts without concern for the repercussions, and which directly contributed to
   4 and incentivized branch-level employees under the fear of being terminated, aiding
   5 and abetting the Apex and Triangle frauds, cutting corners, and disregarding both
   6 applicable Bank procedures (on paper) and legal obligations when opening and
   7 monitoring accounts, and under the BSA and related rules.            Wells Fargo’s
   8 knowledge of its own toxic sales culture is described herein.
   9        301. Wells Fargo also knew or should have known that a corporate policy
  10 pushing employees to open as many accounts as possible would facilitate money
  11 laundering activities, as it would make it substantially easier for the Bank’s
  12 customers to open dozens of shell companies. The relevance of shell companies to
  13 money laundering and fraud is discussed herein.
  14        302. Wells Fargo knew or should have known that its lax oversight and its
  15 implementation, design, and maintenance of proper controls to ensure branch-level
  16 compliance in the Community Bank with all legal obligations, including under the
  17 BSA, and to protect against fraudulent conduct, were deficient and would directly
  18 contribute to branch-level bankers’ misconduct, by providing atypical services,
  19 assisting the frauds, and taking steps to conceal—rather than unmask or report—
  20 the Apex and Triangle Entities’ fraud.
  21        303. Wells Fargo knew or should have known that its deficient policies for
  22 the Community Bank, as detailed herein, leading to Wells Fargo’s facilitation of
  23 the Apex and Triangle Enterprises’ consumer fraud and money laundering
  24 activities would result in increased liabilities for, and substantial damage to, the
  25 Receivership Entities as described herein.
  26        304. Had Wells Fargo properly supervised its employees, properly put in
  27 place appropriate policies and procedures in the Community Bank regarding sales
  28 practices and incentives, properly implemented, designed, and maintained proper
                                              84                   Case No. ___________
                                                               RECEIVER’S COMPLAINT
                                   FTCSER-104
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
                                     1 FiledFiled
                                             07/08/21
                                                  01/18/22
                                                        PageID.86
                                                           Page 87 Page
                                                                   of 89 86Page
                                                                            of 88ID
                                   #:5553



   1 controls to ensure branch-level compliance in the Community Bank with industry
   2 standards and norms, and/or monitored and terminated employees who engaged in
   3 misconduct (none of which occurred), the Receivership Entities would not have
   4 suffered the damages that they did.
   5                     Eleventh Cause of Action (In the Alternative)
   6                                       (Negligence)
   7          305.   The Receiver repeats and realleges the allegations of each and every
   8 one of the prior paragraphs, inclusive, as if fully set forth herein.
   9          306. In the alternative to Causes of Action One through Nine, the acts and
  10 omissions of Wells Fargo as described herein were negligent.
  11          307. Wells Fargo provided banking services to the Apex and Triangle
  12 Receivership Entities; as such, these entities were Wells Fargo’s clients.
  13          308. Because the Receivership Entities were customers of Wells Fargo, the
  14 Bank owed them a duty to act with reasonable care in its dealings with, and in
  15 performing its services for, the Receivership Entities and their accounts. That duty
  16 included, without limitation, the duty to use the requisite care, skill and diligence
  17 to detect, investigate and/or prevent the use of Wells Fargo accounts to perpetrate
  18 fraud.
  19          309. Wells Fargo breached this duty because, without limitation, it
  20 established corporate policies that prioritized the opening of accounts above
  21 anything else—a policy which uniquely incentivized its employees to facilitate the
  22 banking activities of shell companies, which any banker would know were key
  23 indicia of fraud and money laundering.           Despite fully understanding that the
  24 accounts opened by Apex and Triangle personnel were for shell companies used to
  25 hide the true ownership of the accounts, Wells Fargo failed to timely stop or take
  26 any action to prevent the fraud, including the transfer of Receivership Entities’
  27 assets to Phillips, Peikos, Barnett, and/or third parties.
  28          310. Wells Fargo’s breaches of its duties proximately caused damages to
                                                 85                   Case No. ___________
                                                                  RECEIVER’S COMPLAINT
                                     FTCSER-105
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
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                                                  01/18/22
                                                        PageID.87
                                                           Page 88 Page
                                                                   of 89 87Page
                                                                            of 88ID
                                   #:5554



   1 the Receivership Entities in an amount to be determined at trial, because those
   2 breaches allowed Phillips, Peikos, Barnett, and/or third parties to commit massive
   3 fraud and to siphon off funds that rightfully belonged to the Receivership Entities
   4 for their own, personal use.
   5                                Twelfth Cause of Action
   6                              (Request for an Accounting)
   7         311. The Receiver repeats and realleges the allegations of each and every
   8 one of the prior paragraphs, inclusive, as if fully set forth herein.
   9         312. To ascertain the exact amounts received by Wells Fargo in connection
  10 with the Apex and Triangle Enterprises the Receiver seeks entry of an order
  11 compelling Wells Fargo to file with the Court and serve upon the Receiver an
  12 accounting, under oath, detailing: (i) the amounts received from all accounts
  13 owned or controlled by the Receivership Entities or related individuals and entities,
  14 including Peikos, Barnett, and Phillips; (ii) the current locations of the amounts,
  15 including the specific bank accounts to which any funds were transferred; and (iii)
  16 the fees which Wells Fargo obtained as a result of doing business with the Apex
  17 and Triangle Enterprises.
  18 XIII. PRAYER FOR RELIEF
  19         WHEREFORE, the Receiver respectfully prays for judgment against
  20 Defendants as follows:
  21         1.    For all applicable damages to the Receivership Entities proximately
  22               caused by Wells Fargo’s tortious conduct, including punitive damages
  23               pursuant to California Civil Code § 3294, and treble damages
  24               pursuant to California Penal Code § 496(c); in an amount to be
  25               determined at trial;
  26         2.    For the return of funds acquired by Wells Fargo through fraudulent
  27               transfers and/or unjust enrichment at the expense of the Receivership
  28               Entities, including, but not limited to, funds acquired as fraudulent
                                                 86                   Case No. ___________
                                                                  RECEIVER’S COMPLAINT
                                     FTCSER-106
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 Case2:18-cv-09573-JFW-JPR
      3:21-cv-01245-AJB-JLB Document
                            Document219-3
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                                                  01/18/22
                                                        PageID.88
                                                           Page 89 Page
                                                                   of 89 88Page
                                                                            of 88ID
                                   #:5555



   1              obligations supposedly owed to the Wells Fargo by the Receivership
   2              Entities;
   3        3.    For imposition of a constructive trust in favor of the Receiver as to all
   4              funds received by Wells Fargo from the Receivership Entities;
   5        4.    For a judgment ordering Wells Fargo to file an accounting, under
   6              oath, as requested herein;
   7        5.    For pre- and post- judgment interest;
   8        6.    For attorneys’ fees and costs: and
   9        7.    For such other and further relief as the Court may deem proper.
  10 XIV. JURY DEMAND
  11        The Receiver demands a jury trial.
  12                                           Respectfully Submitted,
  13
  14 DATED: July 8, 2021                       By:/s/ Lionel Z. Glancy
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  27
  28
                                                 87                 Case No. ___________
                                                                RECEIVER’S COMPLAINT
                                   FTCSER-107
Case 2:18-cv-09573-JFW-JPR Document 219-1 Filed 01/18/22 Page 2 of 28 Page ID
                                 #:5436



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 11
      Wells Fargo & Company and Wells Fargo Bank N.A.

 12
                         UNITED STATES DISTRICT COURT
 13
                       CENTRAL DISTRICT OF CALIFORNIA
 14
      FEDERAL TRADE                         CASE NO. 18-cv-9573-JFW (JPRx)
 15 COMMISSION,

 16                                         The Hon. John F. Walter
                 Plaintiff,
 17        vs.                              EXHIBIT 1 - WELLS FARGO’S
 18                                         ANTICIPATED MOTION TO
    APEX CAPITAL GROUP, LLC,                MODIFY EXISTING ORDERS TO
 19 et al.,                                 ALIGN WITH CURRENT LAW
 20              Defendants.                Date: TBA
 21                                         Time: TBA
 22                                         Div.: TBA

 23                                         Complaint Filed: November 14, 2018
 24

 25

 26

 27

 28

       EXHIBIT 1 - WELLS FARGO’S ANTICIPATED MOTION TO MODIFY EXISTING ORDERS TO ALIGN
                                       WITH CURRENT LAW
                                  FTCSER-108
Case 2:18-cv-09573-JFW-JPR Document 219-1 Filed 01/18/22 Page 3 of 28 Page ID
                                 #:5437



  1
                     MEMORANDUM OF POINTS AND AUTHORITIES
  2
      I.       INTRODUCTION
  3
               Wells Fargo has been sued by the Court-appointed Receiver in this case,
  4
      Thomas McNamara (“Receiver” or “McNamara”) for tens of millions of dollars
  5
      left unpaid by the actual Defendants to the above-captioned Federal Trade
  6
      Commission (“FTC”) enforcement action. Both the appointment of the Receiver
  7
      and the underlying Stipulated Settlements that serve as the foundation of the
  8
      Receiver’s claims against Wells Fargo were founded primarily, if not entirely,
  9
      upon long-prevailing, albeit erroneous, Circuit precedent that the equitable
 10
      authority under Section 13(b) of the FTC Act permitted a district court to directly
 11
      impose, and the FTC and court-appointed receivers to directly seek, monetary
 12
      judgments for violations of the FTC Act. In AMG Capital Mgmt., LLC, 141 S. Ct.
 13
      1341, 1352 (2021), the Supreme Court unanimously held that Section 13(b)’s
 14
      injunction provisions never empowered courts with equitable authority to award
 15
      monetary relief. The Supreme Court further noted that the FTC could secure
 16
      monetary recovery, in some instances, either by first proceeding administratively
 17
      or under the more restrictive statutory requirements set forth in Section 19 of the
 18
      FTC Act (“Section 19”).
 19
               Following AMG Capital, Wells Fargo is in the perverse position where it is
 20
      being pursued to backfill judgments that the FTC suspended against the actual
 21
      wrongdoers, which were issued erroneously based on now-overturned precedent.
 22
      The Receiver continues to pursue this relief in full against Wells Fargo based on
 23
      authorization set forth in pre-AMG Capital orders that failed to tailor the scope of
 24
      the receivership to align with the limitations that Section 13(b) and Section 19
 25
      impose on the Receiver’s equitable authority. To rectify that error, this Court,
 26
      which has kept jurisdiction over the Stipulated Settlements and has ongoing
 27
      supervision responsibilities over the receivership, should make a finding that the
 28
                                                 1
           EXHIBIT 1 - WELLS FARGO’S ANTICIPATED MOTION TO MODIFY EXISTING ORDERS TO ALIGN
                                           WITH CURRENT LAW
                                      FTCSER-109
Case 2:18-cv-09573-JFW-JPR Document 219-1 Filed 01/18/22 Page 4 of 28 Page ID
                                 #:5438



  1 judgments were issued erroneously and should not be applied prospectively as to

  2 Wells Fargo and to modify the orders defining the terms of the receivership to

  3 bring its scope within the parameters established under current law.1 Alternatively,

  4 if this Court concludes that the monetary judgments within the Stipulated

  5 Settlements are final orders, it first should vacate those orders as applied to Wells

  6 Fargo pursuant to Federal Rules of Civil Procedure 60(b)(5) and 60(b)(6) and

  7 provide the remainder of the requested relief.

  8 II.       FACTUAL AND PROCEDURAL BACKGROUND
  9           A.    Procedural Background
 10                  (1) The FTC Enforcement Action and Appointment of
                       McNamara as Receiver
 11
              On November 14, 2018, the FTC, without first proceeding administratively,
 12
      filed an enforcement action against Apex Capital Group, LLC, eleven of its
 13
      affiliated entities (“Corporate Defendants”), and owners Phillip Peikos (“Peikos”)
 14
      and David Barnett (“Barnett”; collectively “Apex”), for allegedly engaging in
 15
      multiple types of fraudulent conduct in the online sale of approximately 50
 16
      products dating back to early 2014.2 Dkt. 1. The Complaint alleged five violations
 17
      of the FTC Act, 15 U.S.C. § 45(a), based on Apex’s use of unfair and deceptive
 18
      acts or practices, including: (1) misrepresentations of the price of trial offers;
 19
      (2) misrepresentations as to whether the purchase was singular or recurring
 20
      pursuant to a subscription plan; (3) the failure to include material terms of trial
 21

 22

 23   1
        The relief sought is narrow. Wells Fargo does not ask the Court to undo the
 24   stipulated judgments.
      2
        Notably, the Complaint repeatedly references how a different major U.S. bank
 25   housed the “single, centralized account” to which all of the allegedly illicitly
      obtained funds were funneled. Id. at 12, 14, 28. It only referenced Wells Fargo
 26   when discussing how defendants on select occasions doctored Wells Fargo checks
      and importantly did not ascribe any wrongdoing to Wells Fargo. Id. at 27-28. In
 27   fact, Wells Fargo was one of dozens of banks and payment processors where the
      defendants had accounts that they purportedly used to advance their allegedly
 28   illicit schemes. Dkt. 31 (Preliminary Report of Receiver), pp. 15-17.
                                                 2
          EXHIBIT 1 - WELLS FARGO’S ANTICIPATED MOTION TO MODIFY EXISTING ORDERS TO ALIGN
                                          WITH CURRENT LAW
                                     FTCSER-110
Case 2:18-cv-09573-JFW-JPR Document 219-1 Filed 01/18/22 Page 20 of 28 Page ID
                                  #:5454



   1 appointment,” citing Liberte Cap. Grp., LLC v. Capwill, 462 F.3d 543, 551 (6th

   2 Cir. 2006)); SEC v. Hardy, 803 F.2d 1034, 1037 (9th Cir. 1986) (Court’s authority

   3 to supervise receiver is “extremely broad”).

   4            G.    Rule 60(b)(5) Alternatively Requires the Orders Be Vacated as
   5                  Applied to Wells Fargo.
   6            Should the Court conclude that the relevant orders are final, it should vacate
   7 these orders pursuant to Rule 60(b)(5) to prevent inequitable enforcement and

   8 impose the relief requested above.15 Rule 60(b)(5) provides relief from a final

   9 judgment, in situations where “applying [a judgment or order] prospectively is no

  10 longer equitable.” Fed. R. Civ. P. 60(b)(5). Frew ex rel. Frew v. Hawkins, 540

  11 U.S. 431, 441 (2004);California v. U.S. EPA, 978 F.3d 708, 713 (9th Cir. 2020)

  12 (Rule 60(b)(5) is a malleable standard; “this flexibility is a virtue”). Relief is

  13 appropriate when a party seeking modification of an order establishes “that a

  14 significant change in facts or law warrants revision of the decree and that the

  15 proposed modification is suitably tailored to the change circumstance.” Rufo v.

  16 Inmates of Suffolk Cnty. Jail, 502 U.S. 367, 393 (1992); Bellevue Manor Assocs. v.

  17 U.S., 165 F.3d 1249, 1257 (9th Cir. 1999).

  18            The AMG Capital decision unquestionably represents a significant change
  19 in how the law relating to how the equitable scope of Section 13(b) is interpreted

  20 and applied.16 The Supreme Court detailed at length how the FTC has misapplied,

  21

  22   15
          This Court denied defendants Moskvins and SIA Transact Pro’s AMG Capital-
       based Section 60(b)(5) motion because the monetary judgment they previously
  23   stipulated to (and did not timely pay as required under the judgment) did not
       constitute a prospective judgment under Rule 60(b)(5). This is materially different
  24   than the position of Wells Fargo, which is being pursued prospectively by a
       Receiver appointed in equity who is proceeding on an inaccurate, but correctable,
  25   misapplication of the scope of its authority as set forth in this Court’s prior
       injunctive relief orders. Dkt. 207, p. 4-5.
  26   16
          The Supreme Court’s interpretation does not constitute a change in the law, as it
       interpreted the statute as it was always written. Instead, the change lies in
  27   discarding prior incorrect interpretations by lower courts, thereby replacing an
       interpretation that was contrary to law with a correct interpretation of that law.
  28
                                                  18
            EXHIBIT 1 - WELLS FARGO’S ANTICIPATED MOTION TO MODIFY EXISTING ORDERS TO ALIGN
                                            WITH CURRENT LAW
                                       FTCSER-111
Case 2:18-cv-09573-JFW-JPR Document 219-1 Filed 01/18/22 Page 21 of 28 Page ID
                                  #:5455



   1 and the courts – including the Ninth Circuit—have misinterpreted, Section 13(b)

   2 for decades to allow monetary relief when, in fact, the plain language of the

   3 provision did not allow for such relief. AMG Capital, 141 S. Ct. at 1344. The

   4 Court further recognized that its holding would significantly impact pending and

   5 future FTC enforcement actions by removing what had been the FTC’s principal

   6 enforcement tool and noted that if the FTC wished to seek monetary damages

   7 under Section 13(b), it needed to have Congress pass legislation that actually

   8 would allow for this. Id. at 1351-1352. The FTC, likewise, successfully has argued

   9 that the break with prior precedent “significantly changed the law in this Circuit,”

  10 when seeking an amended Judgment pursuant to Federal Rule of Civil Procedure

  11 59(e), after the Seventh Circuit issued its opinion. FTC v. Credit Bureau Center,

  12 LLC, Case No. 1:17-cv-00194, Dkt. 275 at 7 (N.D. Ill. May 6, 2021).

  13        Simply stated, the AMG Capital decision has “removed the legal basis for
  14 the continuing application of the court’s Order(s)” and therefore, relief should be

  15 granted under Rule 60(b)(5). California Dept. of Soc. Servs. v. Leavitt, 523 F.3d

  16 1025, 1032 (9th Cir. 2008); see also Agostini v. Felton, 521 U.S. 203, 237 (1997)

  17 (reviewing denial of the modification of an injunction sought under Rule 60(b)(5)

  18 following a change in the Supreme Court’s interpretation of the Establishment

  19 Clause, holding that trial court’s exercise of “discretion cannot be permitted to

  20 stand if we find it rests upon a legal principle that can no longer be sustained.”)

  21 Moreover, the requested modifications are directly tailored to the changed

  22 circumstance and are fully consistent with principles of equity. The Ninth Circuit

  23 has recognized “[an] unbroken line of Supreme Court cases makes clear that it is

  24 an abuse of discretion to deny a modification of an injunction after the law

  25 underlying the order changes to permit what was previously forbidden.” California

  26

  27
     Rivers v. Roadway Express, 511 U.S. 298, 312-13 (1994) (“judicial construction of
  28 a statute is an authoritative statement of what the statue meant before as well as
     after the decision of the case giving rise to construction”).
                                                19
        EXHIBIT 1 - WELLS FARGO’S ANTICIPATED MOTION TO MODIFY EXISTING ORDERS TO ALIGN
                                        WITH CURRENT LAW
                                    FTCSER-112
Case 2:18-cv-09573-JFW-JPR Document 219-1 Filed 01/18/22 Page 22 of 28 Page ID
                                  #:5456



   1 by & Through Becerra, 978 F.3d 708, 713-14 (9th Cir. 2020). The need is even

   2 greater here, where the change in the law makes clear that the law always forbade

   3 what previously had been thought permissible. The failure to correctly interpret

   4 Section 13(b) resulted in an overextension of the equitable authority granted by its

   5 injunctive provisions allowing for the erroneous recovery of monetary judgments

   6 and an equally erroneous overextension of the grant of equitable powers to the

   7 receivership. AMG Capital makes clear that it is “no longer equitable” to continue

   8 with enforcement of these erroneous interpretations. This court, therefore, should

   9 exercise its authority under Section 60(b)(5) and modify its orders in the narrowly

  10 tailored manner requested herein to bring them in alignment with current law.

  11            H.    This Court Should Exercise Discretion and Grant Relief Under
                      Rule 60(b)(6) Due to the Extraordinary Circumstances Involved
  12
                Rule 60(b)(6) permits a court to vacate a judgment for “any other reason
  13
       that justifies relief.”17 Fed. R. Civ. P. 60(b)(6). Relief under Rule 60(b)(6) requires
  14
       that a motion “be filed within a reasonable time, and it must demonstrate
  15
       ‘extraordinary circumstances’ justifying reopening the judgment. Extraordinary
  16
       circumstances occur where there are ‘other compelling reasons’ for opening the
  17
       judgment.” Bynoe v. Baca, 966 F.3d 972, 979 (9th Cir. 2020). The Ninth Circuit
  18
       has stated that Rule 60(b)(6)“should be liberally applied . . . so that, giving due
  19
       regard to the sound interest underlying the finality of judgments, the district court,
  20
       nevertheless, has power to grant relief from a judgment whenever, under all the
  21
       surrounding circumstances, such action is appropriate in the furtherance of
  22
       justice.” Henson v. Fid. Nat’l Fin. Servs., 943 F.3d 434, 443 (9th Cir. 2019).
  23
                “To assess a Rule 60(b)(6) motion ‘predicated on an intervening change in
  24

  25

  26   This Court denied Moskvins/SIA Transact Pro’s Rule 60(b)(6) motion primarily
       17

     because these defendants were aware the law could change in their favor, used this
  27 possibility to secure a beneficial plea agreement, made a conscious and informed
     decision to freely enter the settlement, and could not now seek extraordinary relief
  28 because they would have been better off had they adopted a different strategy. Dkt.
     207, p. 5-8. It is self-evident that none of these factors apply to Wells Fargo.
                                                  20
            EXHIBIT 1 - WELLS FARGO’S ANTICIPATED MOTION TO MODIFY EXISTING ORDERS TO ALIGN
                                            WITH CURRENT LAW
                                       FTCSER-113
Case 2:18-cv-09573-JFW-JPR Document 219-1 Filed 01/18/22 Page 23 of 28 Page ID
                                  #:5457



   1 the law,’ a district court must ‘evaluate the circumstances surrounding the specific

   2 motion before the court.” Id. (quoting Phelps v. Alameida, 569 F.3d 1120, 1133

   3 (9th Cir. 2009)). “A change in the controlling law can—but does not always—

   4 provide a sufficient basis for granting relief under Rule 60(b)(6).” Henson, 943

   5 F.3d at 444. In what it identified as a non-exhaustive list, the Ninth Circuit set

   6 forth six factors to guide courts in their exercise of discretion under Rule 60(b)(6)

   7 when determining if a change in law equates to an extraordinary circumstance:

   8 (1) the nature of the intervening change in law, (2) the movant’s interest in

   9 pursuing relief, (3) the parties’ reliance on the finality of the case, (4) the delay

  10 between the judgment and the Rule 60(b)(6) motion, (5) the relationship between

  11 the original judgment and the change in law, and (6) concerns of comity. Henson,

  12 943 F.3d at 445; see also Phelps, 569 F.3d at 444. Five of the factors favor Wells

  13 Fargo and one does not apply.18 Additional compelling equities support the relief

  14 requested. Balancing these equities, this Court should correct the orders defining

  15 the Receiver’s authority to bring them into compliance with the law because “such

  16 action is appropriate to accomplish justice.” Id. at 445.

  17                  (1)    AMG Capital’s Overturning of Decades of Controlling
                             Precedent Favors Relief
  18

  19
                The AMG Capital decision upended controlling precedent in the Ninth

  20
       Circuit, and until 2018, every other circuit that had ruled on the issue for

  21
       decades. FTC v. Credit Bureau Center, LLC, 937 F.3d at 776-786 (analyzing

  22
       development of circuit precedents nationwide).19 It represented a sea change in

  23
       the interpretation of Section 13(b) that strongly favors relief.

  24
       18
            This Court previously found that comity is not an applicable concern to an AMG
  25 Capital-based claim. Dkt. 207, p. 8; see also, Henson 943 F.3d at 453 (comity
     need not be considered if inapplicable to issue under review).
  26   In fact, AMG Capital came from this Circuit. While it included a concurrence
       19

     from Judge O’Scannlain calling for en banc review challenging the precedent,
  27 Judge O’Scannlain also wrote the 3-0 majority decision that quickly dismissed
     AMG Capital’s claim that Section 13(b) did not allow for monetary relief by
  28
                                                  21
            EXHIBIT 1 - WELLS FARGO’S ANTICIPATED MOTION TO MODIFY EXISTING ORDERS TO ALIGN
                                            WITH CURRENT LAW
                                       FTCSER-114
Case 2:18-cv-09573-JFW-JPR Document 219-1 Filed 01/18/22 Page 24 of 28 Page ID
                                  #:5458



   1         I.     Wells Fargo Diligently Pursued Relief and Filed its Motion in an
                    Acceptably Timely Manner
   2
             In assessing Rule 60(b)(6) factors, courts weigh the similar, but distinct,
   3
       concepts of diligence and delay. Delay embodies the principle that “a change in
   4
       the law should not indefinitely render preexisting judgments subject to potential
   5
       challenge [but rather should be brought . . .] with a promptness that respects ‘the
   6
       strong public interest in timeliness and finality.’” Id.
   7
             As addressed more fully in its intervention motion, Wells Fargo has been
   8
       both diligent and timely in pursuing relief and filing this motion. Wells Fargo was
   9
       not a party to this action, and therefore lacked standing to challenge the FTC’s
  10
       legal authority until: (a) the AMG Capital decision reset the precedent as to the
  11
       scope of equitable authority under Section 13(b), and (b) the Receiver filed its civil
  12
       lawsuit against Wells Fargo on July 8, 2021. See Latshaw v. Trainer Worhtam &
  13
       Co., 452 F.3d 1097, 1103 (9th Cir. 2006) (a party who moves for relief under Rule
  14
       60(b)(6) “must demonstrate both injury and circumstances beyond his control that
  15
       prevented him from proceeding with the action in a proper fashion” (internal
  16
       quotations omitted).). Additional necessary documents, including the TRO
  17
       appointing the Receiver and several communications to the Court explaining the
  18
       Receiver’s intent to sue Wells Fargo, were only unsealed by this Court on
  19
       December 10, 2021. Dkt. 213. Wells Fargo moved diligently to investigate and
  20
       research the material issues, file its intervention motion, and then timely file this
  21
       motion. See, e.g., Jones, 733 F.3d at 839 (17-month delay between intervening
  22
       change in law and Rule 60(b)(6) motion had little weight in either direction); see
  23
       also Ritter, 811 F.2d at 1402 (noting that motion filed 9 months after judgment
  24

  25

  26 citing to almost 25 years of contrary precedent that “squarely forecloses [AMG
     Capital’s] argument.” AMG Capital, 910 F.3d 426; see also, Federal Trade
  27 Commission v. Credit Bureau Center, LLC, 2021 WL 4146884 *7, 10 (granting
     FTC’s request to amend judgment under Section 54(e) following adverse Circuit
  28 ruling that that broke with precedent in finding monetary relief was not available
     under Section 13(b)).
                                                  22
         EXHIBIT 1 - WELLS FARGO’S ANTICIPATED MOTION TO MODIFY EXISTING ORDERS TO ALIGN
                                         WITH CURRENT LAW
                                      FTCSER-115
Case 2:18-cv-09573-JFW-JPR Document 219-1 Filed 01/18/22 Page 25 of 28 Page ID
                                  #:5459



   1 became final was “only a very brief delay”); Bynoe v. Baca, 966 F.3d 972, 981

   2 (9th Cir. 2020) (7-month delay was timely).

   3         J.     An Order Granting Relief Would Not Upset the Parties’
                    Interest in the Finality of the Case
   4

   5
             This is not a motion that will “‘undo the past executed effects of the

   6
       judgment’ thereby disturbing the parties’ reliance interest in the finality of the

   7
       case.” Phelps, 569 F.3d at 1137 (quoting Ritter v. Smith, 811 F.2d 1398, 1402

   8
       (11th Cir. 1987)). Instead, the Court can provide the relief requested without

   9
       undoing the settlements, leaving the FTC and the defendants in the same position

  10
       that they would have been in had this motion not been filed. As to the Receiver,

  11
       the orders relating to the scope of his authority are non-final and subject to this

  12
       Court’s supervision and modification. Moreover, the Receiver has no legitimate

  13
       interest in proceeding prospectively based on monetary judgment orders that are

  14
       known to have been erroneously issued. This factor favors Wells Fargo.

  15
             K.     The Change in Law Due to the AMG Capital Decision is Directly
                    Related to Wells Fargo’s Claim for Relief
  16

  17         Closeness in the relationship between the initial decision and the subsequent

  18 holding that represents a change in the law makes it more likely that the change will

  19 be deemed sufficiently extraordinary to justify disturbing the finality of the original

  20 judgment.” Phelps, 569 F.3d at 1139. As discussed at length above, the Supreme

  21 Court’s AMG Capital decision relates directly to the scope of equitable authority

  22 under Section 13(b),to include the availability of monetary judgment – the exact

  23 issues here. The FTC conceded when addressing challenges to the monetary

  24 judgment imposed against Moskvins and SIA Transact Pro that, given AMG

  25 Capital, they would not have been able to obtain the same monetary judgment. Dkt.

  26 197, p. 1. This Court, likewise, found its order imposing this judgment to be

  27 erroneous. Dkt. 207, p. 4. The same error exists with the Stipulated Settlements.

  28 Also, as discussed above, the AMG Capital decision profoundly impacts the scope
                                           23
         EXHIBIT 1 - WELLS FARGO’S ANTICIPATED MOTION TO MODIFY EXISTING ORDERS TO ALIGN
                                         WITH CURRENT LAW
                                     FTCSER-116
Case 2:18-cv-09573-JFW-JPR Document 219-1 Filed 01/18/22 Page 26 of 28 Page ID
                                  #:5460



   1 of equitable authority available to the receivership now that recovery must be

   2 limited to Section 19. This factor weighs strongly in favor of relief.

   3         L.    Other Compelling Considerations Further Warrant Relief
   4         In Henson, the court was clear that factors it enumerated “do not impose a
   5 rigid or exhaustive checklist… [and] a district court must evaluate the

   6 circumstances surrounding the specific motion before the court to ensure that

   7 justice [is] done in light of all the facts.” Id. at 453 (internal quotations omitted).

   8 Compelling due process considerations also warrant relief. As addressed above,

   9 failure to act will mean that an agent of a United States District Court, erroneously

  10 empowered with an overbroad grant of equitable authority, will prospectively seek

  11 to recover monetary damages on behalf of the FTC, to backfill a judgment that was

  12 erroneously issued, for conduct that the FTC lacks lawful authority to secure

  13 monetary damages, while pursuing types damages expressly prohibited by the one

  14 provision within the FTC Act that potentially could allow for the recovery of

  15 monetary damages. A circumstance this unjust should never occur, but what makes

  16 the situation particularly egregious is that the party perpetuating the injustice was

  17 appointed by, is subject to the ongoing supervision of, and serves as an agent of

  18 this Court. Rule 60(b)(6) relief is warranted.

  19 IV.     CONCLUSION
  20         For the reasons set forth herein, Wells Fargo requests this Court find that the
  21 monetary judgments cannot be applied prospectively to Wells Fargo and modify

  22 the orders settling forth the terms of the receivership so that they are alignment

  23 with current law.

  24

  25 DATED: January _, 2022                 Respectfully submitted,
  26
                                            MCGUIREWOODS LLP
  27

  28
                                                 24
        EXHIBIT 1 - WELLS FARGO’S ANTICIPATED MOTION TO MODIFY EXISTING ORDERS TO ALIGN
                                        WITH CURRENT LAW
                                     FTCSER-117
     Case 2:18-cv-09573-JFW-JPR Document 207 Filed 09/03/21 Page 1 of 8 Page ID #:5133




                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES -- GENERAL

Case No.      CV 18-9573-JFW(JPRx)                                        Date: September 3, 2021

Title:        Federal Trade Commission -v- Apex Capital Group, et al.

PRESENT:
              HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                                None Present
              Courtroom Deputy                              Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                   ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                None

PROCEEDINGS (IN CHAMBERS):               ORDER DENYING DEFENDANTS SIA TRANSACT
                                         PRO’S AND MARK MOSKVINS’S MOTION TO MODIFY,
                                         VACATE, OR SET ASIDE MONETARY PORTION OF
                                         STIPULATED PERMANENT INJUNCTION AND
                                         MONETARY JUDGMENT [filed 7/9/21; Docket No. 182]

       On July 9, 2021, Defendants Sia Transact Pro (“Sia”) and Mark Moskvins (“Moskvins”)
(collectively, the “Transact Pro Defendants”) filed a Motion to Modify, Vacate, or Set Aside
Monetary Portion of Stipulated Permanent Injunction and Monetary Judgment (“Motion”). On
August 9, 2021, Plaintiff the Federal Trade Commission (the “FTC”) filed its Opposition. On August
16, 2021, Defendants filed a Reply. Pursuant to Rule 78 of the Federal Rules of Civil Procedure
and Local Rule 7-15, the Court found the matter appropriate for submission on the papers without
oral argument. The matter was, therefore, removed from the Court’s August 30, 2021 hearing
calendar and the parties were given advance notice. After considering the moving, opposing, and
reply papers, and the arguments therein, the Court rules as follows:

I.       Factual and Procedural Background

      On November 14, 2018, the FTC filed a Complaint against Apex Capital Group, LLC
(“Apex”), together with its two United States based principals, Phillip Peikos (“Peikos”) and David
Barnett (“Barnett”), Omni Group Ltd. (“Omni”), and ten United Kingdom registered shell
companies1 (collectively, the “Apex Defendants”). Docket No. 1. On May 30, 2019, the FTC filed a


         1
         The ten United Kingdom registered shell companies include Capstone Capital Solutions
Limited, Clik Trix Limited, Empire Partners Limited, Interzoom Capital Limited, Lead Blast Limited,
Mountain Venture Solutions Limited, Nutra Global Limited, Rendezvous It Limited, Sky Blue Media
Limited, and Tactic Solutions Limited.

                                           Page 1 of 8                         Initials of Deputy Clerk sr


                                          FTCSER-118
      Case 2:18-cv-09573-JFW-JPR Document 207 Filed 09/03/21 Page 2 of 8 Page ID #:5134




First Amended Complaint, which added the Transact Pro Defendants. Docket No. 73. In the First
Amended Complaint, the FTC alleged two claims against the Transact Pro Defendants: (1) credit
card laundering in violation of Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45
(“FTC Act”) (Count VI); and (2) chargeback manipulation in violation of Section 5 of the FTC Act
(Count VII).2 The FTC alleged that the Apex Defendants engaged in a scheme to offer phony “free
trials” of personal care products and dietary supplements in order to obtain consumers’ credit and
debit card information and then placed recurring charges on the cards without the consumers’
authorization. The FTC also alleged that the Apex Defendants and Transact Pro Defendants
worked together to perpetuate this scheme through credit card laundering and chargeback
manipulation. The FTC sought, amongst other remedies, equitable monetary relief under Section
13(b) of the FTC Act.

       On January 15, 2020, the Court entered a Stipulated Order for Permanent Injunction and
Monetary Judgment (“Stipulated Judgment”) pursuant to a settlement between the FTC and the
Transact Pro Defendants. See Docket Nos. 141 and 142. In the Stipulated Judgment, the FTC
and the Transact Pro Defendants agreed that the Transact Pro Defendants would pay $3.5 million
“within ten (10) days.” Stipulated Judgment, 20:9-12. In addition, the Transact Pro Defendants
“waive[d] all rights to appeal or otherwise challenge or contest the validity of this Order.” Id., at
2:17-18.

        On April 22, 2021, in an unrelated action, the Supreme Court unanimously held that Section
13(b) of the FTC Act does not authorize the FTC to seek, or a court to award, equitable monetary
relief. AMG v. Capital Management, LLC v. Federal Trade Commission, 141 S.Ct. 1341, 1344
(2021).

II.      Legal Standard

       Federal Rule of Civil Procedure 60(b) provides for reconsideration of a final judgment or
order where one or more of the following is shown: (1) “mistake, inadvertence, surprise or
excusable neglect”; (2) “newly discovered evidence that, with reasonable diligence, could not have
been discovered in time to move for a new trial under Rule 59(b)”; (3) “fraud . . . ,
misrepresentation, or misconduct by an opposing party”; (4) “the judgment is void”; (5) “the
judgment has been satisfied, released, or discharged”; (6) “any other reason that justifies relief.”
Fed. R. Civ. P. 60(b).

       In exercising its discretion in determining whether Rule 60(b) applies, courts should be
mindful that there is a compelling interest in finality of judgments and final judgments should not be
disturbed lightly. See Matton Steamboat Co. v. Murphy, 319 U.S. 412, 415 (1943) (“The purpose
of statutes limiting the period for appeal is to set a definite point of time when litigation shall be at
an end, unless within that time the prescribed application has been made; and if it has not, to
advise prospective appellees that they are freed of the appellant's demands”); Paddington Partners
v. Bouchard, 34 F.3d 1132, 1144 (2d Cir. 1994) (Rule 60 “preserves a balance between serving


         2
        On September 11, 2019, the Court entered a Stipulated Order for Permanent Injunction
and Monetary Judgment as to the Apex Defendants pursuant to a settlement between the FTC and
the Apex Defendants. See Docket Nos. 120 and 121.

                                              Page 2 of 8                          Initials of Deputy Clerk sr


                                            FTCSER-119
   Case 2:18-cv-09573-JFW-JPR Document 207 Filed 09/03/21 Page 3 of 8 Page ID #:5135




the ends of justice and ensuring that litigation reached an end within a finite period of time”). Thus,
“[r]econsideration for any of the reasons set forth in Rule 60(b) is an ‘extraordinary remedy that
works against the interest of finality and should be applied only in exceptional circumstances.’”
Audionics Sys., Inc. v. AAMP of Fla., Inc., 2015 WL 11201243, at *7 (C.D. Cal. Nov. 4, 2015)
(citations omitted). “Motions for relief from judgment pursuant to Rule 60(b) are
addressed to the sound discretion of the district court and will not be reversed absent an
abuse of discretion.” Casey v. Albertson’s Inc., 362 F.3d 1254, 1257 (9th Cir. 2004).

III.   Discussion

       In light of the Supreme Court’s holding in AMG, the Transact Pro Defendants now seek to
set aside that portion of the Stipulated Judgment requiring the Transact Pro Defendants to pay
$3.5 million in equitable monetary relief on the grounds that: (1) it is void for lack of jurisdiction
pursuant to Rule 60(b)(4); (2) prospective enforcement of the equitable monetary relief portion of
the Stipulated Judgment would be inequitable pursuant to Rule 60(b)(5); and (3) the profound
change in law announced by the Supreme Court in AMG creates “extraordinary circumstances”
necessitating relief pursuant to Rule 60(b)(6). The FTC argues that the Transact Pro Defendants’
Motion is meritless, and that the Transact Pro Defendants settled despite knowing that the
Supreme Court was reviewing the issue of whether Section 13(b) of the FTC Act authorized the
FTC to seek equitable monetary relief.

       A.     Rule 60(b)(4)

        The Transact Pro Defendants argue that the Court should vacate the equitable monetary
relief portion of the Stipulated Judgment pursuant to Rule 60(b)(4). Specifically, the Transact Pro
Defendants argue that because Section 13(b) never permitted the FTC to recover monetary relief,
that portion of the Stipulated Judgment is invalid because the Court lacked jurisdiction to enter it.
The FTC argues that the Transact Pro Defendants waived their right to challenge the validity of the
Stipulated Judgment. In addition, the FTC argues that specific provisions of the FTC Act are not
the only source of the Court’s jurisdiction over this action, and, as a result, a misinterpretation of
those provisions cannot render the Stipulated Judgment void.

       As the Supreme Court held in United Student Aid Funds, Inc. v. Espinosa, 559 U.S. 260,
270 (2010), “[a] judgment is not void . . . simply because it is or may have been erroneous.”
“Instead, Rule 60(b)(4) applies only in the rare instance where a judgment is premised either on a
certain type of jurisdictional error or on a violation of due process that deprives a party of notice or
the opportunity to be heard.” Id. at 271 (citations omitted). “Total want of jurisdiction must be
distinguished from an error in the exercise of jurisdiction, and only rare instances of a clear
usurpation of power will render a judgment void.” Id. (quoting United States v. Boch Oldsmobile,
Inc., 909 F.2d 657, 661 (1st Cir. 1990)) (internal alterations and quotation marks omitted). “[T]he
scope of what constitutes a void judgment is narrowly circumscribed, and judgments are deemed
void only where the assertion of jurisdiction is truly unsupported.” Hoffmann v. Pulido, 928 F.3d
1147, 1151 (9th Cir. 2019). For example, in Hoffmann, the Ninth Circuit denied the plaintiff relief
under Rule 60(b)(4), holding that although the magistrate judge lacked statutory authority to
dismiss his complaint, the dismissal was “[a]t worst, . . . an error regarding the contours of a
magistrate judge’s authority pursuant to 28 U.S.C. § 636,” which “is not equivalent to acting with
total want of jurisdiction and does not render the judgment a complete nullity.” Hoffman, 928 F.3d

                                              Page 3 of 8                          Initials of Deputy Clerk -sr-


                                            FTCSER-120
  Case 2:18-cv-09573-JFW-JPR Document 207 Filed 09/03/21 Page 4 of 8 Page ID #:5136




at 1151. The Ninth Circuit held that because there was “plainly an ‘arguable basis’” for the
magistrate judge’s assertion of jurisdiction – namely, that magistrate judges had routinely
dismissed actions in similar situations prior to a recent Ninth Circuit decision prohibiting the
practice – the judgment did not “fall into the narrowly circumscribed set of void judgments” under
Rule 60(b)(4). Id. Similarly, in United States v. Philip Morris USA Inc., 840 F.3d 844, 850 (D.C.
Cir. 2016), the D.C. Circuit held that a court’s authority to fashion relief under a particular statute is
“fundamentally different from a court’s subject matter jurisdiction over a case and from its personal
jurisdiction over the parties, both of which concern the power to proceed with a case at all.” As a
result, the D.C. Circuit concluded that “Rule 60(b)(4) does not permit relief where a court has
exceeded its remedial authority” because “[s]uch errors are simply not the type of fundamental
defects the [Supreme] Court had in mind in Espinosa.” Id. at 276 (citing Boch Oldsmobile, Inc.,
909 F.2d at 662 (“Consent decrees that run afoul of the applicable statutes lead to an erroneous
judgment, not to a void one”)).

       In this case, the Court concludes that the portion of the Stipulated Judgment granting the
FTC equitable monetary relief was erroneous because it was not authorized by Section 13(b).
However, the Court also concludes that portion of the Stipulated Judgment was not void within the
meaning of Rule 60(b)(4) because, as in Hoffman, there was plainly an “arguable basis” for the
Court’s exercise of jurisdiction in issuing the Stipulated Judgment, namely that the Ninth Circuit at
the time construed Section 13(b) as authorizing courts to fashion equitable monetary relief. See,
e.g., Federal Trade Commission v. Pantron I Corp., 33 F.3d 1088, 1102 (9th Cir. 1994). In
addition, the Court agrees with the reasoning of the D.C. Circuit in Philip Morris that Rule 60(b)(4)
does not permit relief where a court has merely exceeded its remedial authority. Otherwise,
“[c]omplex remedial schemes in voting rights, securities fraud, affirmative action, prison conditions,
and scores of other cases could all be challenged [under Rule 60(b)(4)] on the ground that the
remedies imposed were, in one litigant’s view, unauthorized by the statute at issue.” Philip Morris,
840 F.3d at 851. Such a broad reading of Rule 60(b)(4) would contravene the Supreme Court’s
warning in Espinosa that the list of defects rendering a judgment void must be “‘exceedingly short,’
lest ‘Rule 60(b)(4)’s exception to finality swallow the rule.’” Id. (quoting Espinosa, 559 U.S. at 270)
(internal alterations omitted).

       Accordingly, the Transact Pro Defendants are not entitled to relief under Rule 60(b)(4).

       B.     Rule 60(b)(5)

        The Transact Pro Defendants argue that the Court should vacate the equitable monetary
relief portion of the Stipulated Judgment because Rule 60(b)(5) permits a court to vacate a
judgment when “applying it prospectively is no longer equitable.” Because the Transact Pro
Defendants never paid the $3.5 million in equitable monetary relief, they argue that the equitable
monetary relief portion of the Stipulated Judgment is prospective. The FTC argues that the
overwhelming weight of authority establishes that monetary judgments are not “prospective” within
the meaning of Rule 60(b)(5).

       Rule 60(b)(5) provides that a court may relieve a party from a final judgment where “the
judgment has been satisfied, released or discharged; it is based on an earlier judgment that has
been reversed or vacated; or applying it prospectively is no longer equitable.” However, the
portion of Rule 60(b)(5) that provides a court may relieve a party from final judgment where

                                              Page 4 of 8                           Initials of Deputy Clerk -sr-


                                             FTCSER-121
  Case 2:18-cv-09573-JFW-JPR Document 207 Filed 09/03/21 Page 5 of 8 Page ID #:5137




“applying it prospectively is no longer equitable” only applies to prospective injunctive relief, and
not the monetary judgment challenged by the Transact Pro Defendants. See California by &
though Becerra v. U.S. Environmental Protection Agency, 978 F.3d 708, 713-17 (9th Cir. 2020)
(discussing Rule 60(b)(5) as the standard for modifying an injunction “with prospective effect,” in
contrast to “judgments that offer a present remedy for a past wrong”). Indeed, a provision of an
order only has “prospective application” under Rule 60(b)(5) if it is “executory” or involves “the
supervision of changing conduct or conditions.” Twelve John Does v. District of Columbia, 841
F.2d 1133, 1138-39 (D.C. Cir. 1988) (“That a court’s action has continuing consequences,
however, does not necessarily mean that it has ‘prospective application’”). Monetary judgments
are not executory and do not require the supervision of changing conduct. See, e.g., Cook v.
Birmingham News, 618 F.2d 1149, 1152 (5th Cir. 1980) (contrasting provisions “that have
prospective effect . . . with those that offer a present remedy for a past wrong”); United States v.
Eyler, 778 F. Supp. 1553, 1557 (M.D. Fla. 1991) (back pay award is “present” rather than
“prospective” remedy). In addition, the fact that a monetary judgment has not yet been paid does
not make it “prospective.” See, e.g., Stokors S.A. v. Morrison, 147 F.3d 759, 762 (8th Cir. 1998)
(“[W]hile the judgment against Morrison may be ‘prospective’ to the extent that he has failed to pay
it in a timely manner, it is . . . not ‘prospective’ for purposes of Rule 60(b)(5)”); see also 12 Federal
Practice, § 60.47[1][b] (2021) (“Even if the judgment debtor has not yet paid the judgment . . . it is
not ‘prospective,’ since it is not executory and involves no judicial supervision of changing conduct
or conditions”); Flexiteek Americas, Inc. v. PlasTEAK, Inc., 2012 WL 5364263, *6 (S.D. Fla. Sept.
10, 2012) (concluding that judgment does not qualify as “prospective” under Rule 60(b)(5) even
“where a money judgment is ‘prospective’ in the more general sense that it remains unpaid”),
modified on other grounds, 2012 WL 5364247 (S.D. Fla. Oct. 31, 2012).

       Accordingly, the Transact Pro Defendants are not entitled to relief under Rule 60(b)(5).

       C.     Rule 60(b)(6)

        The Transact Pro Defendants argue that the Court should vacate the equitable monetary
relief portion of the Stipulated Judgment pursuant to Rule 60(b)(6) because there was a “profound”
change in the law announced by the Supreme Court in AMG and this “extraordinary circumstance .
. . overrides any otherwise usual consideration of finality of interest.” Motion, 5: 11-16. The
Transact Pro Defendants also argue that it would be a “manifest injustice” if the FTC attempts to
enforce the equitable monetary relief portion of the Stipulated Judgment. The FTC argue that free,
calculated, and deliberate choices, such as the one the Transact Pro Defendants made in deciding
to settle this action, can never form the basis for Rule 60(b)(6) relief.

         Rule 60(b)(6) is a “catch-all” provision allowing for relief from a judgment or order for “any
other reason that justifies relief.” Latshaw v. Trainer Wortham & Co., Inc., 452 F.3d 1097, 1102
(9th Cir. 2006). This rule is used to prevent “manifest injustice” where “extraordinary
circumstances” are present. Id. However, when “a party makes a conscious and informed choice
of litigation strategy, [that party] cannot seek extraordinary relief [under Rule 60(b)(6)] merely
because his assessment of the consequences was incorrect.” In re Master Key Antitrust Litig., 76
F.R.D. 460, 464 (D. Conn. 1977), aff’d, 580 F.2d 1045 (2d Cir. 1978). For example, in Ackermann
v. United States, 340 U.S. 193 (1950), the Supreme Court reviewed a motion to vacate filed by a
party who declined to appeal, only to have a similarly situated co-party successfully appeal. Id. at
194-95. The Supreme Court declined to give the petitioner the benefit of an appeal he chose not

                                              Page 5 of 8                          Initials of Deputy Clerk -sr-


                                            FTCSER-122
  Case 2:18-cv-09573-JFW-JPR Document 207 Filed 09/03/21 Page 6 of 8 Page ID #:5138




to take:

       His choice was a risk, but calculated and deliberate and such as follows a free
       choice. Petitioner cannot be relieved of such a choice because hindsight seems to
       indicate to him that his decision not to appeal was probably wrong . . . There must be
       an end to litigation someday, and free, calculated, deliberate choices are not to be
       relieved from.

Id. at 198; see also Schwartz v. United States, 129 F.R.D. 117, 123 (D. Md. 1990) (refusing to
vacate settlement under Ackermann where plaintiff chose “to forgo the risk of litigation and settle,”
reflecting an “exercise of free will”), aff’d, 976 F.2d 213 (4th Cir. 1992). In addition, in Master Key,
76 F.R.D. at 462, the remote purchaser plaintiffs sued the manufacturer defendants pursuant to
Section 4 of the Clayton Act. After the parties settled, “the Supreme Court held [in an unrelated
action] that remote purchasers have no cause of action against manufacturers pursuant to § 4 of
the Clayton Act.” Id. (citing Illinois Brick Co. v. Illinois, 431 U.S. 720 (1977)). However, the court
denied the defendants’ subsequent Rule 60(b) motion to set aside the settlement, and concluded
that “[t]he holding in Ackermann is controlling here.” Id. at 464.

        In this case, as in Ackermann and Master Key, the Transact Pro Defendants decided to
settle this case and freely entered into the Stipulated Judgment, and, as a result, cannot be
relieved of those decisions simply because those decisions now seem ill conceived. Indeed,
before deciding to settle, the Transact Pro Defendants were fully aware of the challenges to the
FTC’s authority to recover equitable monetary relief pursuant to Section 13(b). Specifically, on
August 21, 2019, while the FTC pursued its Section 13(b) case against the Transact Pro
Defendants, the Seventh Circuit held in Federal Trade Commission v. Credit Bureau Center, LLC,
937 F.3d 764, 767 (7th Cir. 2019), “that section 13(b) does not authorize restitutionary relief.” The
next day, Moskvins sent a copy of the Credit Bureau case to his attorneys, stating that “[a]ttached
is [an] example of [a] recently won case that may be helpful in terms of [the] FTC[’s] power to
collect money.” In addition, Moskvins subsequently forwarded his attorneys an email with the
subject line: “BREAKING: FTC Loses Authority to Collect Damages?” Moskvins’s email
contained a link to a website that had posted an article entitled, “Seventh Circuit Drops Bomb on
FTC,” which stated “[m]ake no mistake. The FTC’s remedial authority is now in doubt.” The article
also stated that “[t]he potential impact of this decision is significant and has potentially presented
interesting opportunities for defendants facing FTC enforcement lawsuits.” One of the Transact
Pro Defendants’ attorneys responded to Moskvins and stated: “[g]reat case, Mark. The Seventh
Circuit’s opinion creates a circuit split on monetary recovery, which will obviously be an important
issue for us down the road.” Moreover, the Transact Pro Defendants and their attorneys relied on
the Seventh Circuit decision in Credit Bureau during the parties’ mediation and subsequent
settlement discussions to negotiate a favorable settlement because of the risk that the FTC might
lose its authority to seek equitable monetary relief. Therefore, in light of the fact that the Transact
Pro Defendants, and their attorneys, knew about the challenges to the FTC’s authority to recover
equitable monetary relief pursuant to Section 13(b) and, indeed, used those challenges to
negotiated a more favorable settlement, the Transact Pro Defendants are not entitled to relief




                                              Page 6 of 8                          Initials of Deputy Clerk -sr-


                                            FTCSER-123
  Case 2:18-cv-09573-JFW-JPR Document 207 Filed 09/03/21 Page 7 of 8 Page ID #:5139




under Rule 60(b)(6).3

        In response, the Transact Pro Defendants argue that Ackermann and Master Key do not
prevent this Court from applying the seven factor test set forth in Phelps v. Alameida, 569 F.3d
1120 (9th Cir. 2009), and applied in Henson v. Fidelity National Financial, Inc., 943 F.3d 434 (9th
Cir. 2019). Applying the Phelps factors, the Transact Pro Defendants argue that they are entitled
to relief pursuant to Rule 60(b)(6). In Phelps, the Ninth Circuit considered six factors in
determining whether relief under Rule 60(b)(6) was warranted: (1) “the nature of the intervening
change in the law”; (2) the movant’s “interest in pursuing relief”; (3) the parties’ “reliance interest in
the finality of the case”; (4) “the delay between the judgment and the Rule 60(b) motion”; (5) “the
relationship between the original judgment and the change in the law”; and (6) “concerns of
comity.” Phelps, 569 F.3d at 1135-39. However, the Ninth Circuit cautioned that its discussion of
the Phelps factors, which arose in the habeas corpus context, “was not meant to impose a rigid or
exhaustive checklist, because Rule 60(b)(6) is a grand reservoir of equitable power, and it affords
courts the discretion and power to vacate judgments whenever such action is appropriate to
accomplish justice.” Id. at 445 (citing Phelps, 569 F.3d at 1135) (internal quotation marks and
alterations omitted). In addition, the Ninth Circuit held that, especially when “a district court is
faced with applying [the Phelps] factors in an entirely new context, the court should assess how
that different context might alter the calculus of the factors’ application, and whether those factors
adequately capture all of the relevant circumstances.” Id. at 446. In other words, the Ninth Circuit
requires courts to “consider all of the relevant circumstances surrounding the specific motion
before the court in order to ensure that justice be done in light of all the facts.” Id. at 440.
Moreover, the Ninth Circuit cautioned that “a change in the controlling law can – but does not
always – provide a sufficient basis for granting relief.” Id. at 444 (holding that “[t]o assess a Rule
60(b)(6) motion predicated on an intervening change in the law, a district court must evaluate the
circumstances surrounding the specific motion before the court” and that this “case-by-case inquiry
requires the trial court to intensively balance numerous factors, including the competing policies of
the finality of judgments and the incessant command of the court’s conscience that justice be done
in light of all the facts”) (citing Phelps, 569 F.3d at 1132-33) (internal quotation marks and
alterations omitted).

        In this case, even assuming that the Phelps factors apply (and it is not clear that they do),
those factors weigh heavily against finding that the Transact Pro Defendants have established
“extraordinary circumstances” necessitating relief under Rule 60(b)(6). With respect to the first
factor regarding nature of the intervening change in law, although the Transact Pro Defendants
argue that the Supreme Court overturned “settled” precedent in AMG, it is not clear that the


       3
         Although Moskvins submitted a declaration with his Motion stating that he “was unaware
of any legal challenges to the FTC’s monetary authority” when he chose to settle, Moskvins
submitted a supplemental declaration with his Reply acknowledging his previous declaration was
misleading and not accurate, claiming that, at the time he signed his previous declaration, he “did
not have a ready recollection of legal aspects of events occurring in the case two years ago.”
According to Moskvins, his review of the FTC’s Opposition and accompanying evidence had
suddenly “refreshe[d] [his] recollection” that he had been aware of the Seventh Circuit’s holding in
Credit Bureau and that his attorneys had discussed that case in the Transact Pro Defendants’
mediation brief and at the mediation.

                                              Page 7 of 8                           Initials of Deputy Clerk sr


                                             FTCSER-124
  Case 2:18-cv-09573-JFW-JPR Document 207 Filed 09/03/21 Page 8 of 8 Page ID #:5140




precedent was “settled” because a circuit split existed regarding the FTC’s ability to seek equitable
monetary relief pursuant to Section 13(b). Indeed, Judge O’Scannlain stated in his concurrence in
FTC v. AMG Capital Management, LLC, 910 F.3d 417. 429 (9th Cir. 2018), that the Ninth Circuit’s
decision to follow earlier precedent concluding that the FTC could recover equitable monetary relief
pursuant to Section 13(b) was “unfortunate” and an “impermissible exercise of judicial creativity”
that “contravenes the basic separation-of-powers principle that leaves to Congress the power to
authorize (or to withhold) rights and remedies.” With respect to the second factor regarding
pursuing relief and the third factor regarding the parties’ reliance interest in the finality of the case,
the Transact Pro Defendants were fully aware that a change in the law was possible, if not
probable. Despite this awareness, the Transact Pro Defendants made an informed decision to
choose the certainty and finality of a comparatively favorable settlement, rather than to incur
additional expenses and risk the possibility of a far greater monetary judgment if there was no
change in the law. The fourth factor regarding the delay between the judgment and the Rule 60(b)
motion favors the Transact Pro Defendants because they filed their Rule 60(b) motion within a
reasonable time after the Supreme Court’s decision in AMG. The fifth factor, which looks at the
closeness of the relationship between the decision resulting in the original judgment and the
subsequent decision that represents a change in the law, does not apply in this case because the
original judgment was the result of a settlement. Similarly, the sixth factor, the need for comity
between the independently sovereign state and federal judiciaries, does not apply.

       Accordingly, the Transact Pro Defendants are not entitled to relief under Rule 60(b)(6).

IV.    Conclusion

       For all the foregoing reasons, Defendants’ Motion is DENIED.

       IT IS SO ORDERED.




                                              Page 8 of 8                          Initials of Deputy Clerk -sr-


                                            FTCSER-125
Case 2:18-cv-09573-JFW-JPR Document 144-1 Filed 02/04/20 Page 1 of 7 Page ID
                                 #:4410


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 3 San Diego, California 92101
   Telephone: 619-269-0400
 4 Facsimile: 619-269-0401
 5 Attorneys for Receiver,
   Thomas W. McNamara
 6
 7
 8                      UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10
11 FEDERAL TRADE COMMISSION,                    Case No. 2:18-cv-09573-JFW (JPRx)
12                    Plaintiff,                MEMORANDUM OF POINTS AND
                                                AUTHORITIES IN SUPPORT OF
13        v.                                    RECEIVER’S MOTION FOR
                                                AUTHORIZATION TO ENGAGE
14 APEX CAPITAL GROUP, LLC, et al.,             CONTINGENT FEE COUNSEL
15                    Defendants.               JUDGE:    Hon. John F. Walter
                                                CTRM:     7A
16                                              DATE:     March 9, 2020
                                                TIME:     1:30 p.m.
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                                                Case No. 2:18-cv-09573-JFW (JPRx)
      MPAs ISO RECEIVER’S MOT. FOR AUTH. TO ENGAGE CONTINGENT FEE COUNSEL
                                   FTCSER-126
Case 2:18-cv-09573-JFW-JPR Document 144-1 Filed 02/04/20 Page 2 of 7 Page ID
                                 #:4411


 1            Thomas W. McNamara, in his capacity as Court-appointed receiver
 2 (“Receiver”), respectfully requests for the reasons identified in this motion that the
 3 Court authorize his retention of contingent-fee counsel to pursue a lawsuit against
 4 Wells Fargo and Company (“Wells Fargo”).
 5       I.   The Receiver Requests Authorization to Hire Contingent-fee Counsel
 6            A.    The Reasons for Hiring Contingent-fee Counsel
 7            For some time, the Receiver and counsel have investigated potential
 8 Receivership claims against Wells Fargo for its conduct in connection with the
 9 “risk-free” trial scheme. The investigation involved a review of documents in the
10 Receiver’s possession, as well as documents subpoenaed from Wells Fargo.1 The
11 conduct that was discovered was troubling to say the least. The Receiver believes
12 that the anticipated litigation against Wells Fargo is meritorious, and the potential
13 recovery for the Receivership Estate is significant. But all litigation is uncertain.
14 It will be expensive, as the conduct occurred over several years and involved many
15 individuals and entities, and the case will likely be vigorously defended at all
16 stages.
17            The Receiver has made his assessment that viable claims exist which should
18 be vigorously pursued fully recognizing the potential costs to the Receivership
19 Estate that such litigation would require. Because the litigation will likely be hard-
20 fought, expensive, and long, the Receiver has determined that the cost and risk of
21 pursuing litigation on an hourly fee basis would be prohibitive. This caused the
22 Receiver to evaluate alternative fee arrangements, which would shift the risk away
23 from the Receivership Estate. While a hybrid (reduced hourly rate and reduced
24 contingency rate) arrangement was considered, the Receiver ultimately concluded
25 that a pure contingency fee arrangement makes the most sense; a contingency fee
26 eliminates direct costs to the Receivership Estate because the significant
27   1
     A declaration of receiver Thomas W. McNamara supporting this Motion is filed
28 under seal.
                                          1        Case No. 2:18-cv-09573-JFW (JPRx)
         MPAs ISO RECEIVER’S MOT. FOR AUTH. TO ENGAGE CONTINGENT FEE COUNSEL
                                    FTCSER-127
Case 2:18-cv-09573-JFW-JPR Document 144-1 Filed 02/04/20 Page 3 of 7 Page ID
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 1 professional fees necessary to prosecute the cases would not be paid by the
 2 Receivership Estate. Attorney’s fees would only be paid out of litigation
 3 recoveries should the case be successfully settled or litigated.
 4         The Receiver generally has the discretion to hire counsel as he deems
 5 necessary. See Preliminary Injunctions, XV. Duties and Authority of Receiver,
 6 ECF No. 40 at 20; ECF No. 41 at 18 (“IT IS FURTHER ORDERED that the
 7 Receiver is directed and authorized to accomplish the following: . . . F. “Choose,
 8 engage, and employ attorneys, accountants, appraisers, and other independent
 9 contractors and technical specialists, as the Receiver deems advisable or necessary
10 in the performance of duties and responsibilities under the authority granted by this
11 Order.”).
12         However, it is common when a receiver intends to retain contingency
13 counsel to seek permission for the retention from the appointing court. See, e.g.,
14 FTC v. Triangle Media Corp., et al., Case No. 3:18-cv-01388-LAB, ECF No. 142
15 (S.D. Cal. Nov. 19, 2019); SEC v. Capital Cove Bancorp, LLC, et al., Case No.
16 8:15-cv-00980-JLS, ECF No. 302 (C.D. Cal. Mar. 23, 2016); SEC v. Diversified
17 Lending Group, Inc., et al., Case No. 2:09-cv-01533-R, ECF No. 264 (C.D. Cal.
18 Jan. 7, 2011); SEC v. Ruderman, et al., Case No. 2:09-cv-02974-ODW, ECF No.
19 122 (C.D. Cal. Dec. 22, 2010).
20         Of particular relevance here, the Receiver notes that a few months before his
21 appointment in this case he was separately appointed as receiver in a case in the
22 Southern District of California which involved a “risk free” trial scheme very
23 similar to that used by the Apex Defendants. See FTC v. Triangle Media Corp., et
24 al., Case No. 3:18-cv-01388-LAB (S.D. Cal.) (“Triangle”). In both Apex and
25 Triangle, the defendants used Wells Fargo to open up dozens and dozens of
26 accounts through which consumer funds were passed. In Triangle, the Receiver
27 recently sought and obtained the Court’s permission to hire contingent-fee counsel
28 ///
                                       2        Case No. 2:18-cv-09573-JFW (JPRx)
      MPAs ISO RECEIVER’S MOT. FOR AUTH. TO ENGAGE CONTINGENT FEE COUNSEL
                                  FTCSER-128
Case 2:18-cv-09573-JFW-JPR Document 144-1 Filed 02/04/20 Page 4 of 7 Page ID
                                 #:4413


 1 to pursue a lawsuit against Wells Fargo. See Triangle, ECF No. 142 (attached as
 2 Exhibit 1).
 3         The Receiver and his counsel conducted parallel investigations of Wells
 4 Fargo’s conduct in connection with the Apex and Triangle schemes. After
 5 consulting with counsel, the Receiver believes that the claims against Wells Fargo
 6 in both the Apex and Triangle Receiverships should be pursued in the same
 7 litigation and brought by the same counsel, given the identity of interests and
 8 claims.
 9         The Receiver has also concluded that the only way to pursue such litigation
10 against Wells Fargo without harming the Receivership Estate would be on a
11 contingent-fee basis. The Receiver reached out to experienced contingency
12 counsel to discuss possible claims that might be brought and the potential contours
13 of litigation. As a result of these discussions, the Receiver identified and has
14 spoken on numerous occasions with partners at Glancy Prongay & Murray LLP, a
15 national law firm based in Los Angeles with offices in New York and Berkeley
16 that prosecutes class action cases and complex litigation in federal and state courts
17 throughout the country. As lead counsel or as a member of the Plaintiff’s Counsel
18 Executive Committees, the firm has recovered billions for its clients.
19         Glancy Prongay & Murray has spent months reviewing substantial materials
20 regarding the potential case provided by the Receiver, and its lawyers have
21 conducted their own independent investigation into the merits of a prospective
22 litigation. The firm has concluded that it is willing to pursue the litigation on
23 behalf of the Receiver. Given the firm’s credentials (discussed above), the
24 Receiver believes the firm is eminently qualified to represent the Receivership
25 Estate’s interest in the prospective litigation against Wells Fargo.
26         McNamara Smith professionals have dedicated substantial efforts over the
27 last year working closely with the Receiver to understand the facts, identify various
28 parties, and review voluminous transactions related to the potential litigation.
                                       3        Case No. 2:18-cv-09573-JFW (JPRx)
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                                  FTCSER-129
Case 2:18-cv-09573-JFW-JPR Document 144-1 Filed 02/04/20 Page 5 of 7 Page ID
                                 #:4414


 1 They are thus uniquely suited to assist in the prosecution of the litigation because
 2 of their in-depth understanding of the factual background and deep knowledge of
 3 the legal issues peculiar to receiverships. McNamara Smith attorneys regularly
 4 represent fiduciaries, including receivers and monitors, in matters across the
 5 country, and they have worked with the Receiver here. The firm is willing to
 6 continue on in collaboration with Glancy Prongay & Murray pursuant to a
 7 contingency fee arrangement.
 8         B.    The Proposed Terms of the Contingent Fee Agreement Are
 9               Reasonable
10         The Receiver believes that the proposed arrangement is reasonable,
11 especially in light of the agreement by counsel to advance litigation costs and thus
12 remove any financial risk to the Receivership Estate. The Receiver negotiated with
13 Glancy Prongay & Murray for the costs of the litigation to be fronted by counsel,
14 under the express condition that the Receivership Estate will only be responsible
15 for the costs in the event that there is a recovery through settlement or judgment.
16 The Receiver believes that this is the most cost-effective approach and will also
17 result in the greatest possible recovery for the Receivership Estate.
18         The Court’s power to supervise an equity receivership and to determine the
19 appropriate action to be taken in the receivership, including the retention and
20 compensation of counsel, is extremely broad. See SEC v. Capital Consultants,
21 LLC, 397 F.3d 733, 738 (9th Cir. 2005) (district court has broad discretion to
22 approve appropriate action to be taken in the administration of a receivership); see
23 also CFTC v. Topworth Int’l, Ltd., 205 F.3d 1107, 1115 (9th Cir. 1999) (“This
24 court affords ‘broad deference’ to the [district] court’s supervisory role and ‘we
25 generally uphold reasonable procedures instituted by the district court that serve
26 th[e] purpose’ of orderly and efficient administration of the receivership for the
27 benefit of creditors.”).
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                                       4        Case No. 2:18-cv-09573-JFW (JPRx)
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                                  FTCSER-130
Case 2:18-cv-09573-JFW-JPR Document 144-1 Filed 02/04/20 Page 6 of 7 Page ID
                                 #:4415


 1         Courts in this Circuit have considered and approved contingent fee
 2 arrangements in order to compensate a receiver’s counsel to recover assets for the
 3 receivership. There is no particular formula employed by the courts. See e.g., SEC
 4 v. Diversified Lending Group, Inc., et al., Case No. 2:09-cv-01533-R (C.D. Cal.)
 5 (district court approved contingent fee arrangement, including 25 percent of pre-
 6 suit recovery, 35 percent if settled up until 120 days before trial and 45 percent
 7 thereafter); SEC v. Ruderman, et al., Case No. 2:09-cv-02974-ODW (C.D. Cal.)
 8 (approving contingency fee arrangement, 33 percent of recovery up to 60 days
 9 before trial, 40 percent after that date); SEC v. Capital Cove Bancorp, LLC, et al.,
10 Case No. 8:15-cv-00980-JLS (C.D. Cal.) (approving contingency fee of between
11 25 and 40 percent, rate changing depending on timing and size of gross
12 recoveries).
13         In SEC v. JCS Enterprises, Inc., et al., Case No. 9:14-cv-80468-DMM, ECF
14 Nos. 237 and 238 (S.D. Fla. Oct. 16, 2015), the district court approved a standard
15 contingent fee arrangement for one counsel (25 percent of gross recoveries before
16 summary judgment, and 30 percent after that date) and a hybrid contingent
17 agreement for a second counsel ($200 per hour and 20 percent of gross recoveries).
18 See also SEC v. We the People, Inc. of the United States, Case No. 2:13-cv-14050-
19 JEM, ECF No. 100 (S.D. Fla. Mar. 14, 2014) (approving a 33.3 percent contingent
20 fee).
21         Here, the proposed contingent fees fall well within the range of fees
22 approved in other receivership cases. Notably, the proposed contingent fee
23 arrangement is the same fee structure presented to Judge Burns when he recently
24 authorized the engagement of contingent-fee counsel in the Triangle case in
25 November of 2019. See Triangle, ECF No. 142 (authorizing receiver to engage
26 contingency counsel on the terms proposed). The Glancy Prongay & Murray and
27 McNamara Smith firms have agreed to act as counsel to the Receiver and to share
28 a contingent fee equal to 28.5% of the gross recovery up until a ruling on summary
                                       5        Case No. 2:18-cv-09573-JFW (JPRx)
      MPAs ISO RECEIVER’S MOT. FOR AUTH. TO ENGAGE CONTINGENT FEE COUNSEL
                                  FTCSER-131
Case 2:18-cv-09573-JFW-JPR Document 144-1 Filed 02/04/20 Page 7 of 7 Page ID
                                 #:4416


 1 judgment, and 33.3% contingent fee on gross recovery received after a ruling on
 2 summary judgment. Under this arrangement, the Receivership Estate will not be
 3 obligated to advance litigation costs, e.g., court fees, discovery and expert costs.
 4          The proposed contingent fees fall well within the range of fees approved in
 5 other receivership cases, and the Receiver believes that the proposed arrangement
 6 is reasonable, especially in light of the agreement by counsel to advance litigation
 7 costs and thus remove any financial risk to the Receivership Estate.
 8    II.   CONCLUSION
 9          Based on the foregoing, I respectfully request that the Court grant the
10 Receiver permission to engage contingency counsel to represent the Receiver, as
11 identified above.
12 Dated: February 4, 2020                  MCNAMARA SMITH LLP
13
                                            By: /s/ Edward Chang
14                                            Edward Chang
                                              Attorneys for Receiver,
15                                            Thomas W. McNamara
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                                       6        Case No. 2:18-cv-09573-JFW (JPRx)
      MPAs ISO RECEIVER’S MOT. FOR AUTH. TO ENGAGE CONTINGENT FEE COUNSEL
                                   FTCSER-132
     Case 2:18-cv-09573-JFW-JPR Document 2-5 Filed 11/14/18 Page 21 of 123 Page ID
                                       #:676



1
                    DECLARATION OF FLORENCE M. HOGAN
                        PURSUANT TO 28 U.S.C. § 1746
2
3    I, Florence M. Hogan, hereby declare as follows:
4       1. I am a United States citizen over eighteen years of age. I am an investigator
5          employed by the Federal Trade Commission ("FTC"). I have been
6          employed by the FTC for over 18 years. My office address is One Bowling
7          Green, Suite 318, New York, NY.
8       2. As an investigator, my duties include investigating individuals and
9          companies that are suspected of engaging in unfair or deceptive acts or
1O         practices in violation of the FTC Act and any other laws or rules that the
11         FTC enforces. I am also custodian of documents and records that the FTC
12         obtains during the course of investigations to which I am assigned.
13      3. In the course of my employment, I participated in an investigation of Apex
14         Capital Group, LLC ("Apex Capital Group"), Capstone Capital Solutions
15         Limited, Clik Trix Limited, Empire Partners Limited, Interzoom Capital
16         Limited, Lead Blast Limited, Mountain Venture Solutions Limited, Nutra
17         Global Limited, Omni Group Limited, Rendezvous IT Limited, Sky Blue
18         Media Limited, and Tactic Solutions Limited (together, the "Corporate
19         Defendants"), as well as David Barnett and Phillip Peikos (altogether,
20         "Defendants"). In the course of this investigation, I have acquired personal
21         knowledge and information about the facts stated herein, and, if called, I
22         would testify to the same.
23                 CORPORATE RECORDS OF U.S. DEFENDANTS
24                              Apex Capital Group, LLC
25      4. Attached as Hogan Exhibit A are true and correct copies of select corporate
26         filings (with certain identifying information redacted) of Apex Capital
27         Group, including:
28

                                               1


                                                                                      Ex. 18
                                                                                 FTC-000159
                                        FTCSER-133
     Case 2:18-cv-09573-JFW-JPR Document 2-5 Filed 11/14/18 Page 35 of 123 Page ID
                                       #:690



           applications, signature card documents, monthly account statements, and
2          check images.
3       28. According to the records Citibank produced to the FTC, Phillip Peikos and

4          David Barnett are co-signatories on a bank account in the name of Apex
5          Capital Group ending in x9275. A true and correct copy of excerpts from
6          the account opening documents, with certain identifying information
7          redacted, is attached as Hogan Exhibit V.
8       29. Citibank also produced to the FTC checks associated with the Apex Capital

9          Group account ending in x9275. True and correct copies of some of these
10         checks, with certain identifying information redacted, are attached as Hogan
11         Exhibit W.
12      30. Citibank also produced to the FTC statements and wire transfer records

13         associated with the Apex Capital Group account ending in x9275. True and
14         correct copies of some of these statements and wire transfer records, with
15         certain identifying information redacted, are attached as Hogan Exhibit X.
16      31. Citibank also produced to the FTC account opening documents for a bank

17         account in the name ofNextG Payments, LLC ("NextG Payments"), ending
18         in x6446. A true and correct copy of excerpts from these account opening
19         documents, with certain identifying information redacted, is attached as
20         Hogan Exhibit Y. Phillip Peikos and Gina Marie Manfredi Peikos are co-
21         signatories on this account. The Business Deposit Account Application
22         describes NextG Payments' business as: "Company holds investments
23         belonging to owner of business." The application later states that Phillip
24         Peikos is the Managing Member and 100% owner ofNextG Payments.
25      32. The FTC issued CIDs to Wells Fargo Bank, N.A. ("Wells Fargo") for

26         company bank records related to the Defendants. Wells Fargo responded to
27         the CIDs by producing records to the FTC, which were received on or about
28         December 22, 2017, with supplemental productions thereafter. Wells Fargo

                                              15

                                                                                      Ex. 18
                                                                                 FTC-000173
                                       FTCSER-134
     Case 2:18-cv-09573-JFW-JPR Document 2-5 Filed 11/14/18 Page 36 of 123 Page ID
                                       #:691



 1               produced a business records declaration dated December 22, 2017 signed by
 2               a subpoena processing representative in Wells Fargo's Summons and
 3               Subpoena Department. Attached as Hogan Exhibit Z is a true and correct
 4               copy of this business records declaration, with certain identifying
 5               information redacted.
 6            33. In response to a CID, on or about December 22, 2017, and supplemented on

7                later dates, Wells Fargo produced to the FTC records for certain bank
 8               accounts identified in the CID by either the corporate account holder,
 9               account number, or signer on the account, including David Barnett, Phillip
10               Peikos, and Raul Camacho. The records produced by Wells Fargo include
11               account applications, signature card documents, monthly account statements,
12               and check images.
13            34. According to the records produced by Wells Fargo to the FTC, Phillip

14               Peikos, David Barnett, and Raul Camacho are the only authorized signers for
15               the following bank accounts: 1
16
         No.    Wells Fargo Acct. Name     Acct.            Phillip Peikos   David Barnett    Raul Camacho
                                           Ending in        (Auth. Signer)   (Auth. Signer)   (Auth. Signer)
17
         1.     Alpha Group LLC            x2069                ✓                ✓

18       2.     Based Capital LLC          x2410                ✓                ✓
         3.     Bold Media LLC             x7537                                 ✓
         4.     Capstone Capital, LLC      x2628                                 ✓
19
         5.     Cascade Canyon LLC         x2944                ✓                                 ✓

20       6.     Cornice Group, LLC         x4982                                                  ✓
         7.     Crest Capital LLC          x2636                                 ✓

21       8.     Enemv Tomorrow LLC         x2644                                 ✓
         9.     Fortune Ventures LLC       x2436                ✓                ✓
22        10.   Future Holdings LLC        x2444                ✓                ✓
          11.   Grand Assets LLC           x7594                ✓                ✓
23        12.   Horizon Media, LLC         x8305                ✓                                 ✓
          13.   Interzoom, LLC             x3074                ✓                                 ✓
24        14.   Lead Blast LLC             x3318                ✓                ✓
          15.   Lion Capital LLC           x2051                                 ✓
25        16.   Macro Group LLC            x2077                ✓                ✓


26   1
       The chart included in this paragraph summarizes data contained in Wells Fargo's Business
27   Account Applications and, where present, Addenda to Certificate of Authority, as data is too
     voluminous to be conveniently examined in court. Nevertheless, duplicates are available for
28   review upon request.

                                                       16

                                                                                                           Ex. 18
                                                                                                      FTC-000174
                                              FTCSER-135
                         CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing supplemental

excerpts of record using the appellate CM/ECF system on October 11, 2022. All

participants in the case are registered CM/ECF users, and service will be

accomplished by the CM/ECF system.

                                             /s/ Michael D. Bergman
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                                             Washington, D.C. 20580




                                   FTCSER-136
